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                                                                                                                                                                                                                OMB No. 1545-0123

Form                                               1120-S                                  U.S. Income Tax Return for an S Corporation
                                              Do not file this form unless the corporation has filed or
Department of the Treasury
Internal Revenue Service
                                              is attaching Form 2553 to elect to be an S corporation.
                                       Go to www.irs.gov/Form1120S for instructions and the latest information.
                                                                                                                                                                                                                                 2021
For calendar year 2021 or tax year beginning                      01-01 , 2021, ending                          12-31 , 20 21
A S election effective date              Name                                                                    D Employer identification number
                                                                                                JMD COASTAL ENTERTAINMENT
09-23-2020                                                                         TYPE         MARTINI'S                                                                                                   XX-XXXXXXX
B Business activity code                                                                        Number, street, and room or suite no. If a P.O. box, see instructions.                                      E Date incorporated
                                                                                   OR
                                                number (see instructions)
                                                                                   PRINT        PO BOX 8702                                                                                                 09-15-2020
722511                                       City or town, state or province, country, and ZIP or foreign postal code                   F Total assets (see instructions)
C Check if Sch. M-3 attached                 Gulfport                                                   MS       39506                  $                        15,750
G Is the corporation electing to be an S corporation beginning with this tax year? See instructions.                    X Yes         No
H Check if: (1)          Final return (2)     Name change           (3) X Address change (4) X Amended return                  (5) X S election termination
I  Enter the number of shareholders who were shareholders during any part of the tax year . . . . . . . . . . . . . . . . . .                                         5
J Check if corporation: (1)           Aggregated activities for section 465 at-risk purposes (2)             Grouped activities for section 469 passive activity purposes
Caution: Include only trade or business income and expenses on lines 1a through 21. See the instructions for more information.
      1 a Gross receipts or sales . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       1a          525,610
          b Returns and allowances . . . . . . . . . . . . . . . . . . . . . . . . . . .                        1b              3,530
          c Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      1c               522,080
      2       Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       2
Income




                                                                                                                                                               160,060
      3       Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3              362,020
      4       Net gain (loss) from Form 4797, line 17 (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . .                      4
      5      Other income (loss) (see instructions - attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . .                      5
      6       Total income (loss). Add lines 3 through 5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            6              362,020
      7       Compensation of officers (see instructions - attach Form 1125-E) . . . . . . . . . . . . . . . . . . . . . .                      7
Deductions (see instructions for limitations)




      8       Salaries and wages (less employment credits) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        8
      9       Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         9              340,092
     10       Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       10
     11       Rents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       11                 32,500
     12       Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               Wks... .......
                                                                                                                        Tax/Lic               12                 24,072
     13       Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   13
     14       Depreciation not claimed on Form 1125-A or elsewhere on return (attach Form 4562) . . . . . . . . . . . .                       14
                                                   15     Depletion (Do not deduct oil and gas depletion.). . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   15
                                                   16     Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   16                    6,000
                                                   17     Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              17
                                                   18     Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     18
                                                   19     Other deductions (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . .      . . . . . . .#2
                                                                                                                                                   Statement       ...                                                19                 190,149
                                                   20     Total deductions. Add lines 7 through 19 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        20                 592,813
                                                   21     Ordinary business income (loss). Subtract line 20 from line 6. . . . . . . . . . . . . . . . . . . . . . .                                                  21                (230,793)
                                                   22 a   Excess net passive income or LIFO recapture tax (see instructions) . . . . . . .      22a
                                                      b   Tax from Schedule D (Form 1120-S) . . . . . . . . . . . . . . . . . . . . . .         22b
                                                      c   Add lines 22a and 22b (see instructions for additional taxes) . . . . . . . . . . . . . . . . . . . . . . . .                                              22c
Tax and Payments




                                                   23 a   2021 estimated tax payments and 2020 overpayment credited to 2021 . . . . . .         23a
                                                      b   Tax deposited with Form 7004 . . . . . . . . . . . . . . . . . . . . . . . .          23b
                                                      c   Credit for federal tax paid on fuels (attach Form 4136) . . . . . . . . . . . . .     23c
                                                      d   Add lines 23a through 23c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                23d
                                                   24     Estimated tax penalty (see instructions). Check if Form 2220 is attached . . . . . . . . . . . . . . .                                                      24
                                                   25     Amount owed. If line 23d is smaller than the total of lines 22c and 24, enter amount owed...........                                                        25
                                                   26                                                                                                ..........
                                                          Overpayment. If line 23d is larger than the total of lines 22c and 24, enter amount overpaid                                                                26
                                                   27     Enter amount from line 26: Credited to 2022 estimated tax                                        Refunded                                                   27
                                                          Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of           May the IRS discuss this return
                                                          my knowledge and belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which
                                                                                                                                                                                                                with the preparer shown below?
Sign                                                      preparer has any knowledge.
                                                                                                                                                                                                                See instructions.         Yes     X No
Here
                                                             Don L Mangen III                                                                               05-19-2025                    General Partner
                                                            Signature of officer                                                                              Date                        Title

                                                              Print/Type preparer's name                                Preparer's signature                                      Date                     Check      X     if   PTIN

Paid                                                         DON MANGEN                                                                                                           05-19-2025               self-employed
                                                                                                                                                                                                                           CONFIDENTIAL
                                                                                                                                                                                                                            P01647980
Preparer                                                      Firm's name           FLASH FINANCIAL SERVICES                                                                                       Firm's EIN           CONFIDENTIAL
                                                                                                                                                                                                                         XX-XXXXXXX
Use Only                                                      Firm's address        7561 WEST JUDGE PEREZ                                                                                          Phone no.
                                                                                    Arabi LA 70032                                                                                                                      (504)279-5700
For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                                   Form 1120-S (2021)
EEA
              Case 1:25-cv-00193-LG-BWR                              Document 1-3                Filed 06/17/25             Page 3 of 158
Form 1120-S (2021)     JMD COASTAL ENTERTAINMENT                                                                            XX-XXXXXXX                              Page 2
 Schedule B          Other Information (see instructions)
   1    Check accounting method:          a X Cash          b      Accrual                                                                                    Yes          No
                                          c      Other (specify)
   2   See the instructions and enter the:
       a Business activity RESTAURANT                                     b Product or service       FOOD SERVICE
   3   At any time during the tax year, was any shareholder of the corporation a disregarded entity, a trust, an estate, or a
       nominee or similar person? If "Yes," attach Schedule B-1, Information on Certain Shareholders of an S Corporation. . . . . . . . .                                 X
   4   At the end of the tax year, did the corporation:
     a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total stock issued and outstanding of any
       foreign or domestic corporation? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v)
       below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      X
                (i) Name of Corporation           (ii)   Employer           (iii) Country of         (iv) Percentage of     (v) If Percentage in (iv) is 100%, Enter the
                                                    Identification           Incorporation              Stock Owned         Date (if applicable) a Qualified Subchapter
                                                  Number (if any)                                                              S Subsidiary Election Was Made




   b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or
     capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest of a
     trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below . . . . . . . . . . . . . . . . .                             X
                  (i) Name of Entity              (ii)   Employer         (iii) Type of Entity            (iv) Country of            (v) Maximum Percentage Owned
                                                    Identification                                         Organization                   in Profit, Loss, or Capital
                                                  Number (if any)




   5 a At the end of the tax year, did the corporation have any outstanding shares of restricted stock? . . . . . . . . . . . . . . . . . .             X
       If "Yes," complete lines (i) and (ii) below.
       (i) Total shares of restricted stock . . . . . . . . . . . . . . . . . . .
       (ii) Total shares of non-restricted stock . . . . . . . . . . . . . . . . .
     b At the end of the tax year, did the corporation have any outstanding stock options, warrants, or similar instruments? . . . . . . . .            X
       If "Yes," complete lines (i) and (ii) below.
       (i) Total shares of stock outstanding at the end of the tax year . . . . . . .
       (ii) Total shares of stock outstanding if all instruments were executed . . .
   6   Has this corporation filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
       information on any reportable transaction? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 X
   7   Check this box if the corporation issued publicly offered debt instruments with original issue discount. . . . . . . . . . . . .
       If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount
       Instruments.
   8   If the corporation (a) was a C corporation before it elected to be an S corporation or the corporation acquired an asset with a
       basis determined by reference to the basis of the asset (or the basis of any other property) in the hands of a C corporation, and
       (b) has net unrealized built-in gain in excess of the net recognized built-in gain from prior years, enter the net unrealized built-in
       gain reduced by net recognized built-in gain from prior years. See instructions . . . . . . . . . .         $
   9   Did the corporation have an election under section 163(j) for any real property trade or business or any farming business
       in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                X
  10   Does the corporation satisfy one or more of the following? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . .                X
     a The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
     b The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
       preceding the current tax year are more than $26 million and the corporation has business interest expense.
     c The corporation is a tax shelter and the corporation has business interest expense.
       If "Yes," complete and attach Form 8990.
  11   Does the corporation satisfy both of the following conditions?  ...................................                                              X
     a The corporation's total receipts (see instructions) for the tax year were less than $250,000.
     b The corporation's total assets at the end of the tax year were less than $250,000.
       If "Yes," the corporation is not required to complete Schedules L and M-1.
EEA                                                                                                                                        Form 1120-S (2021)
                        Case 1:25-cv-00193-LG-BWR                          Document 1-3              Filed 06/17/25              Page 4 of 158
Form 1120S (2021)                 JMD COASTAL ENTERTAINMENT                                                                      XX-XXXXXXX             Page 3
Schedule B                     Other Information (see instructions) (continued)                                                                      Yes   No
12   During the tax year, did the corporation have any non-shareholder debt that was canceled, was forgiven, or had the
     terms modified so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               X
     If "Yes," enter the amount of principal reduction . . . . . . . . . . . . . . . . . . . . . . . .           $
13   During the tax year, was a qualified subchapter S subsidiary election terminated or revoked? If "Yes," see instructions . . . . . . .          X
14 a Did the corporation make any payments in 2021 that would require it to file Form(s) 1099? . . . . . . . . . . . . . . . . . . . .          X
   b If "Yes," did the corporation file or will it file required Form(s) 1099? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    X
15   Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund?. . . . . . . . . . . . . . . . . . . . . . . .              X
     If "Yes," enter the amount from Form 8996, line 15 . . . . . . . . . . . . . . . . . . . . . . .            $
Schedule K Shareholders' Pro Rata Share Items                                                                                          Total amount
           1     Ordinary business income (loss) (page 1, line 21) . . . . . . . . . . . . . . . . . . . . . . . . . .           1           (230,793)
           2     Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . . . . . . . . . . . . .           2
           3a Other gross rental income (loss) . . . . . . . . . . . . . . . . . . . .               3a
             b Expenses from other rental activities (attach statement) . . . . . . . . .            3b
             c Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . . . . . . . . . . . . . .           3c
     Income (Loss)




           4     Interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             4
           5     Dividends: a Ordinary dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             5a
                             b Qualified dividends . . . . . . . . . . . . . . . . . . . .           5b
           6     Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             6
           7     Net short-term capital gain (loss) (attach Schedule D (Form 1120-S)) . . . . . . . . . . . . . . . . .          7
           8a Net long-term capital gain (loss) (attach Schedule D (Form 1120-S)). . . . . . . . . . . . . . . . . .             8a
             b Collectibles (28%) gain (loss) . . . . . . . . . . . . . . . . . . . . . .            8b
             c Unrecaptured section 1250 gain (attach statement) . . . . . . . . . . .               8c
           9     Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . .           9
          10     Other income (loss) (see instructions) . . . . . . . Type                                                       10
          11     Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            11
     Deductions




          12a Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              12a
             b Investment interest expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              12b
             c Section 59(e)(2) expenditures . . . . . . . . . . Type                                                           12c
             d Other deductions (see instructions) . . . . . . . . Type                                                         12d
          13a Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            13a
             b Low-income housing credit (other) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              13b
             c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable). . . . . . . . .    13c
     Credits




             d Other rental real estate credits (see instructions) . . Type                                                     13d
             e Other rental credits (see instructions) . . . . . . . Type                                                       13e
             f Biofuel producer credit (attach Form 6478) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             13f
             g Other credits (see instructions) . . . . . . . . . . Type                                                        13g
   Transactions
   International




                       14    Attach Schedule K-2 (Form 1120-S), Shareholders' Pro Rata Share Items - International, and
                             check this box to indicate you are reporting items of international tax relevance . . . . . . . .


                       15a   Post-1986 depreciation adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       15a
Minimum Tax




                         b   Adjusted gain or loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     15b
(AMT) Items
 Alternative




                         c   Depletion (other than oil and gas) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    15c
                         d   Oil, gas, and geothermal properties - gross income . . . . . . . . . . . . . . . . . . . . . . . . .      15d
                         e   Oil, gas, and geothermal properties - deductions . . . . . . . . . . . . . . . . . . . . . . . . . .      15e
                         f   Other AMT items (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      15f
                       16a   Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        16a
   Shareholder Basis
    Items Affecting




                         b   Other tax-exempt income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       16b
                         c   Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        16c
                         d   Distributions (attach statement if required) (see instructions) ....................                      16d           20,000
                         e   Repayment of loans from shareholders . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        16e
                         f   Foreign taxes paid or accrued . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       16f
EEA                                                                                                                                           Form 1120-S (2021)
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Form 1120-S (2021) JMD COASTAL ENTERTAINMENT                                                                         XX-XXXXXXX                      Page 4
Schedule K                Shareholders' Pro Rata Share Items (continued)                                                              Total amount
                17a   Investment income       ........................................                                          17a
  Information

                                                .......................................
     Other



                  b   Investment expenses                                                                                       17b
                  c   Dividend distributions paid from accumulated earnings and profits . . . . . . . . . . . . . . . . . . .   17c
                  d   Other items and amounts (attach statement)                                    Statement #18
  ciliation
  Recon-




                18
                Income (loss) reconciliation. Combine the amounts on lines 1 through 10 in the far right
                column. From the result, subtract the sum of the amounts on lines 11 through 12d and 16f . . . . . . .     18          (230,793)
 Schedule L          Balance Sheets per Books                           Beginning of tax year                        End of tax year
                                Assets                                  (a)                    (b)                 (c)                   (d)
  1   Cash . . . . . . . . . . . . . . . . . . . . . .
  2a Trade notes and accounts receivable . . . . . . .
    b Less allowance for bad debts . . . . . . . . . . . (                          )                      (                   )
  3   Inventories . . . . . . . . . . . . . . . . . . .                                                0                                  15,750
  4   U.S. government obligations . . . . . . . . . . .
  5   Tax-exempt securities (see instructions) . . . . . .
  6   Other current assets (attach statement) . . . . . .
  7   Loans to shareholders . . . . . . . . . . . . . .
  8   Mortgage and real estate loans . . . . . . . . . .
  9   Other investments (attach statement) . . . . . . .
 10a Buildings and other depreciable assets . . . . . .
    b Less accumulated depreciation . . . . . . . . . . (                           )                      (                   )
 11a Depletable assets . . . . . . . . . . . . . . . .
    b Less accumulated depletion . . . . . . . . . . . (                            )                      (                   )
 12   Land (net of any amortization) . . . . . . . . . .
 13a Intangible assets (amortizable only) . . . . . . .
    b Less accumulated amortization . . . . . . . . . (                             )                      (                   )
 14   Other assets (attach statement) . . . . . . . . .
 15   Total assets . . . . . . . . . . . . . . . . . . .                                               0                                  15,750
           Liabilities and Shareholders' Equity
 16   Accounts payable . . . . . . . . . . . . . . . .
 17   Mortgages, notes, bonds payable in less than 1 year . . .
 18   Other current liabilities (attach statement) . . . . .
 19   Loans from shareholders         ............
 20   Mortgages, notes, bonds payable in 1 year or more . . .
 21   Other liabilities (attach statement) . . . . . . . .
 22   Capital stock . . . . . . . . . . . . . . . . . .
 23   Additional paid-in capital . . . . . . . . . . . . .
 24   Retained earnings . . . . . . . . . . . . . . . .                                                0                                  15,750
 25   Adjustments to shareholders' equity (attach statement) . .
 26   Less cost of treasury stock . . . . . . . . . . . .                             (                  )                       (                 )
 27   Total liabilities and shareholders' equity . . . . . .                                           0                                  15,750
EEA                                                                                                                                Form 1120-S (2021)
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Form 1120-S (2021)        JMD COASTAL ENTERTAINMENT                                                                          XX-XXXXXXX                          Page 5
Schedule M-1                Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                         Note: The corporation may be required to file Schedule M-3. See instructions.
1     Net income (loss) per books . . . . . . . . .         (230,793) 5 Income recorded on books this year not included
2     Income included on Schedule K, lines 1, 2, 3c, 4,                              on Schedule K, lines 1 through 10 (itemize):
      5a, 6, 7, 8a, 9, and 10, not recorded on books this                          a Tax-exempt interest $
      year (itemize):


3  Expenses recorded on books this year not                                       6 Deductions included on Schedule K,
   included on Schedule K, lines 1 through 12                                        lines 1 through 12 and 16f, not charged
   and 16f (itemize):                                                                against book income this year (itemize):
 a Depreciation $                                                                  a Depreciation $
 b Travel and entertainment $


                                                                                  7 Add lines 5 and 6         .............
4     Add lines 1 through 3     ............            (230,793) 8 Income (loss) (Schedule K, line 18). Subtract line 7 from line 4 (230,793)
Schedule M-2                Analysis of Accumulated Adjustments Account, Shareholders' Undistributed Taxable Income
                            Previously Taxed, Accumulated Earnings and Profits, and Other Adjustments Account
                            (see instructions)
                                                                     (a) Accumulated            (b) Shareholders'        (c) Accumulated           (d) Other adjustments
                                                                    adjustments account         undistributed taxable   earnings and profits               account
                                                                                              income previously taxed

1     Balance at beginning of tax year . . . . . . . . . . .              (157,894)
2     Ordinary income from page 1, line 21 . . . . . . . . .
3     Other additions . . . . . . . . . . . . . . . . . . .
4     Loss from page 1, line 21 . . . . . . . . . . . . . .     (           230,793 )
5     Other reductions    ..................                    (                         )                                                    (                           )
6     Combine lines 1 through 5 . . . . . . . . . . . . . .               (388,687)
7     Distributions . . . . . . . . . . . . . . . . . . . . .
8     Balance at end of tax year. Subtract line 7 from
      line 6 . . . . . . . . . . . . . . . . . . . . . . . .              (388,687)
EEA                                                                                                                                                 Form 1120-S (2021)
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Form      1125-A                                         Cost of Goods Sold
(Rev. November 2018)                                                                                                         OMB No. 1545-0123
                                                Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury
Internal Revenue Service                       Go to www.irs.gov/Form1125A for the latest information.
Name                                                                                                               Employer identification number

JMD COASTAL ENTERTAINMENT                                                                                           XX-XXXXXXX
 1     Inventory at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             1
 2     Purchases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                2             155,489
 3     Cost of labor . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              3              20,321
 4     Additional section 263A costs (attach schedule)       ...........................                                  4
 5     Other costs (attach schedule) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              5
 6     Total. Add lines 1 through 5       ....................................                                            6             175,810
 7     Inventory at end of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             7              15,750
 8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
       appropriate line of your tax return. See instructions     .........................                                8             160,060
 9a    Check all methods used for valuing closing inventory:
         (i) X Cost
        (ii)    Lower of cost or market
       (iii)    Other (Specify method used and attach explanation.)
  b    Check if there was a writedown of subnormal goods . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  c    Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)          .............
  d    If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
       under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9d
  e    If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions  ......   Yes    X No
  f    Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If "Yes,"
       attach explanation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     Yes    X No




For Paperwork Reduction Act Notice, see instructions                                                                Form 1125-A (Rev. 11-2018)
EEA
                             Case 1:25-cv-00193-LG-BWR                                  Document 1-3                 Filed 06/17/25                  Page 8 of 158
                                                                                                                                                                                671121
                                                                                                               Final K-1           X Amended K-1             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2021                Part III
                                                                                                                           Shareholder's Share of Current Year Income,
                                                                                                                           Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2021, or tax year    1   Ordinary business income (loss)         13    Credits
Internal Revenue Service
                                                                                                                                   (92,443)
                       beginning        01-01 2021                  ending      12-31-2021                2   Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3   Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4   Interest income
             Part I          Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                      14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                               checked . . . . . .

                    MARTINI'S                                                                             6   Royalties                               15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7   Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    E-FILE
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9   Net section 1231 gain (loss)            16    Items affecting shareholder basis
             Part II         Information About the Shareholder
                                                                                                                                                      D                           8,000
   E                Shareholder's identifying number                                                     10   Other income (loss)

                     CONFIDENTIAL
                    XXX-XX-XXXX
   F                Shareholder's name, address, city, state, and ZIP code
                    STEVEN M STAFFORD

                    2200 DAUPHIN STREET
                    Mobile                                               AL     36606

                                                                                                                                                      17    Other information
   G                Current year allocation percentage                             40.05479 %                                                         AC                      209,118
                                                         ......
                                                                                                         11   Section 179 deduction

   H                Shareholder's number of shares
                      Beginning of tax year                                                     60       12   Other deductions
                                          .........
                      End of tax year   ...........                                             40

   I                Loans from shareholder                                                                                                            V*           STMT
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
 For IRS Use Only




                                                                                                         18       More than one activity for at-risk purposes*
                                                                                                         19       More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                   Schedule K-1 (Form 1120-S) 2021
EEA
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                                 Schedule K-1 Distribution Information
                                (This page is not filed with the return. It is for your records only.)             2021
     Shareholder's name                                                                                           Shareholder's ID Number

     STEVEN M STAFFORD                                                                                             XXX-XX-XXXX
                                                                                                                   CONFIDENTIAL
     Name of S Corporation                                                                                        S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                                                                     XX-XXXXXXX
                              Total Amount of                Ownership % at                                              Shareholder's Pro Rata
       Date of Distribution      Distribution               Date of Distribution                         Shares           Share of Distribution
          10-31-2021                   10,000                               40.00                    040.00000                    4,000
          11-30-2021                   10,000                               40.00                    040.00000               __________
                                                                                                                                  4,000

                      Total                                                                                                  __________
                                                                                                                                  8,000
                                                                                                                             __________




1120SK_1.LD2
              Case 1:25-cv-00193-LG-BWR                               Document 1-3                Filed 06/17/25                    Page 10 of 158

                                                            Changes in Ownership
                                          (This page is not filed with the return. It is for your records only.)                      2021
    Shareholder's name                                                                                                               Shareholder's ID Number

    STEVEN M STAFFORD                                                                                                                 CONFIDENTIAL
                                                                                                                                      XXX-XX-XXXX
    Name of S Corporation                                                                                                            S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                                         XX-XXXXXXX

                                                                                             Number of Days             Total number
                            Shares Held Prior       Change in            Total Number         Held Prior to              of days in                  Ownership %
    Date of Change              to Change         Shares on Date         of Shares Held         Change                  the tax year                  for period


    01-01-2021                                  060.00000                100.00000                                                  365

    01-01-2021              060.00000           -020.00000               100.00000                               1                  365                    000.16438

    12-31-2021              040.00000                                    100.00000                           364                    365         __________
                                                                                                                                                   039.89041

                                Total ownership percentage for the tax year:                                                                    __________
                                                                                                                                                 040.05479
                                                                                                                                                __________




                                                                Change in Shares on Date        No. of Days Held Prior to Change
                                     Ownership % for period =                               X
                                                                  Total Shares Held             Total No. of Days in the Tax Year


K1_OWN.LD
                               Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 11 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2021
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 STEVEN M STAFFORD                                                                                                                                 CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                               (92,443)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                       8,139
 Unadjusted Basis
 Immediately After
 Acquisition

 Section 199A Dividends




K1_QBIS~.LD
       Case Basis
Shareholder's 1:25-cv-00193-LG-BWR      Document
                    Worksheet Prepared from       1-3 Filed Records
                                            the S Corporation 06/17/25                                                                                Page 12 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                      2021
 Shareholder Number:                              CONFIDENTIAL
                                             TIN: XXX-XX-XXXX                                                          Tax year ending:   12-31-2021     Ownership %:   40.054795
 Shareholder Name:                STEVEN M STAFFORD
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                              EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1

 2        Additional Capital Contributions of Stock Purchased                                                                                   2    300,000
 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                                4      300,000
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                    5        8,000
 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                   6      292,000
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                              7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                   8      292,000
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a            92,443
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n      92,443
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                                9          92,443
     10 Less: net increase applied to debt basis                                                                                                                 10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                          11      199,557
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                      17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                            18      199,557
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                92,443
     21        Less:    Applied this year                                                             92,443
     22        End of year (Not less than zero)                                                            0                                                              WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 13 of 158
                                                                                        Allocation of Losses and Deductions                                                             2021
                                                                                                     Keep for your records.

  Shareholder Number:                                                                       TIN:                                       Year Ended:                    Ownership %:
                                                                                             CONFIDENTIAL
                                                                                              XXX-XX-XXXX                                12-31-2021                         40.054795
  Shareholder Name:

        STEVEN M STAFFORD
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                         XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                  (a)                  (b)                          (c)                  (d)              (e)                 (f)
                                                                             Beginning of          Current Year               Total Losses                %           Allocable          Dissallowed
                                                                                Year               Losses and                      and                               Losses and          Losses and
                                                                             Losses and             Deductions                 Deductions                           Deductions in         Deductions
                                                                              Deductions                                                                            Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business          (Sch K, Line 1)                                     92,443                     92,443             100.000000           92,443
 b Net losses from rental real estate activities   (Sch K, Line 2)

 c Net losses from other rental activities         (Sch K, Line 3c)

 d Net short-term capital losses                   (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                          (Sch K, Line 10a)

 f Net losses under Section 1231                   (Sch K, Line 9)

 g Other losses                                    (Sch K, Line 10e)

 h Charitable contributions                        (Sch K, Line 12a-g)

 i Section 179 expense deduction                   (Sch K, Line 11)

 j Portfolio income expenses                       (Sch K, Line 12l)

 k Other deductions                                (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts            (Sch K, Line 12h)

 m Foreign taxes paid or accrued                   (Sch K, Line 16f)

 n Section 59(e) expenditures                      (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                              92,443                     92,443                                  92,443
7a Nondeductible expenses & credit adj             (Sch K, Line 16c & 13)

 b Oil and gas depletion                           (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                              92,443                     92,443                                  92,443
 WK_SBAS~.LD2
                            Case 1:25-cv-00193-LG-BWR                                  Document 1-3                Filed 06/17/25                  Page 14 of 158
                                                                                                                                                                                671121
                                                                                                               Final K-1           X Amended K-1             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2021                Part III
                                                                                                                           Shareholder's Share of Current Year Income,
                                                                                                                           Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2021, or tax year    1   Ordinary business income (loss)         13    Credits
Internal Revenue Service
                                                                                                                                   (34,651)
                       beginning        01-01 2021                  ending      12-31-2021                2   Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3   Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4   Interest income
             Part I          Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                      14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                               checked . . . . . .

                    MARTINI'S                                                                             6   Royalties                               15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7   Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    E-FILE
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9   Net section 1231 gain (loss)            16    Items affecting shareholder basis
             Part II         Information About the Shareholder
                                                                                                                                                     D                            3,000
   E                Shareholder's identifying number                                                     10   Other income (loss)
                    CONFIDENTIAL
                    XXX-XX-XXXX
   F                Shareholder's name, address, city, state, and ZIP code
                    DON MANGEN

                    PO BOX 8702
                    Gulfport                                             MS     39506

                                                                                                                                                      17    Other information
   G                Current year allocation percentage                             15.01370 %                                                        AC                         78,384
                                                         ......
                                                                                                         11   Section 179 deduction

   H                Shareholder's number of shares
                      Beginning of tax year                                                     20       12   Other deductions
                                          .........
                      End of tax year   ...........                                             15

   I                Loans from shareholder                                                                                                           V*            STMT
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
 For IRS Use Only




                                                                                                         18       More than one activity for at-risk purposes*
                                                                                                         19       More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                   Schedule K-1 (Form 1120-S) 2021
EEA
               Case 1:25-cv-00193-LG-BWR                 Document 1-3                 Filed 06/17/25              Page 15 of 158

                                 Schedule K-1 Distribution Information
                                (This page is not filed with the return. It is for your records only.)              2021
     Shareholder's name                                                                                            Shareholder's ID Number

     DON MANGEN                                                                                                    CONFIDENTIAL
                                                                                                                   XXX-XX-XXXX
     Name of S Corporation                                                                                         S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                                                                      XX-XXXXXXX
                              Total Amount of                Ownership % at                                               Shareholder's Pro Rata
       Date of Distribution      Distribution               Date of Distribution                         Shares            Share of Distribution
          10-31-2021                   10,000                               15.00                    015.00000                     1,500
          11-30-2021                   10,000                               15.00                    015.00000                __________
                                                                                                                                   1,500

                      Total                                                                                                   __________
                                                                                                                                   3,000
                                                                                                                              __________




1120SK_1.LD2
              Case 1:25-cv-00193-LG-BWR                               Document 1-3                Filed 06/17/25                    Page 16 of 158

                                                            Changes in Ownership
                                          (This page is not filed with the return. It is for your records only.)                      2021
    Shareholder's name                                                                                                               Shareholder's ID Number

    DON MANGEN                                                                                                                       CONFIDENTIAL
                                                                                                                                     XXX-XX-XXXX
    Name of S Corporation                                                                                                            S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                                         XX-XXXXXXX

                                                                                             Number of Days             Total number
                            Shares Held Prior       Change in            Total Number         Held Prior to              of days in                  Ownership %
    Date of Change              to Change         Shares on Date         of Shares Held         Change                  the tax year                  for period


    01-01-2021                                  020.00000                100.00000                                                  365

    01-01-2021              020.00000           -005.00000               100.00000                               1                  365                    000.05479

    12-31-2021              015.00000                                    100.00000                           364                    365         __________
                                                                                                                                                   014.95890

                                Total ownership percentage for the tax year:                                                                    __________
                                                                                                                                                 015.01370
                                                                                                                                                __________




                                                                Change in Shares on Date        No. of Days Held Prior to Change
                                     Ownership % for period =                               X
                                                                  Total Shares Held             Total No. of Days in the Tax Year


K1_OWN.LD
                               Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 17 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2021
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 DON MANGEN                                                                                                                                        XXX-XX-XXXX
                                                                                                                                                   CONFIDENTIAL
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                               (34,651)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                       3,051
 Unadjusted Basis
 Immediately After
 Acquisition

 Section 199A Dividends




K1_QBIS~.LD
       Case Basis
Shareholder's 1:25-cv-00193-LG-BWR      Document
                    Worksheet Prepared from       1-3 Filed Records
                                            the S Corporation 06/17/25                                                                                Page 18 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                      2021
 Shareholder Number:                         TIN: CONFIDENTIAL
                                                  XXX-XX-XXXX                                                          Tax year ending:   12-31-2021     Ownership %:   15.013699
 Shareholder Name:                DON MANGEN
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                              EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1

 2        Additional Capital Contributions of Stock Purchased                                                                                   2    112,500
 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                                4      112,500
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                    5        3,000
 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                   6      109,500
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                              7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                   8      109,500
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a            34,651
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n      34,651
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                                9          34,651
     10 Less: net increase applied to debt basis                                                                                                                 10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                          11          74,849
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                      17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                            18          74,849
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                34,651
     21        Less:    Applied this year                                                             34,651
     22        End of year (Not less than zero)                                                            0                                                              WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 19 of 158
                                                                                        Allocation of Losses and Deductions                                                             2021
                                                                                                     Keep for your records.

  Shareholder Number:                                                                       TIN:                                       Year Ended:                    Ownership %:
                                                                                               CONFIDENTIAL
                                                                                               XXX-XX-XXXX                               12-31-2021                         15.013699
  Shareholder Name:

        DON MANGEN
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                         XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                  (a)                  (b)                          (c)                  (d)              (e)                 (f)
                                                                             Beginning of          Current Year               Total Losses                %           Allocable          Dissallowed
                                                                                Year               Losses and                      and                               Losses and          Losses and
                                                                             Losses and             Deductions                 Deductions                           Deductions in         Deductions
                                                                              Deductions                                                                            Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business          (Sch K, Line 1)                                     34,651                     34,651             100.000000           34,651
 b Net losses from rental real estate activities   (Sch K, Line 2)

 c Net losses from other rental activities         (Sch K, Line 3c)

 d Net short-term capital losses                   (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                          (Sch K, Line 10a)

 f Net losses under Section 1231                   (Sch K, Line 9)

 g Other losses                                    (Sch K, Line 10e)

 h Charitable contributions                        (Sch K, Line 12a-g)

 i Section 179 expense deduction                   (Sch K, Line 11)

 j Portfolio income expenses                       (Sch K, Line 12l)

 k Other deductions                                (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts            (Sch K, Line 12h)

 m Foreign taxes paid or accrued                   (Sch K, Line 16f)

 n Section 59(e) expenditures                      (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                              34,651                     34,651                                  34,651
7a Nondeductible expenses & credit adj             (Sch K, Line 16c & 13)

 b Oil and gas depletion                           (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                              34,651                     34,651                                  34,651
 WK_SBAS~.LD2
                            Case 1:25-cv-00193-LG-BWR                                  Document 1-3                Filed 06/17/25                  Page 20 of 158
                                                                                                                                                                                671121
                                                                                                               Final K-1           X Amended K-1             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2021                Part III
                                                                                                                           Shareholder's Share of Current Year Income,
                                                                                                                           Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2021, or tax year    1   Ordinary business income (loss)         13    Credits
Internal Revenue Service
                                                                                                                                   (34,651)
                       beginning        01-01 2021                  ending      12-31-2021                2   Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3   Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4   Interest income
             Part I          Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                      14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                               checked . . . . . .

                    MARTINI'S                                                                             6   Royalties                               15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7   Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    E-FILE
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9   Net section 1231 gain (loss)            16    Items affecting shareholder basis
             Part II         Information About the Shareholder
                                                                                                                                                     D                            3,000
   E                Shareholder's identifying number                                                     10   Other income (loss)
                    CONFIDENTIAL
                    XXX-XX-XXXX
   F                Shareholder's name, address, city, state, and ZIP code
                    BLAKE WHITSON

                    6274 KIMBROUGH BLVD
                    Biloxi                                               MS     39532

                                                                                                                                                      17    Other information
   G                Current year allocation percentage                             15.01370 %                                                        AC                         78,384
                                                         ......
                                                                                                         11   Section 179 deduction

   H                Shareholder's number of shares
                      Beginning of tax year                                                     20       12   Other deductions
                                          .........
                      End of tax year   ...........                                             15

   I                Loans from shareholder                                                                                                           V*            STMT
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
 For IRS Use Only




                                                                                                         18       More than one activity for at-risk purposes*
                                                                                                         19       More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                   Schedule K-1 (Form 1120-S) 2021
EEA
               Case 1:25-cv-00193-LG-BWR                 Document 1-3                 Filed 06/17/25              Page 21 of 158

                                 Schedule K-1 Distribution Information
                                (This page is not filed with the return. It is for your records only.)              2021
     Shareholder's name                                                                                            Shareholder's ID Number

     BLAKE WHITSON                                                                                                 XXX-XX-XXXX
                                                                                                                   CONFIDENTIAL
     Name of S Corporation                                                                                         S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                                                                      XX-XXXXXXX
                              Total Amount of                Ownership % at                                               Shareholder's Pro Rata
       Date of Distribution      Distribution               Date of Distribution                         Shares            Share of Distribution
          10-31-2021                   10,000                               15.00                    015.00000                     1,500
          11-30-2021                   10,000                               15.00                    015.00000                __________
                                                                                                                                   1,500

                      Total                                                                                                   __________
                                                                                                                                   3,000
                                                                                                                              __________




1120SK_1.LD2
              Case 1:25-cv-00193-LG-BWR                               Document 1-3                Filed 06/17/25                    Page 22 of 158

                                                            Changes in Ownership
                                          (This page is not filed with the return. It is for your records only.)                      2021
    Shareholder's name                                                                                                               Shareholder's ID Number

    BLAKE WHITSON                                                                                                                    CONFIDENTIAL
                                                                                                                                     XXX-XX-XXXX
    Name of S Corporation                                                                                                            S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                                         XX-XXXXXXX

                                                                                             Number of Days             Total number
                            Shares Held Prior       Change in            Total Number         Held Prior to              of days in                  Ownership %
    Date of Change              to Change         Shares on Date         of Shares Held         Change                  the tax year                  for period


    01-01-2021                                  020.00000                100.00000                                                  365

    01-01-2021              020.00000           -005.00000               100.00000                               1                  365                    000.05479

    12-31-2021              015.00000                                    100.00000                           364                    365         __________
                                                                                                                                                   014.95890

                                Total ownership percentage for the tax year:                                                                    __________
                                                                                                                                                 015.01370
                                                                                                                                                __________




                                                                Change in Shares on Date        No. of Days Held Prior to Change
                                     Ownership % for period =                               X
                                                                  Total Shares Held             Total No. of Days in the Tax Year


K1_OWN.LD
                               Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 23 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2021
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 BLAKE WHITSON                                                                                                                                     CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                               (34,651)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                       3,051
 Unadjusted Basis
 Immediately After
 Acquisition

 Section 199A Dividends




K1_QBIS~.LD
       Case Basis
Shareholder's 1:25-cv-00193-LG-BWR      Document
                    Worksheet Prepared from       1-3 Filed Records
                                            the S Corporation 06/17/25                                                                               Page 24 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                     2021
 Shareholder Number:                              CONFIDENTIAL
                                             TIN: XXX-XX-XXXX                                                          Tax year ending:   12-31-2021    Ownership %:   15.013699
 Shareholder Name:                BLAKE WHITSON
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                             EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1    13,421
 2        Additional Capital Contributions of Stock Purchased                                                                                   2    67,500
 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                               4          80,921
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                   5           3,000
 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                  6          77,921
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                             7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                  8          77,921
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a            34,651
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n     34,651
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                               9          34,651
     10 Less: net increase applied to debt basis                                                                                                                10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                         11          43,270
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                     17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                           18          43,270
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                34,651
     21        Less:    Applied this year                                                             34,651
     22        End of year (Not less than zero)                                                            0                                                             WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 25 of 158
                                                                                        Allocation of Losses and Deductions                                                             2021
                                                                                                     Keep for your records.

  Shareholder Number:                                                                       TIN:                                       Year Ended:                    Ownership %:
                                                                                               CONFIDENTIAL
                                                                                               XXX-XX-XXXX                               12-31-2021                         15.013699
  Shareholder Name:

        BLAKE WHITSON
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                         XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                  (a)                  (b)                          (c)                  (d)              (e)                 (f)
                                                                             Beginning of          Current Year               Total Losses                %           Allocable          Dissallowed
                                                                                Year               Losses and                      and                               Losses and          Losses and
                                                                             Losses and             Deductions                 Deductions                           Deductions in         Deductions
                                                                              Deductions                                                                            Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business          (Sch K, Line 1)                                     34,651                     34,651             100.000000           34,651
 b Net losses from rental real estate activities   (Sch K, Line 2)

 c Net losses from other rental activities         (Sch K, Line 3c)

 d Net short-term capital losses                   (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                          (Sch K, Line 10a)

 f Net losses under Section 1231                   (Sch K, Line 9)

 g Other losses                                    (Sch K, Line 10e)

 h Charitable contributions                        (Sch K, Line 12a-g)

 i Section 179 expense deduction                   (Sch K, Line 11)

 j Portfolio income expenses                       (Sch K, Line 12l)

 k Other deductions                                (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts            (Sch K, Line 12h)

 m Foreign taxes paid or accrued                   (Sch K, Line 16f)

 n Section 59(e) expenditures                      (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                              34,651                     34,651                                  34,651
7a Nondeductible expenses & credit adj             (Sch K, Line 16c & 13)

 b Oil and gas depletion                           (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                              34,651                     34,651                                  34,651
 WK_SBAS~.LD2
                            Case 1:25-cv-00193-LG-BWR                                  Document 1-3                Filed 06/17/25                  Page 26 of 158
                                                                                                                                                                                671121
                                                                                                               Final K-1           X Amended K-1             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2021                Part III
                                                                                                                           Shareholder's Share of Current Year Income,
                                                                                                                           Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2021, or tax year    1   Ordinary business income (loss)         13    Credits
Internal Revenue Service
                                                                                                                                   (34,524)
                       beginning        01-01 2021                  ending      12-31-2021                2   Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3   Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4   Interest income
             Part I          Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                      14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                               checked . . . . . .

                    MARTINI'S                                                                             6   Royalties                               15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7   Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    E-FILE
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9   Net section 1231 gain (loss)            16    Items affecting shareholder basis
             Part II         Information About the Shareholder
                                                                                                                                                     D                            3,000
   E                Shareholder's identifying number                                                     10   Other income (loss)
                    CONFIDENTIAL
                     XXX-XX-XXXX
   F                Shareholder's name, address, city, state, and ZIP code
                    JASON WHITE

                    107 ROYAL CRESCENT DR
                    Belle Chasse                                         LA     70037

                                                                                                                                                      17    Other information
   G                Current year allocation percentage                             14.95890 %                                                        AC                         78,097
                                                         ......
                                                                                                         11   Section 179 deduction

   H                Shareholder's number of shares
                      Beginning of tax year                                                              12   Other deductions
                                          .........
                      End of tax year   ...........                                             15

   I                Loans from shareholder                                                                                                           V*            STMT
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
 For IRS Use Only




                                                                                                         18       More than one activity for at-risk purposes*
                                                                                                         19       More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                   Schedule K-1 (Form 1120-S) 2021
EEA
               Case 1:25-cv-00193-LG-BWR                 Document 1-3                 Filed 06/17/25              Page 27 of 158

                                 Schedule K-1 Distribution Information
                                (This page is not filed with the return. It is for your records only.)              2021
     Shareholder's name                                                                                            Shareholder's ID Number

     JASON WHITE                                                                                                    CONFIDENTIAL
                                                                                                                    XXX-XX-XXXX
     Name of S Corporation                                                                                         S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                                                                      XX-XXXXXXX
                              Total Amount of                Ownership % at                                               Shareholder's Pro Rata
       Date of Distribution      Distribution               Date of Distribution                         Shares            Share of Distribution
          10-31-2021                   10,000                               15.00                    015.00000                     1,500
          11-30-2021                   10,000                               15.00                    015.00000                __________
                                                                                                                                   1,500

                      Total                                                                                                   __________
                                                                                                                                   3,000
                                                                                                                              __________




1120SK_1.LD2
              Case 1:25-cv-00193-LG-BWR                               Document 1-3                Filed 06/17/25                    Page 28 of 158

                                                            Changes in Ownership
                                          (This page is not filed with the return. It is for your records only.)                      2021
    Shareholder's name                                                                                                               Shareholder's ID Number

    JASON WHITE                                                                                                                       CONFIDENTIAL
                                                                                                                                      XXX-XX-XXXX
    Name of S Corporation                                                                                                            S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                                         XX-XXXXXXX

                                                                                             Number of Days             Total number
                            Shares Held Prior       Change in            Total Number         Held Prior to              of days in                  Ownership %
    Date of Change              to Change         Shares on Date         of Shares Held         Change                  the tax year                  for period


    01-01-2021                                  000.00000                100.00000                                                  365

    01-01-2021              000.00000           015.00000                100.00000                               1                  365                    000.00000

    12-31-2021              015.00000                                    100.00000                           364                    365         __________
                                                                                                                                                   014.95890

                                Total ownership percentage for the tax year:                                                                    __________
                                                                                                                                                 014.95890
                                                                                                                                                __________




                                                                Change in Shares on Date        No. of Days Held Prior to Change
                                     Ownership % for period =                               X
                                                                  Total Shares Held             Total No. of Days in the Tax Year


K1_OWN.LD
                               Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 29 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2021
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 JASON WHITE                                                                                                                                       CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                               (34,524)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                       3,040
 Unadjusted Basis
 Immediately After
 Acquisition

 Section 199A Dividends




K1_QBIS~.LD
       Case Basis
Shareholder's 1:25-cv-00193-LG-BWR      Document
                    Worksheet Prepared from       1-3 Filed Records
                                            the S Corporation 06/17/25                                                                                Page 30 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                      2021
 Shareholder Number:                         TIN: CONFIDENTIAL
                                                  XXX-XX-XXXX                                                          Tax year ending:   12-31-2021     Ownership %:   14.958904
 Shareholder Name:                JASON WHITE
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                              EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1

 2        Additional Capital Contributions of Stock Purchased                                                                                   2    112,500
 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                                4      112,500
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                    5        3,000
 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                   6      109,500
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                              7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                   8      109,500
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a            34,524
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n      34,524
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                                9          34,524
     10 Less: net increase applied to debt basis                                                                                                                 10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                          11          74,976
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                      17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                            18          74,976
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                34,524
     21        Less:    Applied this year                                                             34,524
     22        End of year (Not less than zero)                                                            0                                                              WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 31 of 158
                                                                                        Allocation of Losses and Deductions                                                             2021
                                                                                                     Keep for your records.

  Shareholder Number:                                                                       TIN:                                       Year Ended:                    Ownership %:
                                                                                                CONFIDENTIAL
                                                                                               XXX-XX-XXXX                               12-31-2021                         14.958904
  Shareholder Name:

        JASON WHITE
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                         XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                  (a)                  (b)                          (c)                  (d)              (e)                 (f)
                                                                             Beginning of          Current Year               Total Losses                %           Allocable          Dissallowed
                                                                                Year               Losses and                      and                               Losses and          Losses and
                                                                             Losses and             Deductions                 Deductions                           Deductions in         Deductions
                                                                              Deductions                                                                            Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business          (Sch K, Line 1)                                     34,524                     34,524             100.000000           34,524
 b Net losses from rental real estate activities   (Sch K, Line 2)

 c Net losses from other rental activities         (Sch K, Line 3c)

 d Net short-term capital losses                   (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                          (Sch K, Line 10a)

 f Net losses under Section 1231                   (Sch K, Line 9)

 g Other losses                                    (Sch K, Line 10e)

 h Charitable contributions                        (Sch K, Line 12a-g)

 i Section 179 expense deduction                   (Sch K, Line 11)

 j Portfolio income expenses                       (Sch K, Line 12l)

 k Other deductions                                (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts            (Sch K, Line 12h)

 m Foreign taxes paid or accrued                   (Sch K, Line 16f)

 n Section 59(e) expenditures                      (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                              34,524                     34,524                                  34,524
7a Nondeductible expenses & credit adj             (Sch K, Line 16c & 13)

 b Oil and gas depletion                           (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                              34,524                     34,524                                  34,524
 WK_SBAS~.LD2
                            Case 1:25-cv-00193-LG-BWR                                  Document 1-3                Filed 06/17/25                  Page 32 of 158
                                                                                                                                                                                671121
                                                                                                               Final K-1           X Amended K-1             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2021                Part III
                                                                                                                           Shareholder's Share of Current Year Income,
                                                                                                                           Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2021, or tax year    1   Ordinary business income (loss)         13    Credits
Internal Revenue Service
                                                                                                                                   (34,524)
                       beginning        01-01 2021                  ending      12-31-2021                2   Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3   Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4   Interest income
             Part I          Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                      14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                               checked . . . . . .

                    MARTINI'S                                                                             6   Royalties                               15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7   Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    E-FILE
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9   Net section 1231 gain (loss)            16    Items affecting shareholder basis
             Part II         Information About the Shareholder
                                                                                                                                                     D                            3,000
   E                Shareholder's identifying number                                                     10   Other income (loss)

                    CONFIDENTIAL
                    XXX-XX-XXXX
   F                Shareholder's name, address, city, state, and ZIP code
                    OSCAR BREWER JR

                    13234 CARIAGE CIRCLE
                    Gulfport                                             MS     39503

                                                                                                                                                      17    Other information
   G                Current year allocation percentage                             14.95890 %                                                        AC                         78,097
                                                         ......
                                                                                                         11   Section 179 deduction

   H                Shareholder's number of shares
                      Beginning of tax year                                                              12   Other deductions
                                          .........
                      End of tax year   ...........                                             15

   I                Loans from shareholder                                                                                                           V*            STMT
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
 For IRS Use Only




                                                                                                         18       More than one activity for at-risk purposes*
                                                                                                         19       More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                   Schedule K-1 (Form 1120-S) 2021
EEA
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                                 Schedule K-1 Distribution Information
                                (This page is not filed with the return. It is for your records only.)              2021
     Shareholder's name                                                                                            Shareholder's ID Number

     OSCAR BREWER JR                                                                                                CONFIDENTIAL
                                                                                                                    XXX-XX-XXXX
     Name of S Corporation                                                                                         S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                                                                      XX-XXXXXXX
                              Total Amount of                Ownership % at                                               Shareholder's Pro Rata
       Date of Distribution      Distribution               Date of Distribution                         Shares            Share of Distribution
          10-31-2021                   10,000                               15.00                    015.00000                     1,500
          11-30-2021                   10,000                               15.00                    015.00000                __________
                                                                                                                                   1,500

                      Total                                                                                                   __________
                                                                                                                                   3,000
                                                                                                                              __________




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              Case 1:25-cv-00193-LG-BWR                               Document 1-3                Filed 06/17/25                    Page 34 of 158

                                                            Changes in Ownership
                                          (This page is not filed with the return. It is for your records only.)                      2021
    Shareholder's name                                                                                                               Shareholder's ID Number

    OSCAR BREWER JR                                                                                                                   XXX-XX-XXXX
                                                                                                                                      CONFIDENTIAL
    Name of S Corporation                                                                                                            S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                                         XX-XXXXXXX

                                                                                             Number of Days             Total number
                            Shares Held Prior       Change in            Total Number         Held Prior to              of days in                  Ownership %
    Date of Change              to Change         Shares on Date         of Shares Held         Change                  the tax year                  for period


    01-01-2021                                  000.00000                100.00000                                                  365

    01-01-2021              000.00000           015.00000                100.00000                               1                  365                    000.00000

    12-31-2021              015.00000                                    100.00000                           364                    365         __________
                                                                                                                                                   014.95890

                                Total ownership percentage for the tax year:                                                                    __________
                                                                                                                                                 014.95890
                                                                                                                                                __________




                                                                Change in Shares on Date        No. of Days Held Prior to Change
                                     Ownership % for period =                               X
                                                                  Total Shares Held             Total No. of Days in the Tax Year


K1_OWN.LD
                               Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 35 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2021
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 OSCAR BREWER JR                                                                                                                                   CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                               (34,524)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                       3,040
 Unadjusted Basis
 Immediately After
 Acquisition

 Section 199A Dividends




K1_QBIS~.LD
       Case Basis
Shareholder's 1:25-cv-00193-LG-BWR      Document
                    Worksheet Prepared from       1-3 Filed Records
                                            the S Corporation 06/17/25                                                                                Page 36 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                      2021
 Shareholder Number:                              CONFIDENTIAL
                                             TIN: XXX-XX-XXXX                                                          Tax year ending:   12-31-2021     Ownership %:   14.958904
 Shareholder Name:                OSCAR BREWER JR
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                              EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1

 2        Additional Capital Contributions of Stock Purchased                                                                                   2    112,500
 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                                4      112,500
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                    5        3,000
 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                   6      109,500
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                              7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                   8      109,500
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a            34,524
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n      34,524
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                                9          34,524
     10 Less: net increase applied to debt basis                                                                                                                 10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                          11          74,976
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                      17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                            18          74,976
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                34,524
     21        Less:    Applied this year                                                             34,524
     22        End of year (Not less than zero)                                                            0                                                              WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 37 of 158
                                                                                        Allocation of Losses and Deductions                                                             2021
                                                                                                     Keep for your records.

  Shareholder Number:                                                                       TIN:                                       Year Ended:                    Ownership %:
                                                                                              CONFIDENTIAL
                                                                                              XXX-XX-XXXX                                12-31-2021                         14.958904
  Shareholder Name:

        OSCAR BREWER JR
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                         XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                  (a)                  (b)                          (c)                  (d)              (e)                 (f)
                                                                             Beginning of          Current Year               Total Losses                %           Allocable          Dissallowed
                                                                                Year               Losses and                      and                               Losses and          Losses and
                                                                             Losses and             Deductions                 Deductions                           Deductions in         Deductions
                                                                              Deductions                                                                            Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business          (Sch K, Line 1)                                     34,524                     34,524             100.000000           34,524
 b Net losses from rental real estate activities   (Sch K, Line 2)

 c Net losses from other rental activities         (Sch K, Line 3c)

 d Net short-term capital losses                   (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                          (Sch K, Line 10a)

 f Net losses under Section 1231                   (Sch K, Line 9)

 g Other losses                                    (Sch K, Line 10e)

 h Charitable contributions                        (Sch K, Line 12a-g)

 i Section 179 expense deduction                   (Sch K, Line 11)

 j Portfolio income expenses                       (Sch K, Line 12l)

 k Other deductions                                (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts            (Sch K, Line 12h)

 m Foreign taxes paid or accrued                   (Sch K, Line 16f)

 n Section 59(e) expenditures                      (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                              34,524                     34,524                                  34,524
7a Nondeductible expenses & credit adj             (Sch K, Line 16c & 13)

 b Oil and gas depletion                           (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                              34,524                     34,524                                  34,524
 WK_SBAS~.LD2
               Case 1:25-cv-00193-LG-BWR                                           Document 1-3    Filed 06/17/25            Page 38 of 158

                                                        Election by a Small Business Corporation
Form    2553                                                   (Under section 1362 of the Internal Revenue Code)
(Rev. December 2017)                                     (Including a late election filed pursuant to Rev. Proc. 2013-30)                               OMB No. 1545-0123

Department of the Treasury
                                                            You can fax this form to the IRS. See separate instructions.
Internal Revenue Service                             Go to www.irs.gov/Form2553 for instructions and the latest information.
Note: This election to be an S corporation can be accepted only if all the tests are met under Who May Elect in the instructions, all
shareholders have signed the consent statement, an officer has signed below, and the exact name and address of the corporation
(entity) and other required form information have been provided.
    Part I       Election Information
                Name (see instructions)                                                                               A Employer identification number
                 JMD COASTAL ENTERTAINMENT                                                                               XX-XXXXXXX
Type            Number, street, and room or suite no. If a P.O. box, see instructions.                                B Date incorporated
or
                 PO BOX 8702                                                                                             09-15-2020
Print           City or town, state or province, country, and ZIP or foreign postal code                              C State of incorporation
                 Gulfport MS 39506                                                                                       MS
D     Check the applicable box(es) if the corporation (entity), after applying for the EIN shown in A above, changed its                 name or             address
E     Election is to be effective for tax year beginning (month, day, year) (see instructions) . . . . . . . . . . . . . .              01-01-2021
      Caution: A corporation (entity) making the election for its first tax year in existence will usually enter the
      beginning date of a short tax year that begins on a date other than January 1.
F     Selected tax year:
      (1) X Calendar year
      (2)        Fiscal year ending (month and day)
      (3)        52-53-week year ending with reference to the month of December
      (4)        52-53-week year ending with reference to the month of
      If box (2) or (4) is checked, complete Part II.


G     If more than 100 shareholders are listed for item J (see page 2), check this box if treating members of a family as one
      shareholder results in no more than 100 shareholders (see test 2 under Who May Elect in the instructions)
H     Name and title of officer or legal representative who the IRS may call for more information           Telephone number of officer or legal
                                                                                                            representative
      DON MANGEN,                                                                                                  (228) 596-5498
I     If this S corporation election is being filed late, I declare I had reasonable cause for not filing Form 2553 timely. If this late
      election is being made by an entity eligible to elect to be treated as a corporation, I declare I also had reasonable cause for not
      filing an entity classification election timely and the representations listed in Part IV are true. See below for my explanation of the
      reasons the election or elections were not made on time and a description of my diligent actions to correct the mistake upon its
      discovery. See instructions.


      FORM FILED ONCE BUT SAID NEVER RECEIVED




             Under penalties of perjury, I declare that I have examined this election, including accompanying documents, and, to the best of my
Sign         knowledge and belief, the election contains all the relevant facts relating to the election, and such facts are true, correct, and complete.
Here
               Signature of officer                                                        Title                                                 Date

For Paperwork Reduction Act Notice, see separate instructions.                                                                              Form 2553 (Rev. 12-2017)
EEA
               Case 1:25-cv-00193-LG-BWR                            Document 1-3                Filed 06/17/25              Page 39 of 158
Form 2553 (Rev. 12-2017)                                                                                                                                   Page 3
Name                                                                                                                      Employer identification number

    JMD COASTAL ENTERTAINMENT                                                                                              XX-XXXXXXX
 Part II        Selection of Fiscal Tax Year (see instructions)
Note: All corporations using this part must complete item O and item P, Q, or R.
O Check the applicable box to indicate whether the corporation is:
   1. X A new corporation adopting the tax year entered in item F, Part I.
   2.       An existing corporation retaining the tax year entered in item F, Part I.
   3.       An existing corporation changing to the tax year entered in item F, Part I.
P     Complete item P if the corporation is using the automatic approval provisions of Rev. Proc. 2006-46, 2006-45 I.R.B. 859, to
      request (1) a natural business year (as defined in section 5.07 of Rev. Proc. 2006-46) or (2) a year that satisfies the ownership
      tax year test (as defined in section 5.08 of Rev. Proc. 2006-46). Check the applicable box below to indicate the representation
      statement the corporation is making.
      1. Natural Business Year        X I represent that the corporation is adopting, retaining, or changing to a tax year that qualifies
      as its natural business year (as defined in section 5.07 of Rev. Proc. 2006-46) and has attached a statement showing
      separately for each month the gross receipts for the most recent 47 months. See instructions. I also represent that the
      corporation is not precluded by section 4.02 of Rev. Proc. 2006-46 from obtaining automatic approval of such adoption,
      retention, or change in tax year.

      2. Ownership Tax Year               I represent that shareholders (as described in section 5.08 of Rev. Proc. 2006-46) holding more
      than half of the shares of the stock (as of the first day of the tax year to which the request relates) of the corporation have the
      same tax year or are concurrently changing to the tax year that the corporation adopts, retains, or changes to per item F, Part
      I, and that such tax year satisfies the requirement of section 4.01(3) of Rev. Proc. 2006-46. I also represent that the corporation
      is not precluded by section 4.02 of Rev. Proc. 2006-46 from obtaining automatic approval of such adoption, retention, or
      change in tax year.
Note: If you do not use item P and the corporation wants a fiscal tax year, complete either item Q or R below. Item Q is used to
request a fiscal tax year based on a business purpose and to make a back-up section 444 election. Item R is used to make a regular
section 444 election.
Q     Business Purpose - To request a fiscal tax year based on a business purpose, check box Q1. See instructions for details
      including payment of a user fee. You may also check box Q2 and/or box Q3.
      1. Check here             if the fiscal year entered in item F, Part I, is requested under the prior approval provisions of Rev. Proc.
      2002-39, 2002-22 I.R.B. 1046. Attach to Form 2553 a statement describing the relevant facts and circumstances and, if
      applicable, the gross receipts from sales and services necessary to establish a business purpose. See the instructions for
      details regarding the gross receipts from sales and services. If the IRS proposes to disapprove the requested fiscal year, do
      you want a conference with the IRS National Office?
         Yes          No


      2. Check here           to show that the corporation intends to make a back-up section 444 election in the event the
      corporation's business purpose request is not approved by the IRS. See instructions for more information.


      3. Check here             to show that the corporation agrees to adopt or change to a tax year ending December 31 if necessary
      for the IRS to accept this election for S corporation status in the event (1) the corporation's business purpose request is not
      approved and the corporation makes a back-up section 444 election, but is ultimately not qualified to make a section 444
      election, or (2) the corporation's business purpose request is not approved and the corporation did not make a back-up
      section 444 election.
R     Section 444 Election - To make a section 444 election, check box R1. You may also check box R2.
      1. Check here            to show that the corporation will make, if qualified, a section 444 election to have the fiscal tax year
      shown in item F, Part I. To make the election, you must complete Form 8716, Election To Have a Tax Year Other Than a
      Required Tax Year, and either attach it to Form 2553 or file it separately.


      2. Check here             to show that the corporation agrees to adopt or change to a tax year ending December 31 if necessary
      for the IRS to accept this election for S corporation status in the event the corporation is ultimately not qualified to make a
      section 444 election.
EEA                                                                                                                                       Form 2553 (Rev. 12-2017)
                 Case 1:25-cv-00193-LG-BWR                                           Document 1-3                        Filed 06/17/25         Page 40 of 158
Form 2553 (Rev. 12-2017)                                                                                                                                                        Page 4
Name                                                                                                                                           Employer identification number

    JMD COASTAL ENTERTAINMENT                                                                                                                  XX-XXXXXXX
 Part III          Qualified Subchapter S Trust (QSST) Election Under Section 1361(d)(2)* Note: If you are making more than
                   one QSST election, use additional copies of page 4.
Income beneficiary's name and address                                                                                           Social security number




Trust's name and address                                                                                                        Employer identification number




Date on which stock of the corporation was transferred to the trust (month, day, year)       ...............
In order for the trust named above to be a QSST and thus a qualifying shareholder of the S corporation for which this Form 2553 is
filed, I hereby make the election under section 1361(d)(2). Under penalties of perjury, I certify that the trust meets the definitional
requirements of section 1361(d)(3) and that all other information provided in Part III is true, correct, and complete.



Signature of income beneficiary or signature and title of legal representative or other qualified person making the election            Date

* Use Part III to make the QSST election only if stock of the corporation has been transferred to the trust on or before the date on
which the corporation makes its election to be an S corporation. The QSST election must be made and filed separately if stock of the
corporation is transferred to the trust after the date on which the corporation makes the S election.
Part IV            Late Corporate Classification Election Representations (see instructions)
If a late entity classification election was intended to be effective on the same date that the S corporation election was intended to be
effective, relief for a late S corporation election must also include the following representations.


1     The requesting entity is an eligible entity as defined in Regulations section 301.7701-3(a);


2     The requesting entity intended to be classified as a corporation as of the effective date of the S corporation status;


3     The requesting entity fails to qualify as a corporation solely because Form 8832, Entity Classification Election, was not timely
      filed under Regulations section 301.7701-3(c)(1)(i), or Form 8832 was not deemed to have been filed under Regulations section
      301.7701-3(c)(1)(v)(C);


4     The requesting entity fails to qualify as an S corporation on the effective date of the S corporation status solely because the
      S corporation election was not timely filed pursuant to section 1362(b); and


5a The requesting entity timely filed all required federal tax returns and information returns consistent with its requested
   classification as an S corporation for all of the years the entity intended to be an S corporation and no inconsistent tax or
   information returns have been filed by or with respect to the entity during any of the tax years, or


    b The requesting entity has not filed a federal tax or information return for the first year in which the election was intended to be
      effective because the due date has not passed for that year's federal tax or information return.


EEA                                                                                                                                                         Form 2553 (Rev. 12-2017)
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Form 2553 (Rev. 12-2017)                                                                                                                         Page 2
Name                                                                                                            Employer identification number

 JMD COASTAL ENTERTAINMENT                                                                                       XX-XXXXXXX
 Part I       Election Information (continued) Note: If you need more rows, use additional copies of page 2.
                                                           K
                                           Shareholder’s Consent Statement
                                        Under penalties of perjury, I declare that I
                                       consent to the election of the above-named
                                        corporation (entity) to be an S corporation
                                           under section 1362(a) and that I have
                                       examined this consent statement, including
                                       accompanying documents, and, to the best
                                         of my knowledge and belief, the election
                                       contains all the relevant facts relating to the                     L
                                         election, and such facts are true, correct,                Stock owned or
                                        and complete. I understand my consent is                percentage of ownership
                                       binding and may not be withdrawn after the                  (see instructions)
                                           corporation (entity) has made a valid
                                           election. If seeking relief for a late filed
                                         election, I also declare under penalties of
                                       perjury that I have reported my income on all                                                M
                                            affected returns consistent with the S                                          Social security
                 J                       corporation election for the year for which                                          number or           N
   Name and address of each               the election should have been filed (see            Number of                        employer     Shareholder's
shareholder or former shareholder      beginning date entered on line E) and for all          shares or                      identification tax year ends
required to consent to the election.                  subsequent years.                       percentage       Date(s)       number (see     (month and
       (see instructions)                  Signature                                Date      of ownership     acquired       instructions)      day)




EEA                                                                                                                            Form 2553 (Rev. 12-2017)
                                                      Case 1:25-cv-00193-LG-BWR    Document
                                                                     U.S. Income Tax Return 1-3
                                                                                            for anFiled 06/17/25 Page 42 of 158
                                                                                                   S Corporation                                                                                                                 OMB No. 1545-0123
Form                                               1120-S
                                              Do not file this form unless the corporation has filed or
Department of the Treasury
Internal Revenue Service
                                              is attaching Form 2553 to elect to be an S corporation.
                                       Go to www.irs.gov/Form1120S for instructions and the latest information.
                                                                                                                                                                                                                                  2022
For calendar year 2022 or tax year beginning                      01-01 , 2022, ending                          12-31 , 20 22
A S election effective date              Name                                                                    D Employer identification number
                                                                                                JMD COASTAL ENTERTAINMENT
09-23-2020                                                                        TYPE          MARTINI'S                                                                                                   XX-XXXXXXX
B Business activity code                                                                        Number, street, and room or suite no. If a P.O. box, see instructions.                                      E Date incorporated
                                                                                  OR
                                                number (see instructions)
                                                                                  PRINT         PO BOX 8702                                                                                                 09-15-2020
722511                                       City or town, state or province, country, and ZIP or foreign postal code                   F Total assets (see instructions)
C Check if Sch. M-3 attached                 Gulfport                                                   MS       39506                  $                          8,725
G Is the corporation electing to be an S corporation beginning with this tax year? See instructions.                    X Yes         No
H Check if: (1)          Final return (2)     Name change           (3) X Address change (4) X Amended return                  (5)     S election termination
I  Enter the number of shareholders who were shareholders during any part of the tax year . . . . . . . . . . . . . . . . . .                                         5
J Check if corporation: (1)           Aggregated activities for section 465 at-risk purposes (2)             Grouped activities for section 469 passive activity purposes
Caution: Include only trade or business income and expenses on lines 1a through 21. See the instructions for more information.
      1 a Gross receipts or sales . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        1a           923,586
          b Returns and allowances . . . . . . . . . . . . . . . . . . . . . . . . . . .                         1b
          c Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      1c               923,586
      2       Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       2
Income




                                                                                                                                                               465,145
      3       Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3              458,441
      4       Net gain (loss) from Form 4797, line 17 (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . .                      4
      5      Other income (loss) (see instructions - attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . .                      5
      6       Total income (loss). Add lines 3 through 5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        6              458,441
      7       Compensation of officers (see instructions - attach Form 1125-E) . . . . . . . . . . . . . . . . . . . . . .                      7
      8       Salaries and wages (less employment credits) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        8
Deductions (see instructions for limitations)




      9       Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         9                25,635
     10       Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       10
     11       Rents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       11                 64,613
     12       Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               Wks... .......
                                                                                                                        Tax/Lic               12                 60,541
     13       Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   13
     14       Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) . . . .                        14
                                                   15     Depletion (Do not deduct oil and gas depletion.). . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   15
                                                   16     Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   16                  22,187
                                                   17     Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              17
                                                   18     Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     18
                                                   19     Other deductions (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . .      . . . . . . .#2
                                                                                                                                                   Statement       ...                                                19                 289,963
                                                   20     Total deductions. Add lines 7 through 19 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    20                 462,939
                                                   21     Ordinary business income (loss). Subtract line 20 from line 6. . . . . . . . . . . . . . . . . . . . . . .                                                  21                  (4,498)
                                                   22 a   Excess net passive income or LIFO recapture tax (see instructions) . . . . . . .      22a
                                                      b   Tax from Schedule D (Form 1120-S) . . . . . . . . . . . . . . . . . . . . . .         22b
                                                      c   Add lines 22a and 22b (see instructions for additional taxes) . . . . . . . . . . . . . . . . . . . . . . . .                                              22c
Tax and Payments




                                                   23 a   2022 estimated tax payments and 2021 overpayment credited to 2022 . . . . . .         23a
                                                      b   Tax deposited with Form 7004 . . . . . . . . . . . . . . . . . . . . . . . .          23b
                                                      c   Credit for federal tax paid on fuels (attach Form 4136) . . . . . . . . . . . . .     23c
                                                      d   Add lines 23a through 23c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                23d
                                                   24     Estimated tax penalty (see instructions). Check if Form 2220 is attached . . . . . . . . . . . . . . . .                                                    24
                                                   25     Amount owed. If line 23d is smaller than the total of lines 22c and 24, enter amount owed...........                                                        25
                                                   26                                                                                                ..........
                                                          Overpayment. If line 23d is larger than the total of lines 22c and 24, enter amount overpaid                                                                26
                                                   27     Enter amount from line 26: Credited to 2023 estimated tax                                        Refunded .                                                 27
                                                          Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of           May the IRS discuss this return
                                                          my knowledge and belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which
                                                                                                                                                                                                                with the preparer shown below?
Sign                                                      preparer has any knowledge.
                                                                                                                                                                                                                See instructions.         Yes     X No
Here
                                                              Don L Mangen III                                                                              05-19-2025                    General Partner
                                                          Signature of officer                                                                                Date                       Title

                                                              Print/Type preparer's name                                Preparer's signature                                      Date                     Check      X     if    PTIN

Paid                                                          DON MANGEN                             DON MANGEN                                                                   05-19-2025               self-employed
                                                                                                                                                                                                                                  CONFIDENTIAL
                                                                                                                                                                                                                                  P01647980
Preparer                                                      Firm's name           FLASH FINANCIAL SERVICES                                                                                       Firm's EIN         XX-XXXXXXX
                                                                                                                                                                                                                    CONFIDENTIAL
Use Only                                                      Firm's address        7561 WEST JUDGE PEREZ                                                                                          Phone no.
                                                                                    Arabi LA 70032                                                                                                                      (504)279-5700
For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                                    Form 1120-S (2022)
EEA
             Case 1:25-cv-00193-LG-BWR                               Document 1-3                Filed 06/17/25              Page 43 of 158
Form 1120-S (2022)      JMD COASTAL ENTERTAINMENT                                                                            XX-XXXXXXX                              Page 2
 Schedule B          Other Information (see instructions)
   1    Check accounting method:          a X Cash          b      Accrual                                                                                     Yes          No
                                          c      Other (specify)
   2   See the instructions and enter the:
       a Business activity RESTAURANT                                     b Product or service       FOOD SERVICE
   3   At any time during the tax year, was any shareholder of the corporation a disregarded entity, a trust, an estate, or a
       nominee or similar person? If "Yes," attach Schedule B-1, Information on Certain Shareholders of an S Corporation. . . . . . . . .
   4   At the end of the tax year, did the corporation:
     a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total stock issued and outstanding of any
       foreign or domestic corporation? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v)
       below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       X
            (i) Name of Corporation               (ii)   Employer           (iii) Country of          (iv) Percentage of     (v) If Percentage in (iv) is 100%, Enter the
                                                    Identification           Incorporation               Stock Owned         Date (if applicable) a Qualified Subchapter
                                                  Number (if any)                                                               S Subsidiary Election Was Made




   b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or
     capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest of a
     trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below . . . . . . . . . . . . . . . . .                              X
              (i) Name of Entity                  (ii)   Employer         (iii) Type of Entity             (iv) Country of            (v) Maximum Percentage Owned
                                                    Identification                                          Organization                   in Profit, Loss, or Capital
                                                  Number (if any)




   5 a At the end of the tax year, did the corporation have any outstanding shares of restricted stock? . . . . . . . . . . . . . . . . . .
       If "Yes," complete lines (i) and (ii) below.
       (i) Total shares of restricted stock . . . . . . . . . . . . . . . . . . .
       (ii) Total shares of non-restricted stock . . . . . . . . . . . . . . . . .
     b At the end of the tax year, did the corporation have any outstanding stock options, warrants, or similar instruments? . . . . . . . .
       If "Yes," complete lines (i) and (ii) below.
       (i) Total shares of stock outstanding at the end of the tax year . . . . . . .
       (ii) Total shares of stock outstanding if all instruments were executed . . .
   6   Has this corporation filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
       information on any reportable transaction? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   7   Check this box if the corporation issued publicly offered debt instruments with original issue discount. . . . . . . . . . . . . .
       If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount
       Instruments.
   8   If the corporation (a) was a C corporation before it elected to be an S corporation or the corporation acquired an asset with a
       basis determined by reference to the basis of the asset (or the basis of any other property) in the hands of a C corporation, and
       (b) has net unrealized built-in gain in excess of the net recognized built-in gain from prior years, enter the net unrealized built-in
       gain reduced by net recognized built-in gain from prior years. See instructions . . . . . . . . . .         $
   9   Did the corporation have an election under section 163(j) for any real property trade or business or any farming business
       in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  10   Does the corporation satisfy one or more of the following? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . .
     a The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
     b The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
       preceding the current tax year are more than $27 million and the corporation has business interest expense.
     c The corporation is a tax shelter and the corporation has business interest expense.
       If "Yes," complete and attach Form 8990, Limitation on Business Interest Expense Under Section 163(j).
  11   Does the corporation satisfy both of the following conditions?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                X
     a The corporation's total receipts (see instructions) for the tax year were less than $250,000.
     b The corporation's total assets at the end of the tax year were less than $250,000.
       If "Yes," the corporation is not required to complete Schedules L and M-1.
EEA                                                                                                                                        Form 1120-S (2022)
                       Case 1:25-cv-00193-LG-BWR                        Document 1-3              Filed 06/17/25            Page 44 of 158
Form 1120S (2022)                JMD COASTAL ENTERTAINMENT                                                                   XX-XXXXXXX               Page 3
Schedule B                     Other Information (see instructions) (continued)                                                                    Yes   No
12   During the tax year, did the corporation have any non-shareholder debt that was canceled, was forgiven, or had the
     terms modified so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
     If "Yes," enter the amount of principal reduction . . . . . . . . . . . . . . . . . . . . . . . . . $
13   During the tax year, was a qualified subchapter S subsidiary election terminated or revoked? If "Yes," see instructions . . . . . . .
14 a Did the corporation make any payments in 2022 that would require it to file Form(s) 1099? . . . . . . . . . . . . . . . . . . . .
   b If "Yes," did or will the corporation file required Form(s) 1099?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
15   Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund?. . . . . . . . . . . . . . . . . . . . . . . .            X
     If "Yes," enter the amount from Form 8996, line 15 . . . . . . . . . . . . . . . . . . . . . . . . $
Schedule K Shareholders' Pro Rata Share Items                                                                                        Total amount
           1     Ordinary business income (loss) (page 1, line 21) . . . . . . . . . . . . . . . . . . . . . . . . . .         1             (4,498)
           2     Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . . . . . . . . . . . . .         2
           3a Other gross rental income (loss) . . . . . . . . . . . . . . . . . . . .              3a
             b Expenses from other rental activities (attach statement) . . . . . . . . .           3b
             c Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . . . . . . . . . . . . . .         3c
     Income (Loss)




           4     Interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           4
           5     Dividends: a Ordinary dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           5a
                              b Qualified dividends . . . . . . . . . . . . . . . . . . . .         5b
           6     Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           6
           7     Net short-term capital gain (loss) (attach Schedule D (Form 1120-S)) . . . . . . . . . . . . . . . . .        7
           8a Net long-term capital gain (loss) (attach Schedule D (Form 1120-S)). . . . . . . . . . . . . . . . . .           8a
             b Collectibles (28%) gain (loss) . . . . . . . . . . . . . . . . . . . . . .           8b
             c Unrecaptured section 1250 gain (attach statement) . . . . . . . . . . .              8c
           9     Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . .         9
          10     Other income (loss) (see instructions) . . . . . . . Type:                                                    10
          11     Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          11
     Deductions




          12a Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            12a
             b Investment interest expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            12b
             c Section 59(e)(2) expenditures . . . . . . . . . . Type:                                                        12c
             d Other deductions (see instructions) . . . . . . . . Type:                                                      12d
          13a Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          13a
             b Low-income housing credit (other) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            13b
             c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable). . . . . . . . .  13c
     Credits




             d Other rental real estate credits (see instructions) . . Type:                                                  13d
             e Other rental credits (see instructions) . . . . . . . Type:                                                    13e
             f Biofuel producer credit (attach Form 6478) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           13f
             g Other credits (see instructions) . . . . . . . . . . Type:                                                     13g
                              Qualified for exception to filing Schedule K-2
  national
   Inter-




                       14    Attach Schedule K-2 (Form 1120-S), Shareholders' Pro Rata Share Items - International, and
                             check this box to indicate you are reporting items of international tax relevance . . . . . . . . . .
                       15a   Post-1986 depreciation adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      15a
Minimum Tax




                         b   Adjusted gain or loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    15b
(AMT) Items
 Alternative




                         c   Depletion (other than oil and gas) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   15c
                         d   Oil, gas, and geothermal properties - gross income . . . . . . . . . . . . . . . . . . . . . . . . .     15d
                         e   Oil, gas, and geothermal properties - deductions . . . . . . . . . . . . . . . . . . . . . . . . . .     15e
                         f   Other AMT items (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     15f
                       16a   Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       16a
   Shareholder Basis
    Items Affecting




                         b   Other tax-exempt income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      16b
                         c   Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       16c
                         d   Distributions (attach statement if required) (see instructions)   ....................                   16d          40,000
                         e   Repayment of loans from shareholders . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       16e
                         f   Foreign taxes paid or accrued . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      16f
EEA                                                                                                                                         Form 1120-S (2022)
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Form 1120-S (2022) JMD COASTAL ENTERTAINMENT                                                                         XX-XXXXXXX                      Page 4
Schedule K                Shareholders' Pro Rata Share Items (continued)                                                              Total amount
                17a   Investment income       ........................................                                          17a
  Information

                                                .......................................
     Other



                  b   Investment expenses                                                                                       17b
                  c   Dividend distributions paid from accumulated earnings and profits . . . . . . . . . . . . . . . . . . .   17c
                  d   Other items and amounts (attach statement)                                    Statement #18
  ciliation
  Recon-




                18
                Income (loss) reconciliation. Combine the amounts on lines 1 through 10 in the far right
                column. From the result, subtract the sum of the amounts on lines 11 through 12d and 16f . . . . . . .     18             (4,498)
 Schedule L          Balance Sheets per Books                           Beginning of tax year                        End of tax year
                                Assets                                  (a)                    (b)                 (c)                   (d)
  1   Cash . . . . . . . . . . . . . . . . . . . . . .
  2a Trade notes and accounts receivable . . . . . . .
    b Less allowance for bad debts . . . . . . . . . . . (                          )                      (                   )
  3   Inventories . . . . . . . . . . . . . . . . . . .                                         15,750                                      8,725
  4   U.S. government obligations . . . . . . . . . . .
  5   Tax-exempt securities (see instructions) . . . . . .
  6   Other current assets (attach statement) . . . . . .
  7   Loans to shareholders . . . . . . . . . . . . . .
  8   Mortgage and real estate loans . . . . . . . . . .
  9   Other investments (attach statement) . . . . . . .
 10a Buildings and other depreciable assets . . . . . .
    b Less accumulated depreciation . . . . . . . . . . (                           )                      (                   )
 11a Depletable assets . . . . . . . . . . . . . . . .
    b Less accumulated depletion . . . . . . . . . . . (                            )                      (                   )
 12   Land (net of any amortization) . . . . . . . . . .
 13a Intangible assets (amortizable only) . . . . . . .
    b Less accumulated amortization . . . . . . . . . (                             )                      (                   )
 14   Other assets (attach statement) . . . . . . . . .
 15   Total assets . . . . . . . . . . . . . . . . . . .                                        15,750                                      8,725
           Liabilities and Shareholders' Equity
 16   Accounts payable . . . . . . . . . . . . . . . .
 17   Mortgages, notes, bonds payable in less than 1 year . . .
 18   Other current liabilities (attach statement) . . . . .
 19   Loans from shareholders         ............
 20   Mortgages, notes, bonds payable in 1 year or more . . .
 21   Other liabilities (attach statement) . . . . . . . .
 22   Capital stock . . . . . . . . . . . . . . . . . .
 23   Additional paid-in capital . . . . . . . . . . . . .
 24   Retained earnings . . . . . . . . . . . . . . . .                                         15,750                                      8,725
 25   Adjustments to shareholders' equity (attach statement) . .
 26   Less cost of treasury stock . . . . . . . . . . . .                             (                  )                       (                 )
 27   Total liabilities and shareholders' equity . . . . . .                                    15,750                                      8,725
EEA                                                                                                                                Form 1120-S (2022)
               Case 1:25-cv-00193-LG-BWR                        Document 1-3                     Filed 06/17/25             Page 46 of 158
Form 1120-S (2022)        JMD COASTAL ENTERTAINMENT                                                                          XX-XXXXXXX                          Page 5
Schedule M-1                Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                         Note: The corporation may be required to file Schedule M-3. See instructions.
1     Net income (loss) per books . . . . . . . . .            (4,498) 5 Income recorded on books this year not included
2     Income included on Schedule K, lines 1, 2, 3c, 4,                              on Schedule K, lines 1 through 10 (itemize):
      5a, 6, 7, 8a, 9, and 10, not recorded on books this                          a Tax-exempt interest $
      year (itemize):


3  Expenses recorded on books this year not                                       6 Deductions included on Schedule K,
   included on Schedule K, lines 1 through 12,                                       lines 1 through 12, and 16f, not charged
   and 16f (itemize):                                                                against book income this year (itemize):
 a Depreciation $                                                                  a Depreciation $
 b Travel and entertainment $


                                                                                  7 Add lines 5 and 6         .............
4     Add lines 1 through 3     ............              (4,498) 8 Income (loss) (Schedule K, line 18). Subtract line 7 from line 4                         (4,498)
Schedule M-2                Analysis of Accumulated Adjustments Account, Shareholders' Undistributed Taxable Income
                            Previously Taxed, Accumulated Earnings and Profits, and Other Adjustments Account
                            (see instructions)
                                                                     (a) Accumulated            (b) Shareholders'        (c) Accumulated           (d) Other adjustments
                                                                    adjustments account         undistributed taxable   earnings and profits               account
                                                                                              income previously taxed

1     Balance at beginning of tax year . . . . . . . . . . .              (388,687)
2     Ordinary income from page 1, line 21 . . . . . . . . .
3     Other additions . . . . . . . . . . . . . . . . . . .
4     Loss from page 1, line 21 . . . . . . . . . . . . . .     (              4,498 )
5     Other reductions    ..................                    (                         )                                                    (                           )
6     Combine lines 1 through 5 . . . . . . . . . . . . . .               (393,185)
7     Distributions . . . . . . . . . . . . . . . . . . . . .
8     Balance at end of tax year. Subtract line 7 from
      line 6 . . . . . . . . . . . . . . . . . . . . . . . .              (393,185)
EEA                                                                                                                                                 Form 1120-S (2022)
               Case 1:25-cv-00193-LG-BWR                    Document 1-3            Filed 06/17/25           Page 47 of 158

Form      1125-A                                         Cost of Goods Sold
(Rev. November 2018)                                                                                                         OMB No. 1545-0123
                                                Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury
Internal Revenue Service                       Go to www.irs.gov/Form1125A for the latest information.
Name                                                                                                               Employer identification number

JMD COASTAL ENTERTAINMENT                                                                                           XX-XXXXXXX
 1     Inventory at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             1              15,750
 2     Purchases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                2             240,728
 3     Cost of labor . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              3             217,392
 4     Additional section 263A costs (attach schedule)       ...........................                                  4
 5     Other costs (attach schedule) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              5
 6     Total. Add lines 1 through 5       ....................................                                            6             473,870
 7     Inventory at end of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             7               8,725
 8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
       appropriate line of your tax return. See instructions     .........................                                8             465,145
 9a    Check all methods used for valuing closing inventory:
         (i) X Cost
        (ii)    Lower of cost or market
       (iii)    Other (Specify method used and attach explanation.)
  b    Check if there was a writedown of subnormal goods . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  c    Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)          .............
  d    If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
       under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9d
  e    If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions  ......   Yes    X No
  f    Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If "Yes,"
       attach explanation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     Yes    X No




For Paperwork Reduction Act Notice, see instructions                                                                Form 1125-A (Rev. 11-2018)
EEA
                            Case 1:25-cv-00193-LG-BWR                                  Document 1-3                Filed 06/17/25                  Page 48 of 158
                                                                                                                                                                                671121
                                                                                                               Final K-1           X Amended K-1             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2022                Part III
                                                                                                                           Shareholder's Share of Current Year Income,
                                                                                                                           Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2022, or tax year    1   Ordinary business income (loss)         13    Credits
Internal Revenue Service
                                                                                                                                    (1,798)
                       beginning        01-01 2022                  ending      12-31-2022                2   Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3   Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4   Interest income
             Part I          Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                      14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                               checked . . . . . . .

                    MARTINI'S                                                                             6   Royalties                               15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7   Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    E-FILE
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9   Net section 1231 gain (loss)            16    Items affecting shareholder basis
             Part II         Information About the Shareholder
                                                                                                                                                     D                          16,000
   E                Shareholder's identifying number                                                     10   Other income (loss)
                    CONFIDENTIAL
                    XXX-XX-XXXX
   F                Shareholder's name, address, city, state, and ZIP code
                    STEVEN M STAFFORD

                    2200 DAUPHIN STREET
                    Mobile                                               AL     36606

                                                                                                                                                      17    Other information
   G                Current year allocation percentage                             40.00000 %                                                        AC                       369,434
                                                         ......
                                                                                                         11   Section 179 deduction

   H                Shareholder's number of shares
                      Beginning of tax year                                                     40       12   Other deductions
                                          .........
                      End of tax year   ...........                                             40

   I                Loans from shareholder                                                                                                           V*            STMT
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
 For IRS Use Only




                                                                                                         18       More than one activity for at-risk purposes*
                                                                                                         19       More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                   Schedule K-1 (Form 1120-S) 2022
EEA
               Case 1:25-cv-00193-LG-BWR                 Document 1-3                 Filed 06/17/25              Page 49 of 158

                                 Schedule K-1 Distribution Information
                                (This page is not filed with the return. It is for your records only.)              2022
     Shareholder's name                                                                                            Shareholder's ID Number

     STEVEN M STAFFORD                                                                                             XXX-XX-XXXX
                                                                                                                   CONFIDENTIAL
     Name of S Corporation                                                                                         S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                                                                      XX-XXXXXXX
                              Total Amount of                Ownership % at                                               Shareholder's Pro Rata
       Date of Distribution      Distribution               Date of Distribution                         Shares            Share of Distribution
          01-11-2022                   10,000                               40.00                    040.00000                     4,000
          08-26-2022                   10,000                               40.00                    040.00000                     4,000
          11-29-2022                   20,000                               40.00                    040.00000                __________
                                                                                                                                   8,000

                      Total                                                                                                   __________
                                                                                                                                  16,000
                                                                                                                              __________




K1_DIST.LD
                               Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 50 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2022
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 STEVEN M STAFFORD                                                                                                                                 CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                                (1,798)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                      86,956
 Unadjusted Basis
 Immediately After
 Acquisition

 Section 199A Dividends




K1_QBIS~.LD
       Case Basis
Shareholder's 1:25-cv-00193-LG-BWR      Document
                    Worksheet Prepared from       1-3 Filed Records
                                            the S Corporation 06/17/25                                                                                Page 51 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                      2022
 Shareholder Number:
                                                                   CONFIDENTIAL
                                                               TIN: XXX-XX-XXXX                                        Tax year ending:   12-31-2022     Ownership %:   40.000000
 Shareholder Name:                STEVEN M STAFFORD
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                              EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1    199,557
 2        Additional Capital Contributions of Stock Purchased                                                                                   2

 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                                4      199,557
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                    5       16,000
 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                   6      183,557
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                              7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                   8      183,557
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a               1,798
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n       1,798
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                                9          1,798
     10 Less: net increase applied to debt basis                                                                                                                 10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                          11      181,759
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                      17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                            18      181,759
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                 1,798
     21        Less:    Applied this year                                                              1,798
     22        End of year (Not less than zero)                                                            0                                                              WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 52 of 158
                                                                                        Allocation of Losses and Deductions                                                             2022
                                                                                                     Keep for your records.

  Shareholder Number:                                                                       TIN:                                       Year Ended:                    Ownership %:

                                                                                              XXX-XX-XXXX
                                                                                              CONFIDENTIAL                               12-31-2022                         40.000000
  Shareholder Name:

        STEVEN M STAFFORD
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                         XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                  (a)                  (b)                          (c)                  (d)              (e)                 (f)
                                                                             Beginning of          Current Year               Total Losses                %           Allocable          Dissallowed
                                                                                Year               Losses and                      and                               Losses and          Losses and
                                                                             Losses and             Deductions                 Deductions                           Deductions in         Deductions
                                                                              Deductions                                                                            Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business          (Sch K, Line 1)                                       1,798                      1,798            100.000000             1,798
 b Net losses from rental real estate activities   (Sch K, Line 2)

 c Net losses from other rental activities         (Sch K, Line 3c)

 d Net short-term capital losses                   (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                          (Sch K, Line 10a)

 f Net losses under Section 1231                   (Sch K, Line 9)

 g Other losses                                    (Sch K, Line 10e)

 h Charitable contributions                        (Sch K, Line 12a-g)

 i Section 179 expense deduction                   (Sch K, Line 11)

 j Portfolio income expenses                       (Sch K, Line 12l)

 k Other deductions                                (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts            (Sch K, Line 12h)

 m Foreign taxes paid or accrued                   (Sch K, Line 16f)

 n Section 59(e) expenditures                      (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                                1,798                      1,798                                   1,798
7a Nondeductible expenses & credit adj             (Sch K, Line 16c & 13)

 b Oil and gas depletion                           (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                                1,798                      1,798                                   1,798
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               Case 1:25-cv-00193-LG-BWR                            Document 1-3               Filed 06/17/25            Page 53 of 158


                                           Schedule K-1 Supplemental Information                                           2022
     Shareholder's name                                                                                                   Shareholder's ID Number

    STEVEN M STAFFORD                                                                                                     CONFIDENTIAL
                                                                                                                           XXX-XX-XXXX
    Name of S Corporation                                                                                                 S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                              XX-XXXXXXX
                                                        Schedule K-3 Notification
       The corporation has met the following criteria for tax year 2022, presently exempting it from filing Schedule K-3 (Form 1120-S), Shareholder's
       Share of Income, Deductions, Credits, etc. - International:


                   Criteria 1 - Corporation had no or limited foreign activity
                   Criteria 2 - Each of the shareholders was a U.S. citizen, resident alien, or certain domestic trust


       With respect to the corporation meeting criteria 1 and 2, shareholders are hereby notified they will not be receiving a Schedule K-3 from
       the corporation unless the shareholder specifically requests the schedule.


       A request for a Schedule K-3 is time sensitive and should be made as soon as possible.




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                            Case 1:25-cv-00193-LG-BWR                                  Document 1-3                Filed 06/17/25                  Page 54 of 158
                                                                                                                                                                                671121
                                                                                                               Final K-1           X Amended K-1             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2022                Part III
                                                                                                                           Shareholder's Share of Current Year Income,
                                                                                                                           Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2022, or tax year    1   Ordinary business income (loss)         13    Credits
Internal Revenue Service
                                                                                                                                       (675)
                       beginning        01-01 2022                  ending      12-31-2022                2   Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3   Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4   Interest income
             Part I          Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                      14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                               checked . . . . . . .

                    MARTINI'S                                                                             6   Royalties                               15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7   Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    E-FILE
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9   Net section 1231 gain (loss)            16    Items affecting shareholder basis
             Part II         Information About the Shareholder
                                                                                                                                                     D                            6,000
   E                Shareholder's identifying number                                                     10   Other income (loss)
                    CONFIDENTIAL
                    XXX-XX-XXXX
   F                Shareholder's name, address, city, state, and ZIP code
                    DON MANGEN

                    PO BOX 8702
                    Gulfport                                             MS     39506

                                                                                                                                                      17    Other information
   G                Current year allocation percentage                             15.00000 %                                                        AC                       138,538
                                                         ......
                                                                                                         11   Section 179 deduction

   H                Shareholder's number of shares
                      Beginning of tax year                                                     15       12   Other deductions
                                          .........
                      End of tax year   ...........                                             15

   I                Loans from shareholder                                                                                                           V*            STMT
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
 For IRS Use Only




                                                                                                         18       More than one activity for at-risk purposes*
                                                                                                         19       More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                   Schedule K-1 (Form 1120-S) 2022
EEA
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                                 Schedule K-1 Distribution Information
                                (This page is not filed with the return. It is for your records only.)              2022
     Shareholder's name                                                                                            Shareholder's ID Number

     DON MANGEN                                                                                                    CONFIDENTIAL
                                                                                                                   XXX-XX-XXXX
     Name of S Corporation                                                                                         S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                                                                      XX-XXXXXXX
                              Total Amount of                Ownership % at                                               Shareholder's Pro Rata
       Date of Distribution      Distribution               Date of Distribution                         Shares            Share of Distribution
          01-11-2022                   10,000                               15.00                    015.00000                     1,500
          08-26-2022                   10,000                               15.00                    015.00000                     1,500
          11-29-2022                   20,000                               15.00                    015.00000                __________
                                                                                                                                   3,000

                      Total                                                                                                   __________
                                                                                                                                   6,000
                                                                                                                              __________




K1_DIST.LD
                               Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 56 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2022
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 DON MANGEN                                                                                                                                        CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                                  (675)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                      32,609
 Unadjusted Basis
 Immediately After
 Acquisition

 Section 199A Dividends




K1_QBIS~.LD
       Case Basis
Shareholder's 1:25-cv-00193-LG-BWR      Document
                    Worksheet Prepared from       1-3 Filed Records
                                            the S Corporation 06/17/25                                                                               Page 57 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                     2022
 Shareholder Number:                              CONFIDENTIAL
                                             TIN: XXX-XX-XXXX                                                          Tax year ending:   12-31-2022    Ownership %:   15.000000
 Shareholder Name:                DON MANGEN
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                             EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1    74,849
 2        Additional Capital Contributions of Stock Purchased                                                                                   2

 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                               4          74,849
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                   5           6,000
 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                  6          68,849
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                             7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                  8          68,849
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a                    675
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n        675
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                               9             675
     10 Less: net increase applied to debt basis                                                                                                                10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                         11          68,174
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                     17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                           18          68,174
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                     675
     21        Less:    Applied this year                                                                  675
     22        End of year (Not less than zero)                                                              0                                                           WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 58 of 158
                                                                                        Allocation of Losses and Deductions                                                             2022
                                                                                                     Keep for your records.

  Shareholder Number:                                                                       TIN:                                       Year Ended:                    Ownership %:

                                                                                               XXX-XX-XXXX
                                                                                               CONFIDENTIAL                              12-31-2022                         15.000000
  Shareholder Name:

        DON MANGEN
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                         XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                  (a)                  (b)                          (c)                  (d)              (e)                 (f)
                                                                             Beginning of          Current Year               Total Losses                %           Allocable          Dissallowed
                                                                                Year               Losses and                      and                               Losses and          Losses and
                                                                             Losses and             Deductions                 Deductions                           Deductions in         Deductions
                                                                              Deductions                                                                            Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business          (Sch K, Line 1)                                             675                     675           100.000000                675
 b Net losses from rental real estate activities   (Sch K, Line 2)

 c Net losses from other rental activities         (Sch K, Line 3c)

 d Net short-term capital losses                   (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                          (Sch K, Line 10a)

 f Net losses under Section 1231                   (Sch K, Line 9)

 g Other losses                                    (Sch K, Line 10e)

 h Charitable contributions                        (Sch K, Line 12a-g)

 i Section 179 expense deduction                   (Sch K, Line 11)

 j Portfolio income expenses                       (Sch K, Line 12l)

 k Other deductions                                (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts            (Sch K, Line 12h)

 m Foreign taxes paid or accrued                   (Sch K, Line 16f)

 n Section 59(e) expenditures                      (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                                      675                     675                                     675
7a Nondeductible expenses & credit adj             (Sch K, Line 16c & 13)

 b Oil and gas depletion                           (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                                      675                     675                                     675
 WK_SBAS~.LD2
               Case 1:25-cv-00193-LG-BWR                            Document 1-3               Filed 06/17/25            Page 59 of 158


                                           Schedule K-1 Supplemental Information                                           2022
     Shareholder's name                                                                                                   Shareholder's ID Number

    DON MANGEN                                                                                                            CONFIDENTIAL
                                                                                                                          XXX-XX-XXXX
    Name of S Corporation                                                                                                 S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                              XX-XXXXXXX
                                                        Schedule K-3 Notification
       The corporation has met the following criteria for tax year 2022, presently exempting it from filing Schedule K-3 (Form 1120-S), Shareholder's
       Share of Income, Deductions, Credits, etc. - International:


                   Criteria 1 - Corporation had no or limited foreign activity
                   Criteria 2 - Each of the shareholders was a U.S. citizen, resident alien, or certain domestic trust


       With respect to the corporation meeting criteria 1 and 2, shareholders are hereby notified they will not be receiving a Schedule K-3 from
       the corporation unless the shareholder specifically requests the schedule.


       A request for a Schedule K-3 is time sensitive and should be made as soon as possible.




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                            Case 1:25-cv-00193-LG-BWR                                  Document 1-3                Filed 06/17/25                  Page 60 of 158
                                                                                                                                                                                671121
                                                                                                               Final K-1           X Amended K-1             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2022                Part III
                                                                                                                           Shareholder's Share of Current Year Income,
                                                                                                                           Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2022, or tax year    1   Ordinary business income (loss)         13    Credits
Internal Revenue Service
                                                                                                                                       (675)
                       beginning        01-01 2022                  ending      12-31-2022                2   Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3   Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4   Interest income
             Part I          Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                      14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                               checked . . . . . . .

                    MARTINI'S                                                                             6   Royalties                               15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7   Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    E-FILE
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9   Net section 1231 gain (loss)            16    Items affecting shareholder basis
             Part II         Information About the Shareholder
                                                                                                                                                     D                            6,000
   E                Shareholder's identifying number                                                     10   Other income (loss)
                    CONFIDENTIAL
                    XXX-XX-XXXX
   F                Shareholder's name, address, city, state, and ZIP code
                    BLAKE WHITSON

                    6274 KIMBROUGH BLVD
                    Biloxi                                               MS     39532

                                                                                                                                                      17    Other information
   G                Current year allocation percentage                             15.00000 %                                                        AC                       138,538
                                                         ......
                                                                                                         11   Section 179 deduction

   H                Shareholder's number of shares
                      Beginning of tax year                                                     15       12   Other deductions
                                          .........
                      End of tax year   ...........                                             15

   I                Loans from shareholder                                                                                                           V*            STMT
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
 For IRS Use Only




                                                                                                         18       More than one activity for at-risk purposes*
                                                                                                         19       More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                   Schedule K-1 (Form 1120-S) 2022
EEA
               Case 1:25-cv-00193-LG-BWR                 Document 1-3                 Filed 06/17/25              Page 61 of 158

                                 Schedule K-1 Distribution Information
                                (This page is not filed with the return. It is for your records only.)              2022
     Shareholder's name                                                                                            Shareholder's ID Number

     BLAKE WHITSON                                                                                                 XXX-XX-XXXX
                                                                                                                   CONFIDENTIAL
     Name of S Corporation                                                                                         S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                                                                      XX-XXXXXXX
                              Total Amount of                Ownership % at                                               Shareholder's Pro Rata
       Date of Distribution      Distribution               Date of Distribution                         Shares            Share of Distribution
          01-11-2022                   10,000                               15.00                    015.00000                     1,500
          08-26-2022                   10,000                               15.00                    015.00000                     1,500
          11-29-2022                   20,000                               15.00                    015.00000                __________
                                                                                                                                   3,000

                      Total                                                                                                   __________
                                                                                                                                   6,000
                                                                                                                              __________




K1_DIST.LD
                               Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 62 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2022
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 BLAKE WHITSON                                                                                                                                      CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                                  (675)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                      32,609
 Unadjusted Basis
 Immediately After
 Acquisition

 Section 199A Dividends




K1_QBIS~.LD
       Case Basis
Shareholder's 1:25-cv-00193-LG-BWR      Document
                    Worksheet Prepared from       1-3 Filed Records
                                            the S Corporation 06/17/25                                                                               Page 63 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                     2022
 Shareholder Number:                               CONFIDENTIAL
                                             TIN: XXX-XX-XXXX                                                          Tax year ending:   12-31-2022    Ownership %:   15.000000
 Shareholder Name:                BLAKE WHITSON
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                             EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1    74,849
 2        Additional Capital Contributions of Stock Purchased                                                                                   2

 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                               4          74,849
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                   5           6,000
 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                  6          68,849
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                             7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                  8          68,849
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a                    675
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n        675
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                               9             675
     10 Less: net increase applied to debt basis                                                                                                                10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                         11          68,174
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                     17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                           18          68,174
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                     675
     21        Less:    Applied this year                                                                  675
     22        End of year (Not less than zero)                                                              0                                                           WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 64 of 158
                                                                                        Allocation of Losses and Deductions                                                             2022
                                                                                                     Keep for your records.

  Shareholder Number:                                                                       TIN:                                       Year Ended:                    Ownership %:

                                                                                              CONFIDENTIAL
                                                                                              XXX-XX-XXXX                                12-31-2022                         15.000000
  Shareholder Name:

        BLAKE WHITSON
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                         XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                  (a)                  (b)                          (c)                  (d)              (e)                 (f)
                                                                             Beginning of          Current Year               Total Losses                %           Allocable          Dissallowed
                                                                                Year               Losses and                      and                               Losses and          Losses and
                                                                             Losses and             Deductions                 Deductions                           Deductions in         Deductions
                                                                              Deductions                                                                            Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business          (Sch K, Line 1)                                             675                     675           100.000000                675
 b Net losses from rental real estate activities   (Sch K, Line 2)

 c Net losses from other rental activities         (Sch K, Line 3c)

 d Net short-term capital losses                   (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                          (Sch K, Line 10a)

 f Net losses under Section 1231                   (Sch K, Line 9)

 g Other losses                                    (Sch K, Line 10e)

 h Charitable contributions                        (Sch K, Line 12a-g)

 i Section 179 expense deduction                   (Sch K, Line 11)

 j Portfolio income expenses                       (Sch K, Line 12l)

 k Other deductions                                (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts            (Sch K, Line 12h)

 m Foreign taxes paid or accrued                   (Sch K, Line 16f)

 n Section 59(e) expenditures                      (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                                      675                     675                                     675
7a Nondeductible expenses & credit adj             (Sch K, Line 16c & 13)

 b Oil and gas depletion                           (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                                      675                     675                                     675
 WK_SBAS~.LD2
               Case 1:25-cv-00193-LG-BWR                            Document 1-3               Filed 06/17/25            Page 65 of 158


                                           Schedule K-1 Supplemental Information                                           2022
     Shareholder's name                                                                                                   Shareholder's ID Number

    BLAKE WHITSON                                                                                                          XXX-XX-XXXX
    Name of S Corporation                                                                                                 S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                              XX-XXXXXXX
                                                        Schedule K-3 Notification
       The corporation has met the following criteria for tax year 2022, presently exempting it from filing Schedule K-3 (Form 1120-S), Shareholder's
       Share of Income, Deductions, Credits, etc. - International:


                   Criteria 1 - Corporation had no or limited foreign activity
                   Criteria 2 - Each of the shareholders was a U.S. citizen, resident alien, or certain domestic trust


       With respect to the corporation meeting criteria 1 and 2, shareholders are hereby notified they will not be receiving a Schedule K-3 from
       the corporation unless the shareholder specifically requests the schedule.


       A request for a Schedule K-3 is time sensitive and should be made as soon as possible.




K3EX STM.LD
                            Case 1:25-cv-00193-LG-BWR                                  Document 1-3                Filed 06/17/25                  Page 66 of 158
                                                                                                                                                                                671121
                                                                                                               Final K-1           X Amended K-1             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2022                Part III
                                                                                                                           Shareholder's Share of Current Year Income,
                                                                                                                           Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2022, or tax year    1   Ordinary business income (loss)         13    Credits
Internal Revenue Service
                                                                                                                                       (675)
                       beginning        01-01 2022                  ending      12-31-2022                2   Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3   Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4   Interest income
             Part I          Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                      14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                               checked . . . . . . .

                    MARTINI'S                                                                             6   Royalties                               15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7   Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    E-FILE
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9   Net section 1231 gain (loss)            16    Items affecting shareholder basis
             Part II         Information About the Shareholder
                                                                                                                                                     D                            6,000
   E                Shareholder's identifying number                                                     10   Other income (loss)

                    CONFIDENTIAL
                    XXX-XX-XXXX
   F                Shareholder's name, address, city, state, and ZIP code
                    JASON WHITE

                    107 ROYAL CRESCENT DR
                    Belle Chasse                                         LA     70037

                                                                                                                                                      17    Other information
   G                Current year allocation percentage                             15.00000 %                                                        AC                       138,538
                                                         ......
                                                                                                         11   Section 179 deduction

   H                Shareholder's number of shares
                      Beginning of tax year                                                     15       12   Other deductions
                                          .........
                      End of tax year   ...........                                             15

   I                Loans from shareholder                                                                                                           V*            STMT
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
 For IRS Use Only




                                                                                                         18       More than one activity for at-risk purposes*
                                                                                                         19       More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                   Schedule K-1 (Form 1120-S) 2022
EEA
               Case 1:25-cv-00193-LG-BWR                 Document 1-3                 Filed 06/17/25              Page 67 of 158

                                 Schedule K-1 Distribution Information
                                (This page is not filed with the return. It is for your records only.)              2022
     Shareholder's name                                                                                            Shareholder's ID Number

     JASON WHITE                                                                                                   CONFIDENTIAL
                                                                                                                   XXX-XX-XXXX
     Name of S Corporation                                                                                         S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                                                                      XX-XXXXXXX
                              Total Amount of                Ownership % at                                               Shareholder's Pro Rata
       Date of Distribution      Distribution               Date of Distribution                         Shares            Share of Distribution
          01-11-2022                   10,000                               15.00                    015.00000                     1,500
          08-26-2022                   10,000                               15.00                    015.00000                     1,500
          11-29-2022                   20,000                               15.00                    015.00000                __________
                                                                                                                                   3,000

                      Total                                                                                                   __________
                                                                                                                                   6,000
                                                                                                                              __________




K1_DIST.LD
                               Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 68 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2022
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 JASON WHITE                                                                                                                                       CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                                  (675)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                      32,609
 Unadjusted Basis
 Immediately After
 Acquisition

 Section 199A Dividends




K1_QBIS~.LD
       Case Basis
Shareholder's 1:25-cv-00193-LG-BWR      Document
                    Worksheet Prepared from       1-3 Filed Records
                                            the S Corporation 06/17/25                                                                               Page 69 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                     2022
 Shareholder Number:                         TIN: CONFIDENTIAL
                                                  XXX-XX-XXXX                                                          Tax year ending:   12-31-2022    Ownership %:   15.000000
 Shareholder Name:                JASON WHITE
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                             EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1    74,976
 2        Additional Capital Contributions of Stock Purchased                                                                                   2

 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                               4          74,976
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                   5           6,000
 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                  6          68,976
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                             7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                  8          68,976
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a                    675
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n        675
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                               9             675
     10 Less: net increase applied to debt basis                                                                                                                10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                         11          68,301
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                     17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                           18          68,301
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                     675
     21        Less:    Applied this year                                                                  675
     22        End of year (Not less than zero)                                                              0                                                           WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 70 of 158
                                                                                        Allocation of Losses and Deductions                                                             2022
                                                                                                     Keep for your records.

  Shareholder Number:                                                                       TIN:                                       Year Ended:                    Ownership %:

                                                                                               CONFIDENTIAL
                                                                                               XXX-XX-XXXX                               12-31-2022                         15.000000
  Shareholder Name:

        JASON WHITE
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                         XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                  (a)                  (b)                          (c)                  (d)              (e)                 (f)
                                                                             Beginning of          Current Year               Total Losses                %           Allocable          Dissallowed
                                                                                Year               Losses and                      and                               Losses and          Losses and
                                                                             Losses and             Deductions                 Deductions                           Deductions in         Deductions
                                                                              Deductions                                                                            Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business          (Sch K, Line 1)                                             675                     675           100.000000                675
 b Net losses from rental real estate activities   (Sch K, Line 2)

 c Net losses from other rental activities         (Sch K, Line 3c)

 d Net short-term capital losses                   (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                          (Sch K, Line 10a)

 f Net losses under Section 1231                   (Sch K, Line 9)

 g Other losses                                    (Sch K, Line 10e)

 h Charitable contributions                        (Sch K, Line 12a-g)

 i Section 179 expense deduction                   (Sch K, Line 11)

 j Portfolio income expenses                       (Sch K, Line 12l)

 k Other deductions                                (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts            (Sch K, Line 12h)

 m Foreign taxes paid or accrued                   (Sch K, Line 16f)

 n Section 59(e) expenditures                      (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                                      675                     675                                     675
7a Nondeductible expenses & credit adj             (Sch K, Line 16c & 13)

 b Oil and gas depletion                           (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                                      675                     675                                     675
 WK_SBAS~.LD2
               Case 1:25-cv-00193-LG-BWR                            Document 1-3               Filed 06/17/25            Page 71 of 158


                                           Schedule K-1 Supplemental Information                                           2022
     Shareholder's name                                                                                                   Shareholder's ID Number

    JASON WHITE                                                                                                            CONFIDENTIAL
                                                                                                                           XXX-XX-XXXX
    Name of S Corporation                                                                                                 S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                              XX-XXXXXXX
                                                        Schedule K-3 Notification
       The corporation has met the following criteria for tax year 2022, presently exempting it from filing Schedule K-3 (Form 1120-S), Shareholder's
       Share of Income, Deductions, Credits, etc. - International:


                   Criteria 1 - Corporation had no or limited foreign activity
                   Criteria 2 - Each of the shareholders was a U.S. citizen, resident alien, or certain domestic trust


       With respect to the corporation meeting criteria 1 and 2, shareholders are hereby notified they will not be receiving a Schedule K-3 from
       the corporation unless the shareholder specifically requests the schedule.


       A request for a Schedule K-3 is time sensitive and should be made as soon as possible.




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                            Case 1:25-cv-00193-LG-BWR                                  Document 1-3                Filed 06/17/25                  Page 72 of 158
                                                                                                                                                                                671121
                                                                                                               Final K-1           X Amended K-1             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2022                Part III
                                                                                                                           Shareholder's Share of Current Year Income,
                                                                                                                           Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2022, or tax year    1   Ordinary business income (loss)         13    Credits
Internal Revenue Service
                                                                                                                                       (675)
                       beginning        01-01 2022                  ending      12-31-2022                2   Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3   Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4   Interest income
             Part I          Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                      14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                               checked . . . . . . .

                    MARTINI'S                                                                             6   Royalties                               15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7   Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    E-FILE
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9   Net section 1231 gain (loss)            16    Items affecting shareholder basis
             Part II         Information About the Shareholder
                                                                                                                                                     D                            6,000
   E                Shareholder's identifying number                                                     10   Other income (loss)
                    CONFIDENTIAL
                    XXX-XX-XXXX
   F                Shareholder's name, address, city, state, and ZIP code
                    OSCAR BREWER JR

                    13234 CARIAGE CIRCLE
                    Gulfport                                             MS     39503

                                                                                                                                                      17    Other information
   G                Current year allocation percentage                             15.00000 %                                                        AC                       138,538
                                                         ......
                                                                                                         11   Section 179 deduction

   H                Shareholder's number of shares
                      Beginning of tax year                                                     15       12   Other deductions
                                          .........
                      End of tax year   ...........                                             15

   I                Loans from shareholder                                                                                                           V*            STMT
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
 For IRS Use Only




                                                                                                         18       More than one activity for at-risk purposes*
                                                                                                         19       More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                   Schedule K-1 (Form 1120-S) 2022
EEA
               Case 1:25-cv-00193-LG-BWR                 Document 1-3                 Filed 06/17/25              Page 73 of 158

                                 Schedule K-1 Distribution Information
                                (This page is not filed with the return. It is for your records only.)              2022
     Shareholder's name                                                                                            Shareholder's ID Number

     OSCAR BREWER JR                                                                                                CONFIDENTIAL
                                                                                                                    XXX-XX-XXXX
     Name of S Corporation                                                                                         S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                                                                      XX-XXXXXXX
                              Total Amount of                Ownership % at                                               Shareholder's Pro Rata
       Date of Distribution      Distribution               Date of Distribution                         Shares            Share of Distribution
          01-11-2022                   10,000                               15.00                    015.00000                     1,500
          08-26-2022                   10,000                               15.00                    015.00000                     1,500
          11-29-2022                   20,000                               15.00                    015.00000                __________
                                                                                                                                   3,000

                      Total                                                                                                   __________
                                                                                                                                   6,000
                                                                                                                              __________




K1_DIST.LD
                               Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 74 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2022
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 OSCAR BREWER JR                                                                                                                                   CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                                  (675)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                      32,609
 Unadjusted Basis
 Immediately After
 Acquisition

 Section 199A Dividends




K1_QBIS~.LD
       Case Basis
Shareholder's 1:25-cv-00193-LG-BWR      Document
                    Worksheet Prepared from       1-3 Filed Records
                                            the S Corporation 06/17/25                                                                               Page 75 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                     2022
 Shareholder Number:                                                CONFIDENTIAL
                                                               TIN: XXX-XX-XXXX                                        Tax year ending:   12-31-2022    Ownership %:   15.000000
 Shareholder Name:                OSCAR BREWER JR
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                             EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1    74,976
 2        Additional Capital Contributions of Stock Purchased                                                                                   2

 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                               4          74,976
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                   5           6,000
 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                  6          68,976
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                             7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                  8          68,976
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a                    675
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n        675
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                               9             675
     10 Less: net increase applied to debt basis                                                                                                                10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                         11          68,301
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                     17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                           18          68,301
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                     675
     21        Less:    Applied this year                                                                  675
     22        End of year (Not less than zero)                                                              0                                                           WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 76 of 158
                                                                                        Allocation of Losses and Deductions                                                             2022
                                                                                                     Keep for your records.

  Shareholder Number:                                                                       TIN:                                       Year Ended:                    Ownership %:
                                                                                             CONFIDENTIAL
                                                                                              XXX-XX-XXXX                                12-31-2022                         15.000000
  Shareholder Name:

        OSCAR BREWER JR
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                         XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                  (a)                  (b)                          (c)                  (d)              (e)                 (f)
                                                                             Beginning of          Current Year               Total Losses                %           Allocable          Dissallowed
                                                                                Year               Losses and                      and                               Losses and          Losses and
                                                                             Losses and             Deductions                 Deductions                           Deductions in         Deductions
                                                                              Deductions                                                                            Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business          (Sch K, Line 1)                                             675                     675           100.000000                675
 b Net losses from rental real estate activities   (Sch K, Line 2)

 c Net losses from other rental activities         (Sch K, Line 3c)

 d Net short-term capital losses                   (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                          (Sch K, Line 10a)

 f Net losses under Section 1231                   (Sch K, Line 9)

 g Other losses                                    (Sch K, Line 10e)

 h Charitable contributions                        (Sch K, Line 12a-g)

 i Section 179 expense deduction                   (Sch K, Line 11)

 j Portfolio income expenses                       (Sch K, Line 12l)

 k Other deductions                                (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts            (Sch K, Line 12h)

 m Foreign taxes paid or accrued                   (Sch K, Line 16f)

 n Section 59(e) expenditures                      (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                                      675                     675                                     675
7a Nondeductible expenses & credit adj             (Sch K, Line 16c & 13)

 b Oil and gas depletion                           (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                                      675                     675                                     675
 WK_SBAS~.LD2
               Case 1:25-cv-00193-LG-BWR                            Document 1-3               Filed 06/17/25            Page 77 of 158


                                           Schedule K-1 Supplemental Information                                           2022
     Shareholder's name                                                                                                   Shareholder's ID Number

    OSCAR BREWER JR                                                                                                       CONFIDENTIAL
                                                                                                                           XXX-XX-XXXX
    Name of S Corporation                                                                                                 S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                              XX-XXXXXXX
                                                        Schedule K-3 Notification
       The corporation has met the following criteria for tax year 2022, presently exempting it from filing Schedule K-3 (Form 1120-S), Shareholder's
       Share of Income, Deductions, Credits, etc. - International:


                   Criteria 1 - Corporation had no or limited foreign activity
                   Criteria 2 - Each of the shareholders was a U.S. citizen, resident alien, or certain domestic trust


       With respect to the corporation meeting criteria 1 and 2, shareholders are hereby notified they will not be receiving a Schedule K-3 from
       the corporation unless the shareholder specifically requests the schedule.


       A request for a Schedule K-3 is time sensitive and should be made as soon as possible.




K3EX STM.LD
                                           Case 1:25-cv-00193-LG-BWR    Document
                                                          U.S. Income Tax Return 1-3
                                                                                 for anFiled 06/17/25 Page 78 of 158
                                                                                        S Corporation                                                                                                                   OMB No. 1545-0123
Form                                    1120-S
                                                                                                 Do not file this form unless the corporation has filed or
Department of the INCLUDES
                  Treasury
Internal Revenue Service
                                                                                    is attaching
                                                                         LATE ELECTION(S)        FormPURSUANT
                                                                                             FILED   2553 to electTO
                                       Go to www.irs.gov/Form1120S for instructions and the latest information.
                                                                                                                   to be an S corporation.
                                                                                                                       REV.   PROC. 2013-30                                                                              2023
For calendar year 2023 or tax year beginning                   01-01 , 2023, ending                             12-31 , 20 23
A S election effective date              Name                                                                    D Employer identification number
                                                                                       JMD COASTAL ENTERTAINMENT
09-23-2020                                                               TYPE          MARTINI'S                                                                                                   XX-XXXXXXX
B Business activity code                                                               Number, street, and room or suite no. If a P.O. box, see instructions.                                      E Date incorporated
                                                                         OR
                                     number (see instructions)
                                                                         PRINT         PO BOX 8702                                                                                                 09-15-2020
722511                                       City or town, state or province, country, and ZIP or foreign postal code                   F Total assets (see instructions)
C Check if Sch. M-3 attached                 Gulfport                                                   MS       39506                  $                          6,700
G Is the corporation electing to be an S corporation beginning with this tax year? See instructions.                       Yes X No
H Check if: (1)          Final return (2)     Name change           (3) X Address change (4) X Amended return                  (5)     S election termination
I  Enter the number of shareholders who were shareholders during any part of the tax year . . . . . . . . . . . . . . . . . .                                         5
J Check if corporation: (1)           Aggregated activities for section 465 at-risk purposes (2)             Grouped activities for section 469 passive activity purposes
Caution: Include only trade or business income and expenses on lines 1a through 22. See the instructions for more information.
      1 a Gross receipts or sales                     691,864 b Less Returns and allowances                                   c Balance       1c               691,864
      2       Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       2
Income




                                                                                                                                                               184,100
      3       Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3              507,764
      4       Net gain (loss) from Form 4797, line 17 (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . .                      4
      5      Other income (loss) (see instructions - attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . .                      5
      6       Total income (loss). Add lines 3 through 5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        6              507,764
      7       Compensation of officers (see instructions - attach Form 1125-E) . . . . . . . . . . . . . . . . . . . . . .                      7
      8       Salaries and wages (less employment credits) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        8
(see instructions for limitations)




      9       Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         9                  9,846
     10       Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       10
     11       Rents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       11                 67,825
     12       Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               Wks... .......
                                                                                                                        Tax/Lic               12                 53,609
     13       Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   13
     14       Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) . . . .                        14
                                        15       Depletion (Do not deduct oil and gas depletion.). . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   15
                                        16       Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   16                  17,526
                                        17       Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              17
                                        18       Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     18
Deductions




                                        19       Energy efficient commercial buildings deduction (attach Form 7205) . . . . . . . . . . . . . . . . . . . .                                                  19
                                        20       Other deductions (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . .      . . . . . . .#2
                                                                                                                                          Statement       ...                                                20                 375,479
                                        21       Total deductions. Add lines 7 through 20 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    21                 524,285
                                        22       Ordinary business income (loss). Subtract line 21 from line 6. . . . . . . . . . . . . . . . . . . . . . .                                                  22                 (16,521)
                                        23 a     Excess net passive income or LIFO recapture tax (see instructions) . . . . . . .      23a
                                           b     Tax from Schedule D (Form 1120-S) . . . . . . . . . . . . . . . . . . . . . .         23b
                                           c     Add lines 23a and 23b (see instructions for additional taxes) . . . . . . . . . . . . . . . . . . . . . . . .                                              23c
                                        24 a     Current year’s estimated tax payments and preceding year’s overpayment
                                                 credited to the current year     . . . . . . . . . . . . . . . . . . . . . . . . . 24a
Tax and Payments




                                             b   Tax deposited with Form 7004 . . . . . . . . . . . . . . . . . . . . . . . .          24b
                                             c   Credit for federal tax paid on fuels (attach Form 4136) . . . . . . . . . . . . .     24c
                                             d   Elective payment election amount from Form 3800 . . . . . . . . . . . . . .           24d
                                             z   Add lines 24a through 24d . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                24z
                                        25       Estimated tax penalty (see instructions). Check if Form 2220 is attached . . . . . . . . . . . . . . . .                                                    25
                                        26       Amount owed. If line 24z is smaller than the total of lines 23c and 25, enter amount owed...........                                                        26
                                        27                                                                                                  ..........
                                                 Overpayment. If line 24z is larger than the total of lines 23c and 25, enter amount overpaid                                                                27
                                        28       Enter amount from line 27: Credited to 2024 estimated tax                                        Refunded .                                                 28
                                                 Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of           May the IRS discuss this return
                                                 my knowledge and belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which
                                                                                                                                                                                                       with the preparer shown below?
Sign                                             preparer has any knowledge.
                                                                                                                                                                                                       See instructions.         Yes     X No
Here
                                                     Don L Mangen III                                                                              05-19-2025                    General Partner
                                                 Signature of officer                                                                                Date                       Title

                                                     Print/Type preparer's name                                Preparer's signature                                      Date                     Check      X     if    PTIN

Paid                                                 DON MANGEN                             DON MANGEN                                                                   05-19-2025               self-employed CONFIDENTIAL
                                                                                                                                                                                                                 P01647980
Preparer                                             Firm's name           FLASH FINANCIAL SERVICES                                                                                       Firm's EIN          XX-XXXXXXX
                                                                                                                                                                                                            CONFIDENTIAL
Use Only                                             Firm's address        7561 WEST JUDGE PEREZ                                                                                          Phone no.

                                                                           Arabi LA 70032                                                                                                                      (504)279-5700
For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                           Form 1120-S (2023)
EEA
             Case 1:25-cv-00193-LG-BWR                               Document 1-3                Filed 06/17/25              Page 79 of 158
Form 1120-S (2023)      JMD COASTAL ENTERTAINMENT                                                                            XX-XXXXXXX                              Page 2
 Schedule B          Other Information (see instructions)
   1    Check accounting method:          a X Cash          b      Accrual                                                                                     Yes          No
                                          c      Other (specify)
   2   See the instructions and enter the:
       a Business activity RESTAURANT                                     b Product or service       FOOD SERVICE
   3   At any time during the tax year, was any shareholder of the corporation a disregarded entity, a trust, an estate, or a
       nominee or similar person? If "Yes," attach Schedule B-1, Information on Certain Shareholders of an S Corporation. . . . . . . . .                                  X
   4   At the end of the tax year, did the corporation:
     a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total stock issued and outstanding of any
       foreign or domestic corporation? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v)
       below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       X
            (i) Name of Corporation               (ii)   Employer           (iii) Country of          (iv) Percentage of     (v) If Percentage in (iv) is 100%, Enter the
                                                    Identification           Incorporation               Stock Owned         Date (if applicable) a Qualified Subchapter
                                                  Number (if any)                                                               S Subsidiary Election Was Made




   b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or
     capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest of a
     trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below . . . . . . . . . . . . . . . . .                              X
              (i) Name of Entity                  (ii)   Employer         (iii) Type of Entity             (iv) Country of            (v) Maximum Percentage Owned
                                                    Identification                                          Organization                   in Profit, Loss, or Capital
                                                  Number (if any)




   5 a At the end of the tax year, did the corporation have any outstanding shares of restricted stock? . . . . . . . . . . . . . . . . . .
       If "Yes," complete lines (i) and (ii) below.
       (i) Total shares of restricted stock . . . . . . . . . . . . . . . . . . .
       (ii) Total shares of non-restricted stock . . . . . . . . . . . . . . . . .
     b At the end of the tax year, did the corporation have any outstanding stock options, warrants, or similar instruments? . . . . . . . .            X
       If "Yes," complete lines (i) and (ii) below.
       (i) Total shares of stock outstanding at the end of the tax year . . . . . . .
       (ii) Total shares of stock outstanding if all instruments were executed . . .
   6   Has this corporation filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
       information on any reportable transaction? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 X
   7   Check this box if the corporation issued publicly offered debt instruments with original issue discount. . . . . . . . . . . . . .
       If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount
       Instruments.
   8   If the corporation (a) was a C corporation before it elected to be an S corporation or the corporation acquired an asset with a
       basis determined by reference to the basis of the asset (or the basis of any other property) in the hands of a C corporation, and
       (b) has net unrealized built-in gain in excess of the net recognized built-in gain from prior years, enter the net unrealized built-in
       gain reduced by net recognized built-in gain from prior years. See instructions . . . . . . . . . .         $
   9   Did the corporation have an election under section 163(j) for any real property trade or business or any farming business
       in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                X
  10   Does the corporation satisfy one or more of the following? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . .
     a The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
     b The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
       preceding the current tax year are more than $29 million and the corporation has business interest expense.
     c The corporation is a tax shelter and the corporation has business interest expense.
       If "Yes," complete and attach Form 8990, Limitation on Business Interest Expense Under Section 163(j).
  11   Does the corporation satisfy both of the following conditions?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                X
     a The corporation's total receipts (see instructions) for the tax year were less than $250,000.
     b The corporation's total assets at the end of the tax year were less than $250,000.
       If "Yes," the corporation is not required to complete Schedules L and M-1.
EEA                                                                                                                                        Form 1120-S (2023)
                       Case 1:25-cv-00193-LG-BWR                        Document 1-3              Filed 06/17/25            Page 80 of 158
Form 1120S (2023)                JMD COASTAL ENTERTAINMENT                                                                   XX-XXXXXXX               Page 3
Schedule B                     Other Information (see instructions) (continued)                                                                    Yes   No
12   During the tax year, did the corporation have any non-shareholder debt that was canceled, was forgiven, or had the
     terms modified so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 X
     If "Yes," enter the amount of principal reduction . . . . . . . . . . . . . . . . . . . . . . . . . $
13   During the tax year, was a qualified subchapter S subsidiary election terminated or revoked? If "Yes," see instructions . . . . . . .            X
14 a Did the corporation make any payments in 2023 that would require it to file Form(s) 1099? . . . . . . . . . . . . . . . . . . . .            X
   b If "Yes," did or will the corporation file required Form(s) 1099?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         X
15   Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund?. . . . . . . . . . . . . . . . . . . . . . . .                X
     If "Yes," enter the amount from Form 8996, line 15 . . . . . . . . . . . . . . . . . . . . . . . . $
16   At any time during the tax year, did the corporation: (a) receive (as a reward, award, or payment for property or services);
     or (b) sell, exchange, or otherwise dispose of a digital asset (or a financial interest in a digital asset)? See instructions . . . . . .         X
Schedule K Shareholders' Pro Rata Share Items                                                                                            Total amount
           1     Ordinary business income (loss) (page 1, line 22) . . . . . . . . . . . . . . . . . . . . . . . . . .              1           (16,521)
           2     Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . . . . . . . . . . . . .              2
           3a Other gross rental income (loss) . . . . . . . . . . . . . . . . . . . .                 3a
             b Expenses from other rental activities (attach statement) . . . . . . . . .              3b
             c Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . . . . . . . . . . . . . .              3c
     Income (Loss)




           4     Interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                4
           5     Dividends: a Ordinary dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               5a
                              b Qualified dividends . . . . . . . . . . . . . . . . . . . .            5b
           6     Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                6
           7     Net short-term capital gain (loss) (attach Schedule D (Form 1120-S)) . . . . . . . . . . . . . . . . .             7
           8a Net long-term capital gain (loss) (attach Schedule D (Form 1120-S)). . . . . . . . . . . . . . . . . .               8a
             b Collectibles (28%) gain (loss) . . . . . . . . . . . . . . . . . . . . . .              8b
             c Unrecaptured section 1250 gain (attach statement) . . . . . . . . . . .                 8c
           9     Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . .              9
          10     Other income (loss) (see instructions) . . . . . . . Type:                                                        10
          11     Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               11
     Deductions




          12a Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 12a
             b Investment interest expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 12b
             c Section 59(e)(2) expenditures . . . . . . . . . . Type:                                                             12c
             d Other deductions (see instructions) . . . . . . . . Type:                                                           12d
          13a Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               13a
             b Low-income housing credit (other) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 13b
             c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable). . . . . . . . .       13c
     Credits




             d Other rental real estate credits (see instructions) . . Type:                                                       13d
             e Other rental credits (see instructions) . . . . . . . Type:                                                         13e
             f Biofuel producer credit (attach Form 6478) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                13f
             g Other credits (see instructions) . . . . . . . . . . Type:                                                          13g
                              Qualified for exception to filing Schedule K-2
  national
   Inter-




                       14    Attach Schedule K-2 (Form 1120-S), Shareholders' Pro Rata Share Items - International, and
                             check this box to indicate you are reporting items of international tax relevance . . . . . . . . . .
                       15a   Post-1986 depreciation adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      15a
Minimum Tax




                         b   Adjusted gain or loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    15b
(AMT) Items
 Alternative




                         c   Depletion (other than oil and gas) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   15c
                         d   Oil, gas, and geothermal properties - gross income . . . . . . . . . . . . . . . . . . . . . . . . .     15d
                         e   Oil, gas, and geothermal properties - deductions . . . . . . . . . . . . . . . . . . . . . . . . . .     15e
                         f   Other AMT items (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     15f
                       16a   Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       16a
   Shareholder Basis
    Items Affecting




                         b   Other tax-exempt income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      16b
                         c   Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       16c
                         d   Distributions (attach statement if required) (see instructions)   ....................                   16d           5,000
                         e   Repayment of loans from shareholders . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       16e
                         f   Foreign taxes paid or accrued . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      16f
EEA                                                                                                                                         Form 1120-S (2023)
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Form 1120-S (2023) JMD COASTAL ENTERTAINMENT                                                                         XX-XXXXXXX                      Page 4
Schedule K                Shareholders' Pro Rata Share Items (continued)                                                              Total amount
                17a   Investment income       ........................................                                          17a
  Information

                                                .......................................
     Other



                  b   Investment expenses                                                                                       17b
                  c   Dividend distributions paid from accumulated earnings and profits . . . . . . . . . . . . . . . . . . .   17c
                  d   Other items and amounts (attach statement)                                    Statement #18
  ciliation
  Recon-




                18
                Income (loss) reconciliation. Combine the total amounts on lines 1 through 10. From the result,
                subtract the sum of the amounts on lines 11 through 12d and 16f     ..................                  18           (16,521)
 Schedule L          Balance Sheets per Books                           Beginning of tax year                     End of tax year
                                Assets                                  (a)                   (b)               (c)                   (d)
  1   Cash . . . . . . . . . . . . . . . . . . . . . .
  2a Trade notes and accounts receivable . . . . . . .
    b Less allowance for bad debts . . . . . . . . . . . (                         )                     (                  )
  3   Inventories . . . . . . . . . . . . . . . . . . .                                          8,725                                   6,700
  4   U.S. government obligations . . . . . . . . . . .
  5   Tax-exempt securities (see instructions) . . . . . .
  6   Other current assets (attach statement) . . . . . .
  7   Loans to shareholders . . . . . . . . . . . . . .
  8   Mortgage and real estate loans . . . . . . . . . .
  9   Other investments (attach statement) . . . . . . .
 10a Buildings and other depreciable assets . . . . . .
    b Less accumulated depreciation . . . . . . . . . . (                          )                     (                  )
 11a Depletable assets . . . . . . . . . . . . . . . .
    b Less accumulated depletion . . . . . . . . . . . (                           )                     (                  )
 12   Land (net of any amortization) . . . . . . . . . .
 13a Intangible assets (amortizable only) . . . . . . .
    b Less accumulated amortization . . . . . . . . . (                            )                     (                  )
 14   Other assets (attach statement) . . . . . . . . .
 15   Total assets . . . . . . . . . . . . . . . . . . .                                         8,725                                   6,700
           Liabilities and Shareholders' Equity
 16   Accounts payable . . . . . . . . . . . . . . . .
 17   Mortgages, notes, bonds payable in less than 1 year . . .
 18   Other current liabilities (attach statement) . . . . .
 19   Loans from shareholders         ............
 20   Mortgages, notes, bonds payable in 1 year or more . . .
 21   Other liabilities (attach statement) . . . . . . . .
 22   Capital stock . . . . . . . . . . . . . . . . . .
 23   Additional paid-in capital . . . . . . . . . . . . .
 24   Retained earnings . . . . . . . . . . . . . . . .                                          8,725                                   6,700
 25   Adjustments to shareholders' equity (attach statement) . .
 26   Less cost of treasury stock . . . . . . . . . . . .                            (                 )                      (                 )
 27   Total liabilities and shareholders' equity . . . . . .                                     8,725                                   6,700
EEA                                                                                                                             Form 1120-S (2023)
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Form 1120-S (2023)        JMD COASTAL ENTERTAINMENT                                                                          XX-XXXXXXX                          Page 5
Schedule M-1                Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                         Note: The corporation may be required to file Schedule M-3. See instructions.
1     Net income (loss) per books . . . . . . . . .          (16,521) 5 Income recorded on books this year not included
2     Income included on Schedule K, lines 1, 2, 3c, 4,                              on Schedule K, lines 1 through 10 (itemize):
      5a, 6, 7, 8a, 9, and 10, not recorded on books this                          a Tax-exempt interest $
      year (itemize):


3  Expenses recorded on books this year not                                       6 Deductions included on Schedule K,
   included on Schedule K, lines 1 through 12,                                       lines 1 through 12, and 16f, not charged
   and 16f (itemize):                                                                against book income this year (itemize):
 a Depreciation $                                                                  a Depreciation $
 b Travel and entertainment $


                                                                                  7 Add lines 5 and 6         .............
4     Add lines 1 through 3     ............             (16,521) 8 Income (loss) (Schedule K, line 18). Subtract line 7 from line 4                       (16,521)
Schedule M-2                Analysis of Accumulated Adjustments Account, Shareholders' Undistributed Taxable Income
                            Previously Taxed, Accumulated Earnings and Profits, and Other Adjustments Account
                            (see instructions)
                                                                     (a) Accumulated            (b) Shareholders'        (c) Accumulated           (d) Other adjustments
                                                                    adjustments account         undistributed taxable   earnings and profits               account
                                                                                              income previously taxed

1     Balance at beginning of tax year . . . . . . . . . . .              (393,185)
2     Ordinary income from page 1, line 22 . . . . . . . . .
3     Other additions . . . . . . . . . . . . . . . . . . .
4     Loss from page 1, line 22 . . . . . . . . . . . . . .     (             16,521 )
5     Other reductions    ..................                    (                         )                                                    (                           )
6     Combine lines 1 through 5 . . . . . . . . . . . . . .               (409,706)
7     Distributions . . . . . . . . . . . . . . . . . . . . .
8     Balance at end of tax year. Subtract line 7 from
      line 6 . . . . . . . . . . . . . . . . . . . . . . . .              (409,706)
EEA                                                                                                                                                 Form 1120-S (2023)
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Form      1125-A                                         Cost of Goods Sold
(Rev. November 2018)                                                                                                         OMB No. 1545-0123
                                                Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury
Internal Revenue Service                       Go to www.irs.gov/Form1125A for the latest information.
Name                                                                                                               Employer identification number

JMD COASTAL ENTERTAINMENT                                                                                           XX-XXXXXXX
 1     Inventory at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             1               8,725
 2     Purchases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                2             169,814
 3     Cost of labor . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              3              12,261
 4     Additional section 263A costs (attach schedule)       ...........................                                  4
 5     Other costs (attach schedule) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              5
 6     Total. Add lines 1 through 5       ....................................                                            6             190,800
 7     Inventory at end of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             7               6,700
 8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
       appropriate line of your tax return. See instructions     .........................                                8             184,100
 9a    Check all methods used for valuing closing inventory:
         (i) X Cost
        (ii)    Lower of cost or market
       (iii)    Other (Specify method used and attach explanation.)
  b    Check if there was a writedown of subnormal goods . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  c    Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)          .............
  d    If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
       under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9d
  e    If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions  ......   Yes    X No
  f    Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If "Yes,"
       attach explanation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     Yes    X No




For Paperwork Reduction Act Notice, see instructions                                                                Form 1125-A (Rev. 11-2018)
EEA
                            Case 1:25-cv-00193-LG-BWR                                  Document 1-3                Filed 06/17/25                  Page 84 of 158
                                                                                                                                                                                671121
                                                                                                               Final K-1           X Amended K-1             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2023                Part III
                                                                                                                           Shareholder's Share of Current Year Income,
                                                                                                                           Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2023, or tax year    1   Ordinary business income (loss)         13    Credits
Internal Revenue Service
                                                                                                                                    (6,609)
                       beginning        01-01 2023                  ending      12-31-2023                2   Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3   Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4   Interest income
             Part I          Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                      14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                               checked . . . . . . .

                    MARTINI'S                                                                             6   Royalties                               15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7   Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    E-FILE
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9   Net section 1231 gain (loss)            16    Items affecting shareholder basis
             Part II         Information About the Shareholder
                                                                                                                                                     D                            2,000
   E                Shareholder's identifying number                                                     10   Other income (loss)
                    CONFIDENTIAL
                     XXX-XX-XXXX
   F                Shareholder's name, address, city, state, and ZIP code
                    STEVEN M STAFFORD

                    2200 DAUPHIN STREET
                    Mobile                                               AL     36606

                                                                                                                                                      17    Other information
   G                Current year allocation percentage                             40.00000 %                                                        AC                       276,744
                                                         ......
                                                                                                         11   Section 179 deduction

   H                Shareholder's number of shares
                      Beginning of tax year                                                     40       12   Other deductions
                                          .........
                      End of tax year   ...........                                             40

   I                Loans from shareholder                                                                                                           V*            STMT
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
 For IRS Use Only




                                                                                                         18       More than one activity for at-risk purposes*
                                                                                                         19       More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                   Schedule K-1 (Form 1120-S) 2023
EEA
               Case 1:25-cv-00193-LG-BWR   Document 1-3   Filed 06/17/25   Page 85 of 158


                             Schedule K-1 Supplemental Information           2023
     Shareholder's name                                                     Shareholder's ID Number

     STEVEN M STAFFORD                                                       XXX-XX-XXXX
                                                                             CONFIDENTIAL
     Name of S Corporation                                                  S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                               XX-XXXXXXX


                                Form 1120S Schedule K-1 Codes

     Line 16, Code D  - Distributions
                          [See K-1 instructions, page 15 (Form 7203
                          instructions)]
     Line 17, Code AC - Gross receipts for section 448(c)
                          [See K-1 instructions, page 17 (Form 8990)]
     Line 17, Code V - Section 199A information
                          [Form 8995 or Form 8995-A]




1120SK_1.LD2
               Case 1:25-cv-00193-LG-BWR                 Document 1-3                 Filed 06/17/25              Page 86 of 158

                                 Schedule K-1 Distribution Information
                                (This page is not filed with the return. It is for your records only.)              2023
     Shareholder's name                                                                                            Shareholder's ID Number

     STEVEN M STAFFORD                                                                                              CONFIDENTIAL
                                                                                                                    XXX-XX-XXXX
     Name of S Corporation                                                                                         S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                                                                      XX-XXXXXXX
                              Total Amount of                Ownership % at                                               Shareholder's Pro Rata
       Date of Distribution      Distribution               Date of Distribution                         Shares            Share of Distribution
          01-15-2023                      5,000                             40.00                    040.00000                __________
                                                                                                                                   2,000

                      Total                                                                                                   __________
                                                                                                                                   2,000
                                                                                                                              __________




K1_DIST.LD
                               Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 87 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2023
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 STEVEN M STAFFORD                                                                                                                                 XXX-XX-XXXX
                                                                                                                                                   CONFIDENTIAL
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                                (6,609)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                       4,905
 Unadjusted Basis
 Immediately After
 Acquisition
 Section 199A
 (REIT) Dividends




K1_QBIS~.LD
       Case Basis
Shareholder's 1:25-cv-00193-LG-BWR      Document
                    Worksheet Prepared from       1-3 Filed Records
                                            the S Corporation 06/17/25                                                                                Page 88 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                      2023
 Shareholder Number:                         TIN: CONFIDENTIAL
                                                  XXX-XX-XXXX                                                          Tax year ending:   12-31-2023     Ownership %:   40.000000
 Shareholder Name:                STEVEN M STAFFORD
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                              EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1    181,759
 2        Additional Capital Contributions of Stock Purchased                                                                                   2     16,000
 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                                4      197,759
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                    5        2,000
 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                   6      195,759
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                              7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                   8      195,759
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a               6,609
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n       6,609
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                                9          6,609
     10 Less: net increase applied to debt basis                                                                                                                 10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                          11      189,150
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                      17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                            18      189,150
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                 6,609
     21        Less:    Applied this year                                                              6,609
     22        End of year (Not less than zero)                                                            0                                                              WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 89 of 158
                                                                                        Allocation of Losses and Deductions                                                             2023
                                                                                                     Keep for your records.

  Shareholder Number:                                                                       TIN:                                       Year Ended:                    Ownership %:

                                                                                              XXX-XX-XXXX
                                                                                              CONFIDENTIAL                               12-31-2023                         40.000000
  Shareholder Name:

        STEVEN M STAFFORD
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                         XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                  (a)                  (b)                          (c)                  (d)              (e)                 (f)
                                                                             Beginning of          Current Year               Total Losses                %           Allocable          Dissallowed
                                                                                Year               Losses and                      and                               Losses and          Losses and
                                                                             Losses and             Deductions                 Deductions                           Deductions in         Deductions
                                                                              Deductions                                                                            Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business          (Sch K, Line 1)                                       6,609                      6,609            100.000000             6,609
 b Net losses from rental real estate activities   (Sch K, Line 2)

 c Net losses from other rental activities         (Sch K, Line 3c)

 d Net short-term capital losses                   (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                          (Sch K, Line 10a)

 f Net losses under Section 1231                   (Sch K, Line 9)

 g Other losses                                    (Sch K, Line 10e)

 h Charitable contributions                        (Sch K, Line 12a-g)

 i Section 179 expense deduction                   (Sch K, Line 11)

 j Portfolio income expenses                       (Sch K, Line 12l)

 k Other deductions                                (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts            (Sch K, Line 12h)

 m Foreign taxes paid or accrued                   (Sch K, Line 16f)

 n Section 59(e) expenditures                      (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                                6,609                      6,609                                   6,609
7a Nondeductible expenses & credit adj             (Sch K, Line 16c & 13)

 b Oil and gas depletion                           (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                                6,609                      6,609                                   6,609
 WK_SBAS~.LD2
               Case 1:25-cv-00193-LG-BWR                            Document 1-3               Filed 06/17/25            Page 90 of 158


                                           Schedule K-1 Supplemental Information                                           2023
     Shareholder's name                                                                                                   Shareholder's ID Number

    STEVEN M STAFFORD                                                                                                      CONFIDENTIAL
                                                                                                                           XXX-XX-XXXX
    Name of S Corporation                                                                                                 S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                              XX-XXXXXXX
                                                        Schedule K-3 Notification
       The corporation has met the following criteria for tax year 2023, presently exempting it from filing Schedule K-3 (Form 1120-S), Shareholder's
       Share of Income, Deductions, Credits, etc. - International:


                   Criteria 1 - Corporation had no or limited foreign activity
                   Criteria 2 - Each of the shareholders was a U.S. citizen, resident alien, or certain domestic trust


       With respect to the corporation meeting criteria 1 and 2, shareholders are hereby notified they will not be receiving a Schedule K-3 from
       the corporation unless the shareholder specifically requests the schedule.


       A request for a Schedule K-3 is time sensitive and should be made as soon as possible.




K3EX STM.LD
                            Case 1:25-cv-00193-LG-BWR                                  Document 1-3                Filed 06/17/25                  Page 91 of 158
                                                                                                                                                                                671121
                                                                                                               Final K-1           X Amended K-1             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2023                Part III
                                                                                                                           Shareholder's Share of Current Year Income,
                                                                                                                           Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2023, or tax year    1   Ordinary business income (loss)         13    Credits
Internal Revenue Service
                                                                                                                                    (2,478)
                       beginning        01-01 2023                  ending      12-31-2023                2   Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3   Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4   Interest income
             Part I          Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                      14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                               checked . . . . . . .

                    MARTINI'S                                                                             6   Royalties                               15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7   Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    E-FILE
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9   Net section 1231 gain (loss)            16    Items affecting shareholder basis
             Part II         Information About the Shareholder
                                                                                                                                                     D                                750
   E                Shareholder's identifying number                                                     10   Other income (loss)

                    CONFIDENTIAL
                    XXX-XX-XXXX
   F                Shareholder's name, address, city, state, and ZIP code
                    DON MANGEN

                    PO BOX 8702
                    Gulfport                                             MS     39506

                                                                                                                                                      17    Other information
   G                Current year allocation percentage                             15.00000 %                                                        AC                       103,780
                                                         ......
                                                                                                         11   Section 179 deduction

   H                Shareholder's number of shares
                      Beginning of tax year                                                     15       12   Other deductions
                                          .........
                      End of tax year   ...........                                             15

   I                Loans from shareholder                                                                                                           V*            STMT
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
 For IRS Use Only




                                                                                                         18       More than one activity for at-risk purposes*
                                                                                                         19       More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                   Schedule K-1 (Form 1120-S) 2023
EEA
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                             Schedule K-1 Supplemental Information           2023
     Shareholder's name                                                     Shareholder's ID Number

     DON MANGEN                                                              CONFIDENTIAL
                                                                             XXX-XX-XXXX
     Name of S Corporation                                                  S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                               XX-XXXXXXX


                                Form 1120S Schedule K-1 Codes

     Line 16, Code D  - Distributions
                          [See K-1 instructions, page 15 (Form 7203
                          instructions)]
     Line 17, Code AC - Gross receipts for section 448(c)
                          [See K-1 instructions, page 17 (Form 8990)]
     Line 17, Code V - Section 199A information
                          [Form 8995 or Form 8995-A]




1120SK_1.LD2
               Case 1:25-cv-00193-LG-BWR                 Document 1-3                 Filed 06/17/25              Page 93 of 158

                                 Schedule K-1 Distribution Information
                                (This page is not filed with the return. It is for your records only.)              2023
     Shareholder's name                                                                                            Shareholder's ID Number

     DON MANGEN                                                                                                     CONFIDENTIAL
                                                                                                                    XXX-XX-XXXX
     Name of S Corporation                                                                                         S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                                                                      XX-XXXXXXX
                              Total Amount of                Ownership % at                                               Shareholder's Pro Rata
       Date of Distribution      Distribution               Date of Distribution                         Shares            Share of Distribution
          01-15-2023                      5,000                             15.00                    015.00000                __________
                                                                                                                                     750

                      Total                                                                                                   __________
                                                                                                                                     750
                                                                                                                              __________




K1_DIST.LD
                               Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 94 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2023
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 DON MANGEN                                                                                                                                        CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                                (2,478)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                       1,839
 Unadjusted Basis
 Immediately After
 Acquisition
 Section 199A
 (REIT) Dividends




K1_QBIS~.LD
       Case Basis
Shareholder's 1:25-cv-00193-LG-BWR      Document
                    Worksheet Prepared from       1-3 Filed Records
                                            the S Corporation 06/17/25                                                                               Page 95 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                     2023
 Shareholder Number:                              CONFIDENTIAL
                                             TIN: XXX-XX-XXXX                                                          Tax year ending:   12-31-2023    Ownership %:   15.000000
 Shareholder Name:                DON MANGEN
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                             EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1    68,174
 2        Additional Capital Contributions of Stock Purchased                                                                                   2     6,000
 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                               4          74,174
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                   5             750
 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                  6          73,424
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                             7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                  8          73,424
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a               2,478
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n      2,478
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                               9           2,478
     10 Less: net increase applied to debt basis                                                                                                                10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                         11          70,946
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                     17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                           18          70,946
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                 2,478
     21        Less:    Applied this year                                                              2,478
     22        End of year (Not less than zero)                                                            0                                                             WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 96 of 158
                                                                                        Allocation of Losses and Deductions                                                             2023
                                                                                                     Keep for your records.

  Shareholder Number:                                                                       TIN:                                       Year Ended:                    Ownership %:
                                                                                              CONFIDENTIAL
                                                                                              XXX-XX-XXXX                                12-31-2023                         15.000000
  Shareholder Name:

        DON MANGEN
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                         XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                  (a)                  (b)                          (c)                  (d)              (e)                 (f)
                                                                             Beginning of          Current Year               Total Losses                %           Allocable          Dissallowed
                                                                                Year               Losses and                      and                               Losses and          Losses and
                                                                             Losses and             Deductions                 Deductions                           Deductions in         Deductions
                                                                              Deductions                                                                            Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business          (Sch K, Line 1)                                       2,478                      2,478            100.000000             2,478
 b Net losses from rental real estate activities   (Sch K, Line 2)

 c Net losses from other rental activities         (Sch K, Line 3c)

 d Net short-term capital losses                   (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                          (Sch K, Line 10a)

 f Net losses under Section 1231                   (Sch K, Line 9)

 g Other losses                                    (Sch K, Line 10e)

 h Charitable contributions                        (Sch K, Line 12a-g)

 i Section 179 expense deduction                   (Sch K, Line 11)

 j Portfolio income expenses                       (Sch K, Line 12l)

 k Other deductions                                (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts            (Sch K, Line 12h)

 m Foreign taxes paid or accrued                   (Sch K, Line 16f)

 n Section 59(e) expenditures                      (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                                2,478                      2,478                                   2,478
7a Nondeductible expenses & credit adj             (Sch K, Line 16c & 13)

 b Oil and gas depletion                           (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                                2,478                      2,478                                   2,478
 WK_SBAS~.LD2
               Case 1:25-cv-00193-LG-BWR                            Document 1-3               Filed 06/17/25            Page 97 of 158


                                           Schedule K-1 Supplemental Information                                           2023
     Shareholder's name                                                                                                   Shareholder's ID Number

    DON MANGEN                                                                                                              CONFIDENTIAL
                                                                                                                           XXX-XX-XXXX
    Name of S Corporation                                                                                                 S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                              XX-XXXXXXX
                                                        Schedule K-3 Notification
       The corporation has met the following criteria for tax year 2023, presently exempting it from filing Schedule K-3 (Form 1120-S), Shareholder's
       Share of Income, Deductions, Credits, etc. - International:


                   Criteria 1 - Corporation had no or limited foreign activity
                   Criteria 2 - Each of the shareholders was a U.S. citizen, resident alien, or certain domestic trust


       With respect to the corporation meeting criteria 1 and 2, shareholders are hereby notified they will not be receiving a Schedule K-3 from
       the corporation unless the shareholder specifically requests the schedule.


       A request for a Schedule K-3 is time sensitive and should be made as soon as possible.




K3EX STM.LD
                            Case 1:25-cv-00193-LG-BWR                                  Document 1-3                Filed 06/17/25                  Page 98 of 158
                                                                                                                                                                                671121
                                                                                                               Final K-1           X Amended K-1             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2023                Part III
                                                                                                                           Shareholder's Share of Current Year Income,
                                                                                                                           Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2023, or tax year    1   Ordinary business income (loss)         13    Credits
Internal Revenue Service
                                                                                                                                    (2,478)
                       beginning        01-01 2023                  ending      12-31-2023                2   Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3   Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4   Interest income
             Part I          Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                      14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                               checked . . . . . . .

                    MARTINI'S                                                                             6   Royalties                               15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7   Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    E-FILE
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9   Net section 1231 gain (loss)            16    Items affecting shareholder basis
             Part II         Information About the Shareholder
                                                                                                                                                     D                                750
   E                Shareholder's identifying number                                                     10   Other income (loss)
                    CONFIDENTIAL
                    XXX-XX-XXXX
   F                Shareholder's name, address, city, state, and ZIP code
                    BLAKE WHITSON

                    6274 KIMBROUGH BLVD
                    Biloxi                                               MS     39532

                                                                                                                                                      17    Other information
   G                Current year allocation percentage                             15.00000 %                                                        AC                       103,780
                                                         ......
                                                                                                         11   Section 179 deduction

   H                Shareholder's number of shares
                      Beginning of tax year                                                     15       12   Other deductions
                                          .........
                      End of tax year   ...........                                             15

   I                Loans from shareholder                                                                                                           V*            STMT
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
 For IRS Use Only




                                                                                                         18       More than one activity for at-risk purposes*
                                                                                                         19       More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                   Schedule K-1 (Form 1120-S) 2023
EEA
               Case 1:25-cv-00193-LG-BWR   Document 1-3   Filed 06/17/25   Page 99 of 158


                             Schedule K-1 Supplemental Information           2023
     Shareholder's name                                                     Shareholder's ID Number

     BLAKE WHITSON                                                            CONFIDENTIAL
                                                                             XXX-XX-XXXX
     Name of S Corporation                                                  S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                               XX-XXXXXXX


                                Form 1120S Schedule K-1 Codes

     Line 16, Code D  - Distributions
                          [See K-1 instructions, page 15 (Form 7203
                          instructions)]
     Line 17, Code AC - Gross receipts for section 448(c)
                          [See K-1 instructions, page 17 (Form 8990)]
     Line 17, Code V - Section 199A information
                          [Form 8995 or Form 8995-A]




1120SK_1.LD2
              Case 1:25-cv-00193-LG-BWR                 Document 1-3                 Filed 06/17/25               Page 100 of 158

                                 Schedule K-1 Distribution Information
                                (This page is not filed with the return. It is for your records only.)              2023
     Shareholder's name                                                                                            Shareholder's ID Number

     BLAKE WHITSON                                                                                                  CONFIDENTIAL
                                                                                                                    XXX-XX-XXXX
     Name of S Corporation                                                                                         S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                                                                      XX-XXXXXXX
                              Total Amount of                Ownership % at                                               Shareholder's Pro Rata
       Date of Distribution      Distribution               Date of Distribution                         Shares            Share of Distribution
          01-15-2023                      5,000                             15.00                    015.00000                __________
                                                                                                                                     750

                      Total                                                                                                   __________
                                                                                                                                     750
                                                                                                                              __________




K1_DIST.LD
                              Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 101 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2023
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 BLAKE WHITSON                                                                                                                                     CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                                (2,478)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                       1,839
 Unadjusted Basis
 Immediately After
 Acquisition
 Section 199A
 (REIT) Dividends




K1_QBIS~.LD
       Case 1:25-cv-00193-LG-BWR
Shareholder's Basis Worksheet Prepared Document   1-3 Filed 06/17/25
                                       from the S Corporation Records                                                                                Page 102 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                      2023
 Shareholder Number:                         TIN: CONFIDENTIAL
                                                  XXX-XX-XXXX                                                          Tax year ending:   12-31-2023     Ownership %:   15.000000
 Shareholder Name:                BLAKE WHITSON
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                              EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1    68,174
 2        Additional Capital Contributions of Stock Purchased                                                                                   2     6,000
 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                                4          74,174
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                    5             750
 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                   6          73,424
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                              7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                   8          73,424
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a               2,478
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n      2,478
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                                9           2,478
     10 Less: net increase applied to debt basis                                                                                                                 10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                          11          70,946
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                      17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                            18          70,946
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                 2,478
     21        Less:    Applied this year                                                              2,478
     22        End of year (Not less than zero)                                                            0                                                              WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 103 of 158
                                                                                         Allocation of Losses and Deductions                                                            2023
                                                                                                      Keep for your records.

  Shareholder Number:                                                                        TIN:                                       Year Ended:                   Ownership %:

                                                                                                CONFIDENTIAL
                                                                                                XXX-XX-XXXX                               12-31-2023                        15.000000
  Shareholder Name:

        BLAKE WHITSON
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                          XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                   (a)                  (b)                          (c)                  (d)             (e)                 (f)
                                                                              Beginning of          Current Year               Total Losses                %          Allocable          Dissallowed
                                                                                 Year               Losses and                      and                              Losses and          Losses and
                                                                              Losses and             Deductions                 Deductions                          Deductions in         Deductions
                                                                               Deductions                                                                           Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business           (Sch K, Line 1)                                       2,478                      2,478            100.000000            2,478
 b Net losses from rental real estate activities    (Sch K, Line 2)

 c Net losses from other rental activities          (Sch K, Line 3c)

 d Net short-term capital losses                    (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                           (Sch K, Line 10a)

 f Net losses under Section 1231                    (Sch K, Line 9)

 g Other losses                                     (Sch K, Line 10e)

 h Charitable contributions                         (Sch K, Line 12a-g)

 i Section 179 expense deduction                    (Sch K, Line 11)

 j Portfolio income expenses                        (Sch K, Line 12l)

 k Other deductions                                 (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts             (Sch K, Line 12h)

 m Foreign taxes paid or accrued                    (Sch K, Line 16f)

 n Section 59(e) expenditures                       (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                                 2,478                      2,478                                  2,478
7a Nondeductible expenses & credit adj              (Sch K, Line 16c & 13)

 b Oil and gas depletion                            (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                                 2,478                      2,478                                  2,478
 WK_SBAS~.LD2
              Case 1:25-cv-00193-LG-BWR                            Document 1-3               Filed 06/17/25             Page 104 of 158


                                           Schedule K-1 Supplemental Information                                           2023
     Shareholder's name                                                                                                   Shareholder's ID Number

    BLAKE WHITSON                                                                                                         CONFIDENTIAL
                                                                                                                           XXX-XX-XXXX
    Name of S Corporation                                                                                                 S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                              XX-XXXXXXX
                                                        Schedule K-3 Notification
       The corporation has met the following criteria for tax year 2023, presently exempting it from filing Schedule K-3 (Form 1120-S), Shareholder's
       Share of Income, Deductions, Credits, etc. - International:


                   Criteria 1 - Corporation had no or limited foreign activity
                   Criteria 2 - Each of the shareholders was a U.S. citizen, resident alien, or certain domestic trust


       With respect to the corporation meeting criteria 1 and 2, shareholders are hereby notified they will not be receiving a Schedule K-3 from
       the corporation unless the shareholder specifically requests the schedule.


       A request for a Schedule K-3 is time sensitive and should be made as soon as possible.




K3EX STM.LD
                           Case 1:25-cv-00193-LG-BWR                                  Document 1-3                Filed 06/17/25                   Page 105 of 158
                                                                                                                                                                  671121
                                                                                                               Final K-1           X Amended K-1             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2023                Part III
                                                                                                                           Shareholder's Share of Current Year Income,
                                                                                                                           Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2023, or tax year    1   Ordinary business income (loss)         13    Credits
Internal Revenue Service
                                                                                                                                    (2,478)
                       beginning        01-01 2023                  ending      12-31-2023                2   Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3   Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4   Interest income
             Part I          Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                      14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                               checked . . . . . . .

                    MARTINI'S                                                                             6   Royalties                               15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7   Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    E-FILE
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9   Net section 1231 gain (loss)            16    Items affecting shareholder basis
             Part II         Information About the Shareholder
                                                                                                                                                     D                                750
   E                Shareholder's identifying number                                                     10   Other income (loss)

                    CONFIDENTIAL
                    XXX-XX-XXXX
   F                Shareholder's name, address, city, state, and ZIP code
                    JASON WHITE

                    107 ROYAL CRESCENT DR
                    Belle Chasse                                         LA     70037

                                                                                                                                                      17    Other information
   G                Current year allocation percentage                             15.00000 %                                                        AC                       103,780
                                                         ......
                                                                                                         11   Section 179 deduction

   H                Shareholder's number of shares
                      Beginning of tax year                                                     15       12   Other deductions
                                          .........
                      End of tax year   ...........                                             15

   I                Loans from shareholder                                                                                                           V*            STMT
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
 For IRS Use Only




                                                                                                         18       More than one activity for at-risk purposes*
                                                                                                         19       More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                   Schedule K-1 (Form 1120-S) 2023
EEA
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                              Schedule K-1 Supplemental Information          2023
     Shareholder's name                                                     Shareholder's ID Number

     JASON WHITE                                                             CONFIDENTIAL
                                                                             XXX-XX-XXXX
     Name of S Corporation                                                  S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                               XX-XXXXXXX


                                 Form 1120S Schedule K-1 Codes

     Line 16, Code D  - Distributions
                          [See K-1 instructions, page 15 (Form 7203
                          instructions)]
     Line 17, Code AC - Gross receipts for section 448(c)
                          [See K-1 instructions, page 17 (Form 8990)]
     Line 17, Code V - Section 199A information
                          [Form 8995 or Form 8995-A]




1120SK_1.LD2
              Case 1:25-cv-00193-LG-BWR                 Document 1-3                 Filed 06/17/25               Page 107 of 158

                                 Schedule K-1 Distribution Information
                                (This page is not filed with the return. It is for your records only.)              2023
     Shareholder's name                                                                                            Shareholder's ID Number

     JASON WHITE                                                                                                    CONFIDENTIAL
                                                                                                                    XXX-XX-XXXX
     Name of S Corporation                                                                                         S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                                                                      XX-XXXXXXX
                              Total Amount of                Ownership % at                                               Shareholder's Pro Rata
       Date of Distribution      Distribution               Date of Distribution                         Shares            Share of Distribution
          01-15-2023                      5,000                             15.00                    015.00000                __________
                                                                                                                                     750

                      Total                                                                                                   __________
                                                                                                                                     750
                                                                                                                              __________




K1_DIST.LD
                              Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 108 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2023
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 JASON WHITE                                                                                                                                       CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                                (2,478)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                       1,839
 Unadjusted Basis
 Immediately After
 Acquisition
 Section 199A
 (REIT) Dividends




K1_QBIS~.LD
       Case 1:25-cv-00193-LG-BWR
Shareholder's Basis Worksheet Prepared Document   1-3 Filed 06/17/25
                                       from the S Corporation Records                                                                                Page 109 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                      2023
 Shareholder Number:                              CONFIDENTIAL
                                             TIN: XXX-XX-XXXX                                                          Tax year ending:   12-31-2023     Ownership %:   15.000000
 Shareholder Name:                JASON WHITE
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                              EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1    68,301
 2        Additional Capital Contributions of Stock Purchased                                                                                   2     6,000
 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                                4          74,301
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                    5             750
 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                   6          73,551
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                              7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                   8          73,551
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a               2,478
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n      2,478
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                                9           2,478
     10 Less: net increase applied to debt basis                                                                                                                 10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                          11          71,073
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                      17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                            18          71,073
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                 2,478
     21        Less:    Applied this year                                                              2,478
     22        End of year (Not less than zero)                                                            0                                                              WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 110 of 158
                                                                                         Allocation of Losses and Deductions                                                            2023
                                                                                                      Keep for your records.

  Shareholder Number:                                                                        TIN:                                       Year Ended:                   Ownership %:

                                                                                                CONFIDENTIAL
                                                                                                XXX-XX-XXXX                               12-31-2023                        15.000000
  Shareholder Name:

        JASON WHITE
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                          XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                   (a)                  (b)                          (c)                  (d)             (e)                 (f)
                                                                              Beginning of          Current Year               Total Losses                %          Allocable          Dissallowed
                                                                                 Year               Losses and                      and                              Losses and          Losses and
                                                                              Losses and             Deductions                 Deductions                          Deductions in         Deductions
                                                                               Deductions                                                                           Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business           (Sch K, Line 1)                                       2,478                      2,478            100.000000            2,478
 b Net losses from rental real estate activities    (Sch K, Line 2)

 c Net losses from other rental activities          (Sch K, Line 3c)

 d Net short-term capital losses                    (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                           (Sch K, Line 10a)

 f Net losses under Section 1231                    (Sch K, Line 9)

 g Other losses                                     (Sch K, Line 10e)

 h Charitable contributions                         (Sch K, Line 12a-g)

 i Section 179 expense deduction                    (Sch K, Line 11)

 j Portfolio income expenses                        (Sch K, Line 12l)

 k Other deductions                                 (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts             (Sch K, Line 12h)

 m Foreign taxes paid or accrued                    (Sch K, Line 16f)

 n Section 59(e) expenditures                       (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                                 2,478                      2,478                                  2,478
7a Nondeductible expenses & credit adj              (Sch K, Line 16c & 13)

 b Oil and gas depletion                            (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                                 2,478                      2,478                                  2,478
 WK_SBAS~.LD2
              Case 1:25-cv-00193-LG-BWR                            Document 1-3               Filed 06/17/25             Page 111 of 158


                                           Schedule K-1 Supplemental Information                                           2023
     Shareholder's name                                                                                                   Shareholder's ID Number

    JASON WHITE                                                                                                            CONFIDENTIAL
                                                                                                                           XXX-XX-XXXX
    Name of S Corporation                                                                                                 S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                              XX-XXXXXXX
                                                        Schedule K-3 Notification
       The corporation has met the following criteria for tax year 2023, presently exempting it from filing Schedule K-3 (Form 1120-S), Shareholder's
       Share of Income, Deductions, Credits, etc. - International:


                   Criteria 1 - Corporation had no or limited foreign activity
                   Criteria 2 - Each of the shareholders was a U.S. citizen, resident alien, or certain domestic trust


       With respect to the corporation meeting criteria 1 and 2, shareholders are hereby notified they will not be receiving a Schedule K-3 from
       the corporation unless the shareholder specifically requests the schedule.


       A request for a Schedule K-3 is time sensitive and should be made as soon as possible.




K3EX STM.LD
                           Case 1:25-cv-00193-LG-BWR                                  Document 1-3                Filed 06/17/25                   Page 112 of 158
                                                                                                                                                                  671121
                                                                                                               Final K-1           X Amended K-1             OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2023                Part III
                                                                                                                           Shareholder's Share of Current Year Income,
                                                                                                                           Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2023, or tax year    1   Ordinary business income (loss)         13    Credits
Internal Revenue Service
                                                                                                                                    (2,478)
                       beginning        01-01 2023                  ending      12-31-2023                2   Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3   Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4   Interest income
             Part I          Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                      14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                               checked . . . . . . .

                    MARTINI'S                                                                             6   Royalties                               15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7   Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    E-FILE
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9   Net section 1231 gain (loss)            16    Items affecting shareholder basis
             Part II         Information About the Shareholder
                                                                                                                                                     D                                750
   E                Shareholder's identifying number                                                     10   Other income (loss)
                    CONFIDENTIAL
                     XXX-XX-XXXX
   F                Shareholder's name, address, city, state, and ZIP code
                    OSCAR BREWER JR

                    13234 CARIAGE CIRCLE
                    Gulfport                                             MS     39503

                                                                                                                                                      17    Other information
   G                Current year allocation percentage                             15.00000 %                                                        AC                       103,780
                                                         ......
                                                                                                         11   Section 179 deduction

   H                Shareholder's number of shares
                      Beginning of tax year                                                     15       12   Other deductions
                                          .........
                      End of tax year   ...........                                             15

   I                Loans from shareholder                                                                                                           V*            STMT
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
 For IRS Use Only




                                                                                                         18       More than one activity for at-risk purposes*
                                                                                                         19       More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                   Schedule K-1 (Form 1120-S) 2023
EEA
               Case 1:25-cv-00193-LG-BWR   Document 1-3   Filed 06/17/25   Page 113 of 158


                              Schedule K-1 Supplemental Information          2023
     Shareholder's name                                                     Shareholder's ID Number

     OSCAR BREWER JR                                                         CONFIDENTIAL
                                                                             XXX-XX-XXXX
     Name of S Corporation                                                  S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                               XX-XXXXXXX


                                 Form 1120S Schedule K-1 Codes

     Line 16, Code D  - Distributions
                          [See K-1 instructions, page 15 (Form 7203
                          instructions)]
     Line 17, Code AC - Gross receipts for section 448(c)
                          [See K-1 instructions, page 17 (Form 8990)]
     Line 17, Code V - Section 199A information
                          [Form 8995 or Form 8995-A]




1120SK_1.LD2
              Case 1:25-cv-00193-LG-BWR                 Document 1-3                 Filed 06/17/25               Page 114 of 158

                                 Schedule K-1 Distribution Information
                                (This page is not filed with the return. It is for your records only.)              2023
     Shareholder's name                                                                                            Shareholder's ID Number

     OSCAR BREWER JR                                                                                                CONFIDENTIAL
                                                                                                                    XXX-XX-XXXX
     Name of S Corporation                                                                                         S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                                                                      XX-XXXXXXX
                              Total Amount of                Ownership % at                                               Shareholder's Pro Rata
       Date of Distribution      Distribution               Date of Distribution                         Shares            Share of Distribution
          01-15-2023                      5,000                             15.00                    015.00000                __________
                                                                                                                                     750

                      Total                                                                                                   __________
                                                                                                                                     750
                                                                                                                              __________




K1_DIST.LD
                              Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 115 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2023
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 OSCAR BREWER JR                                                                                                                                    CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                                (2,478)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                       1,839
 Unadjusted Basis
 Immediately After
 Acquisition
 Section 199A
 (REIT) Dividends




K1_QBIS~.LD
       Case 1:25-cv-00193-LG-BWR
Shareholder's Basis Worksheet Prepared Document   1-3 Filed 06/17/25
                                       from the S Corporation Records                                                                                Page 116 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                      2023
 Shareholder Number:                         TIN: CONFIDENTIAL
                                                   XXX-XX-XXXX                                                         Tax year ending:   12-31-2023     Ownership %:   15.000000
 Shareholder Name:                OSCAR BREWER JR
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                              EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1    68,301
 2        Additional Capital Contributions of Stock Purchased                                                                                   2     6,000
 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                                4          74,301
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                    5             750
 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                   6          73,551
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                              7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                   8          73,551
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a               2,478
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n      2,478
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                                9           2,478
     10 Less: net increase applied to debt basis                                                                                                                 10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                          11          71,073
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                      17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                            18          71,073
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                 2,478
     21        Less:    Applied this year                                                              2,478
     22        End of year (Not less than zero)                                                            0                                                              WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 117 of 158
                                                                                         Allocation of Losses and Deductions                                                            2023
                                                                                                      Keep for your records.

  Shareholder Number:                                                                        TIN:                                       Year Ended:                   Ownership %:

                                                                                                CONFIDENTIAL
                                                                                                XXX-XX-XXXX                               12-31-2023                        15.000000
  Shareholder Name:

        OSCAR BREWER JR
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                          XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                   (a)                  (b)                          (c)                  (d)             (e)                 (f)
                                                                              Beginning of          Current Year               Total Losses                %          Allocable          Dissallowed
                                                                                 Year               Losses and                      and                              Losses and          Losses and
                                                                              Losses and             Deductions                 Deductions                          Deductions in         Deductions
                                                                               Deductions                                                                           Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business           (Sch K, Line 1)                                       2,478                      2,478            100.000000            2,478
 b Net losses from rental real estate activities    (Sch K, Line 2)

 c Net losses from other rental activities          (Sch K, Line 3c)

 d Net short-term capital losses                    (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                           (Sch K, Line 10a)

 f Net losses under Section 1231                    (Sch K, Line 9)

 g Other losses                                     (Sch K, Line 10e)

 h Charitable contributions                         (Sch K, Line 12a-g)

 i Section 179 expense deduction                    (Sch K, Line 11)

 j Portfolio income expenses                        (Sch K, Line 12l)

 k Other deductions                                 (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts             (Sch K, Line 12h)

 m Foreign taxes paid or accrued                    (Sch K, Line 16f)

 n Section 59(e) expenditures                       (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                                 2,478                      2,478                                  2,478
7a Nondeductible expenses & credit adj              (Sch K, Line 16c & 13)

 b Oil and gas depletion                            (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                                 2,478                      2,478                                  2,478
 WK_SBAS~.LD2
              Case 1:25-cv-00193-LG-BWR                            Document 1-3               Filed 06/17/25             Page 118 of 158


                                           Schedule K-1 Supplemental Information                                           2023
     Shareholder's name                                                                                                   Shareholder's ID Number

    OSCAR BREWER JR                                                                                                        CONFIDENTIAL
                                                                                                                           XXX-XX-XXXX
    Name of S Corporation                                                                                                 S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                              XX-XXXXXXX
                                                        Schedule K-3 Notification
       The corporation has met the following criteria for tax year 2023, presently exempting it from filing Schedule K-3 (Form 1120-S), Shareholder's
       Share of Income, Deductions, Credits, etc. - International:


                   Criteria 1 - Corporation had no or limited foreign activity
                   Criteria 2 - Each of the shareholders was a U.S. citizen, resident alien, or certain domestic trust


       With respect to the corporation meeting criteria 1 and 2, shareholders are hereby notified they will not be receiving a Schedule K-3 from
       the corporation unless the shareholder specifically requests the schedule.


       A request for a Schedule K-3 is time sensitive and should be made as soon as possible.




K3EX STM.LD
              Case 1:25-cv-00193-LG-BWR                                           Document 1-3     Filed 06/17/25           Page 119 of 158
                                            FILED PURSUANT TO REV. PROC.2013-30
                                                        Election by a Small Business Corporation
Form    2553                                                   (Under section 1362 of the Internal Revenue Code)
(Rev. December 2017)                                     (Including a late election filed pursuant to Rev. Proc. 2013-30)                               OMB No. 1545-0123

Department of the Treasury
                                                            You can fax this form to the IRS. See separate instructions.
Internal Revenue Service                             Go to www.irs.gov/Form2553 for instructions and the latest information.
Note: This election to be an S corporation can be accepted only if all the tests are met under Who May Elect in the instructions, all
shareholders have signed the consent statement, an officer has signed below, and the exact name and address of the corporation
(entity) and other required form information have been provided.
    Part I       Election Information
                Name (see instructions)                                                                               A Employer identification number
                 JMD COASTAL ENTERTAINMENT                                                                               XX-XXXXXXX
Type            Number, street, and room or suite no. If a P.O. box, see instructions.                                B Date incorporated
or
                 PO BOX 8702                                                                                             09-15-2020
Print           City or town, state or province, country, and ZIP or foreign postal code                              C State of incorporation
                 Gulfport MS 39506                                                                                       MS
D     Check the applicable box(es) if the corporation (entity), after applying for the EIN shown in A above, changed its                name or X address
E     Election is to be effective for tax year beginning (month, day, year) (see instructions) . . . . . . . . . . . . . .              01-01-2021
      Caution: A corporation (entity) making the election for its first tax year in existence will usually enter the
      beginning date of a short tax year that begins on a date other than January 1.
F     Selected tax year:
      (1) X Calendar year
      (2)        Fiscal year ending (month and day)
      (3)        52-53-week year ending with reference to the month of December
      (4)        52-53-week year ending with reference to the month of
      If box (2) or (4) is checked, complete Part II.


G     If more than 100 shareholders are listed for item J (see page 2), check this box if treating members of a family as one
      shareholder results in no more than 100 shareholders (see test 2 under Who May Elect in the instructions)
H     Name and title of officer or legal representative who the IRS may call for more information           Telephone number of officer or legal
                                                                                                            representative
      don mangen, shareholder                                                                                      (228) 596-5498
I     If this S corporation election is being filed late, I declare I had reasonable cause for not filing Form 2553 timely. If this late
      election is being made by an entity eligible to elect to be treated as a corporation, I declare I also had reasonable cause for not
      filing an entity classification election timely and the representations listed in Part IV are true. See below for my explanation of the
      reasons the election or elections were not made on time and a description of my diligent actions to correct the mistake upon its
      discovery. See instructions.


                    FORM WAS FILED IRS SAID NEVER RECEIVED SO RESENDING WITH THIS AMENDMENT AS

                    I CAN NOT ELECTRONICALY DO PAST 3 YEARS




             Under penalties of perjury, I declare that I have examined this election, including accompanying documents, and, to the best of my
Sign         knowledge and belief, the election contains all the relevant facts relating to the election, and such facts are true, correct, and complete.
Here                                                                                       shareholder
               Signature of officer                                                        Title                                                 Date

For Paperwork Reduction Act Notice, see separate instructions.                                                                              Form 2553 (Rev. 12-2017)
EEA
               Case 1:25-cv-00193-LG-BWR                           Document 1-3                Filed 06/17/25              Page 120 of 158
Form 2553 (Rev. 12-2017)                                                                                                                                   Page 3
Name                                                                                                                      Employer identification number

    JMD COASTAL ENTERTAINMENT                                                                                              XX-XXXXXXX
 Part II        Selection of Fiscal Tax Year (see instructions)
Note: All corporations using this part must complete item O and item P, Q, or R.
O Check the applicable box to indicate whether the corporation is:
   1. X A new corporation adopting the tax year entered in item F, Part I.
   2.       An existing corporation retaining the tax year entered in item F, Part I.
   3.       An existing corporation changing to the tax year entered in item F, Part I.
P     Complete item P if the corporation is using the automatic approval provisions of Rev. Proc. 2006-46, 2006-45 I.R.B. 859, to
      request (1) a natural business year (as defined in section 5.07 of Rev. Proc. 2006-46) or (2) a year that satisfies the ownership
      tax year test (as defined in section 5.08 of Rev. Proc. 2006-46). Check the applicable box below to indicate the representation
      statement the corporation is making.
      1. Natural Business Year        X I represent that the corporation is adopting, retaining, or changing to a tax year that qualifies
      as its natural business year (as defined in section 5.07 of Rev. Proc. 2006-46) and has attached a statement showing
      separately for each month the gross receipts for the most recent 47 months. See instructions. I also represent that the
      corporation is not precluded by section 4.02 of Rev. Proc. 2006-46 from obtaining automatic approval of such adoption,
      retention, or change in tax year.

      2. Ownership Tax Year               I represent that shareholders (as described in section 5.08 of Rev. Proc. 2006-46) holding more
      than half of the shares of the stock (as of the first day of the tax year to which the request relates) of the corporation have the
      same tax year or are concurrently changing to the tax year that the corporation adopts, retains, or changes to per item F, Part
      I, and that such tax year satisfies the requirement of section 4.01(3) of Rev. Proc. 2006-46. I also represent that the corporation
      is not precluded by section 4.02 of Rev. Proc. 2006-46 from obtaining automatic approval of such adoption, retention, or
      change in tax year.
Note: If you do not use item P and the corporation wants a fiscal tax year, complete either item Q or R below. Item Q is used to
request a fiscal tax year based on a business purpose and to make a back-up section 444 election. Item R is used to make a regular
section 444 election.
Q     Business Purpose - To request a fiscal tax year based on a business purpose, check box Q1. See instructions for details
      including payment of a user fee. You may also check box Q2 and/or box Q3.
      1. Check here             if the fiscal year entered in item F, Part I, is requested under the prior approval provisions of Rev. Proc.
      2002-39, 2002-22 I.R.B. 1046. Attach to Form 2553 a statement describing the relevant facts and circumstances and, if
      applicable, the gross receipts from sales and services necessary to establish a business purpose. See the instructions for
      details regarding the gross receipts from sales and services. If the IRS proposes to disapprove the requested fiscal year, do
      you want a conference with the IRS National Office?
         Yes          No


      2. Check here           to show that the corporation intends to make a back-up section 444 election in the event the
      corporation's business purpose request is not approved by the IRS. See instructions for more information.


      3. Check here             to show that the corporation agrees to adopt or change to a tax year ending December 31 if necessary
      for the IRS to accept this election for S corporation status in the event (1) the corporation's business purpose request is not
      approved and the corporation makes a back-up section 444 election, but is ultimately not qualified to make a section 444
      election, or (2) the corporation's business purpose request is not approved and the corporation did not make a back-up
      section 444 election.
R     Section 444 Election - To make a section 444 election, check box R1. You may also check box R2.
      1. Check here            to show that the corporation will make, if qualified, a section 444 election to have the fiscal tax year
      shown in item F, Part I. To make the election, you must complete Form 8716, Election To Have a Tax Year Other Than a
      Required Tax Year, and either attach it to Form 2553 or file it separately.


      2. Check here             to show that the corporation agrees to adopt or change to a tax year ending December 31 if necessary
      for the IRS to accept this election for S corporation status in the event the corporation is ultimately not qualified to make a
      section 444 election.
EEA                                                                                                                                       Form 2553 (Rev. 12-2017)
                Case 1:25-cv-00193-LG-BWR                                           Document 1-3                        Filed 06/17/25        Page 121 of 158
Form 2553 (Rev. 12-2017)                                                                                                                                                       Page 4
Name                                                                                                                                          Employer identification number

    JMD COASTAL ENTERTAINMENT                                                                                                                 XX-XXXXXXX
 Part III          Qualified Subchapter S Trust (QSST) Election Under Section 1361(d)(2)* Note: If you are making more than
                   one QSST election, use additional copies of page 4.
Income beneficiary's name and address                                                                                          Social security number




Trust's name and address                                                                                                       Employer identification number




Date on which stock of the corporation was transferred to the trust (month, day, year)       ...............
In order for the trust named above to be a QSST and thus a qualifying shareholder of the S corporation for which this Form 2553 is
filed, I hereby make the election under section 1361(d)(2). Under penalties of perjury, I certify that the trust meets the definitional
requirements of section 1361(d)(3) and that all other information provided in Part III is true, correct, and complete.



Signature of income beneficiary or signature and title of legal representative or other qualified person making the election           Date

* Use Part III to make the QSST election only if stock of the corporation has been transferred to the trust on or before the date on
which the corporation makes its election to be an S corporation. The QSST election must be made and filed separately if stock of the
corporation is transferred to the trust after the date on which the corporation makes the S election.
Part IV            Late Corporate Classification Election Representations (see instructions)
If a late entity classification election was intended to be effective on the same date that the S corporation election was intended to be
effective, relief for a late S corporation election must also include the following representations.


1     The requesting entity is an eligible entity as defined in Regulations section 301.7701-3(a);


2     The requesting entity intended to be classified as a corporation as of the effective date of the S corporation status;


3     The requesting entity fails to qualify as a corporation solely because Form 8832, Entity Classification Election, was not timely
      filed under Regulations section 301.7701-3(c)(1)(i), or Form 8832 was not deemed to have been filed under Regulations section
      301.7701-3(c)(1)(v)(C);


4     The requesting entity fails to qualify as an S corporation on the effective date of the S corporation status solely because the
      S corporation election was not timely filed pursuant to section 1362(b); and


5a The requesting entity timely filed all required federal tax returns and information returns consistent with its requested
   classification as an S corporation for all of the years the entity intended to be an S corporation and no inconsistent tax or
   information returns have been filed by or with respect to the entity during any of the tax years, or


    b The requesting entity has not filed a federal tax or information return for the first year in which the election was intended to be
      effective because the due date has not passed for that year's federal tax or information return.


EEA                                                                                                                                                        Form 2553 (Rev. 12-2017)
                Case 1:25-cv-00193-LG-BWR                    Document 1-3                  Filed 06/17/25        Page 122 of 158
Form 2553 (Rev. 12-2017)                                                                                                                         Page 2
Name                                                                                                            Employer identification number

 JMD COASTAL ENTERTAINMENT                                                                                       XX-XXXXXXX
 Part I       Election Information (continued) Note: If you need more rows, use additional copies of page 2.
                                                           K
                                           Shareholder’s Consent Statement
                                        Under penalties of perjury, I declare that I
                                       consent to the election of the above-named
                                        corporation (entity) to be an S corporation
                                           under section 1362(a) and that I have
                                       examined this consent statement, including
                                       accompanying documents, and, to the best
                                         of my knowledge and belief, the election
                                       contains all the relevant facts relating to the                     L
                                         election, and such facts are true, correct,                Stock owned or
                                        and complete. I understand my consent is                percentage of ownership
                                       binding and may not be withdrawn after the                  (see instructions)
                                           corporation (entity) has made a valid
                                           election. If seeking relief for a late filed
                                         election, I also declare under penalties of
                                       perjury that I have reported my income on all                                                M
                                            affected returns consistent with the S                                          Social security
                 J                       corporation election for the year for which                                          number or           N
   Name and address of each               the election should have been filed (see            Number of                        employer     Shareholder's
shareholder or former shareholder      beginning date entered on line E) and for all          shares or                      identification tax year ends
required to consent to the election.                  subsequent years.                       percentage       Date(s)       number (see     (month and
       (see instructions)                  Signature                                Date      of ownership     acquired       instructions)      day)




EEA                                                                                                                            Form 2553 (Rev. 12-2017)
                                          Case 1:25-cv-00193-LG-BWR   Document
                                                         U.S. Income Tax Return1-3
                                                                                for anFiled 06/17/25 Page 123 of 158
                                                                                        S Corporation                                                                                                                   OMB No. 1545-0123
Form                                    1120-S
                                              Do not file this form unless the corporation has filed or
Department of the Treasury
Internal Revenue Service
                                              is attaching Form 2553 to elect to be an S corporation.
                                       Go to www.irs.gov/Form1120S for instructions and the latest information.
                                                                                                                                                                                                                         2024
For calendar year 2024 or tax year beginning                      01-01 , 2024, ending                          12-31 , 20 24
A S election effective date              Name                                                                    D Employer identification number
                                                                                       JMD COASTAL ENTERTAINMENT
09-23-2020                                                               TYPE          MARTINI'S                                                                                                   XX-XXXXXXX
B Business activity code                                                               Number, street, and room or suite no. If a P.O. box, see instructions.                                      E Date incorporated
                                                                         OR
                                     number (see instructions)
                                                                         PRINT         PO BOX 8702                                                                                                 09-15-2020
722511                                       City or town, state or province, country, and ZIP or foreign postal code                   F Total assets (see instructions)
C Check if Sch. M-3 attached                 Gulfport                                                   MS       39506                  $
G Is the corporation electing to be an S corporation beginning with this tax year? See instructions.                       Yes X No
H Check if: (1) X Final return (2)            Name change           (3) X Address change (4)               Amended return      (5)     S election termination
I  Enter the number of shareholders who were shareholders during any part of the tax year . . . . . . . . . . . . . . . . . .                                         5
J Check if corporation: (1)           Aggregated activities for section 465 at-risk purposes (2)             Grouped activities for section 469 passive activity purposes
Caution: Include only trade or business income and expenses on lines 1a through 22. See the instructions for more information.
      1 a Gross receipts or sales                     157,483 b Less returns and allowances                                   c Balance       1c               157,483
      2       Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       2
Income




                                                                                                                                                                 88,931
      3       Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3                68,552
      4       Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) . . . . . . . . . . . . . . . . . . . . .                     4
      5      Other income (loss) (see instructions - attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . .                      5
      6       Total income (loss). Add lines 3 through 5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        6                68,552
      7       Compensation of officers (see instructions - attach Form 1125-E) . . . . . . . . . . . . . . . . . . . . . .                      7
      8       Salaries and wages (less employment credits) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        8
(see instructions for limitations)




      9       Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         9                      398
     10       Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       10
     11       Rents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       11                 45,623
     12       Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               Wks... .......
                                                                                                                        Tax/Lic               12                 20,730
     13       Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   13
     14       Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) . . . .                        14
                                        15       Depletion (do not deduct oil and gas depletion.). . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   15
                                        16       Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   16                    2,448
                                        17       Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              17
                                        18       Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     18
Deductions




                                        19       Energy efficient commercial buildings deduction (attach Form 7205) . . . . . . . . . . . . . . . . . . . .                                                  19
                                        20       Other deductions (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . .      . . . . . . .#2
                                                                                                                                          Statement       ...                                                20                  132,334
                                        21       Total deductions. Add lines 7 through 20 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    21                  201,533
                                        22       Ordinary business income (loss). Subtract line 21 from line 6. . . . . . . . . . . . . . . . . . . . . . .                                                  22                 (132,981)
                                        23 a     Excess net passive income or LIFO recapture tax (see instructions) . . . . . . .      23a
                                           b     Tax from Schedule D (Form 1120-S) . . . . . . . . . . . . . . . . . . . . . .         23b
                                           c     Add lines 23a and 23b (see instructions for additional taxes) . . . . . . . . . . . . . . . . . . . . . . . .                                              23c
                                        24 a     Current year’s estimated tax payments and preceding year’s overpayment
                                                 credited to the current year     . . . . . . . . . . . . . . . . . . . . . . . . . 24a
Tax and Payments




                                             b   Tax deposited with Form 7004 . . . . . . . . . . . . . . . . . . . . . . . .          24b
                                             c   Credit for federal tax paid on fuels (attach Form 4136) . . . . . . . . . . . . .     24c
                                             d   Elective payment election amount from Form 3800 . . . . . . . . . . . . . .           24d
                                             z   Add lines 24a through 24d . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                24z
                                        25       Estimated tax penalty (see instructions). Check if Form 2220 is attached . . . . . . . . . . . . . . . .                                                    25
                                        26       Amount owed. If line 24z is smaller than the total of lines 23c and 25, enter amount owed...........                                                        26
                                        27                                                                                                  ..........
                                                 Overpayment. If line 24z is larger than the total of lines 23c and 25, enter amount overpaid                                                                27
                                        28       Enter amount from line 27: Credited to 2025 estimated tax                                        Refunded .                                                 28
                                                 Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of           May the IRS discuss this return
                                                 my knowledge and belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which
                                                                                                                                                                                                       with the preparer shown below?
Sign                                             preparer has any knowledge.
                                                                                                                                                                                                       See instructions.         Yes     X No
Here
                                                     Don L Mangen III                                                                                                            General Partner
                                                 Signature of officer                                                                                Date                       Title

                                                     Print/Type preparer's name                                Preparer's signature                                      Date                     Check      X     if    PTIN

Paid                                                 DON MANGEN                             DON MANGEN                                                                   05-19-2025               self-employed
                                                                                                                                                                                                                         CONFIDENTIAL
                                                                                                                                                                                                                         P01647980
Preparer                                             Firm's name           FLASH FINANCIAL SERVICES                                                                                       Firm's EIN          CONFIDENTIAL
                                                                                                                                                                                                               XX-XXXXXXX
Use Only                                             Firm's address        7561 WEST JUDGE PEREZ                                                                                          Phone no.

                                                                           Arabi LA 70032                                                                                                                      (504)279-5700
For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                           Form 1120-S (2024)
EEA
            Case 1:25-cv-00193-LG-BWR                                Document 1-3                 Filed 06/17/25              Page 124 of 158
Form 1120-S (2024)      JMD COASTAL ENTERTAINMENT                                                                              XX-XXXXXXX                              Page 2
 Schedule B          Other Information (see instructions)
   1    Check accounting method:          a X Cash          b      Accrual                                                                                       Yes          No
                                          c      Other (specify)
   2   See the instructions and enter the:
       a Business activity RESTAURANT                                     b Product or service       FOOD SERVICE
   3   At any time during the tax year, was any shareholder of the corporation a disregarded entity, a trust, an estate, or a
       nominee or similar person? If "Yes," attach Schedule B-1, Information on Certain Shareholders of an S Corporation. . . . . . . . .
   4   At the end of the tax year, did the corporation:
     a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total stock issued and outstanding of any
       foreign or domestic corporation? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v)
       below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         X
            (i) Name of Corporation               (ii)   Employer           (iii) Country of           (iv) Percentage of      (v) If Percentage in (iv) is 100%, Enter the
                                                    Identification            Incorporation               Stock Owned          Date (if applicable) a Qualified Subchapter
                                                  Number (if any)                                                                 S Subsidiary Election Was Made




   b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or
     capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest of a
     trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below . . . . . . . . . . . . . . . . .                                X
              (i) Name of Entity                  (ii)   Employer          (iii) Type of Entity             (iv) Country of             (v) Maximum Percentage Owned
                                                    Identification                                           Organization                    in Profit, Loss, or Capital
                                                  Number (if any)




   5 a At the end of the tax year, did the corporation have any outstanding shares of restricted stock? . . . . . . . . . . . . . . . . . .
       If "Yes," complete lines (i) and (ii) below.
       (i) Total shares of restricted stock . . . . . . . . . . . . . . . . . . .
       (ii) Total shares of non-restricted stock . . . . . . . . . . . . . . . . .
     b At the end of the tax year, did the corporation have any outstanding stock options, warrants, or similar instruments? . . . . . . . .
       If "Yes," complete lines (i) and (ii) below.
       (i) Total shares of stock outstanding at the end of the tax year . . . . . . .
       (ii) Total shares of stock outstanding if all instruments were executed . . .
   6   Has this corporation filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
       information on any reportable transaction? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   7   Check this box if the corporation issued publicly offered debt instruments with original issue discount. . . . . . . . . . . . . .
       If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount
       Instruments.
   8   If the corporation (a) was a C corporation before it elected to be an S corporation or the corporation acquired an asset with a
       basis determined by reference to the basis of the asset (or the basis of any other property) in the hands of a C corporation, and
       (b) has net unrealized built-in gain in excess of the net recognized built-in gain from prior years, enter the net unrealized built-in
       gain reduced by net recognized built-in gain from prior years. See instructions . . . . . . . . . .         $
   9   Did the corporation have an election under section 163(j) for any real property trade or business or any farming business
       in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  10   Does the corporation satisfy one or more of the following? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . .
     a The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
     b The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
       preceding the current tax year are more than $30 million and the corporation has business interest expense.
     c The corporation is a tax shelter and the corporation has business interest expense.
       If "Yes," complete and attach Form 8990, Limitation on Business Interest Expense Under Section 163(j).
  11   Does the corporation satisfy both of the following conditions?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          X
     a The corporation's total receipts (see instructions) for the tax year were less than $250,000.
     b The corporation's total assets at the end of the tax year were less than $250,000.
       If "Yes," the corporation is not required to complete Schedules L and M-1.
EEA                                                                                                                                        Form 1120-S (2024)
                       Case 1:25-cv-00193-LG-BWR                       Document 1-3              Filed 06/17/25            Page 125 of 158
Form 1120S (2024)                JMD COASTAL ENTERTAINMENT                                                                   XX-XXXXXXX               Page 3
Schedule B                     Other Information (see instructions) (continued)                                                                    Yes   No
12   During the tax year, did the corporation have any non-shareholder debt that was canceled, was forgiven, or had the
     terms modified so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
     If "Yes," enter the amount of principal reduction . . . . . . . . . . . . . . . . . . . . . . . . . $
13   During the tax year, was a qualified subchapter S subsidiary election terminated or revoked? If "Yes," see instructions . . . . . . .
14 a Did the corporation make any payments that would require it to file Form(s) 1099? . . . . . . . . . . . . . . . . . . . . . . .
   b If "Yes," did or will the corporation file required Form(s) 1099?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
15   Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund?. . . . . . . . . . . . . . . . . . . . . . . .                X
     If "Yes," enter the amount from Form 8996, line 15 . . . . . . . . . . . . . . . . . . . . . . . . $
16   At any time during the tax year, did the corporation: (a) receive (as a reward, award, or payment for property or services);
     or (b) sell, exchange, or otherwise dispose of a digital asset (or a financial interest in a digital asset)? See instructions . . . . . .
Schedule K Shareholders' Pro Rata Share Items                                                                                            Total amount
           1     Ordinary business income (loss) (page 1, line 22) . . . . . . . . . . . . . . . . . . . . . . . . . .              1          (132,981)
           2     Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . . . . . . . . . . . . .              2
           3a Other gross rental income (loss) . . . . . . . . . . . . . . . . . . . .                 3a
             b Expenses from other rental activities (attach statement) . . . . . . . . .              3b
             c Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . . . . . . . . . . . . . .              3c
     Income (Loss)




           4     Interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                4
           5     Dividends: a Ordinary dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               5a
                              b Qualified dividends . . . . . . . . . . . . . . . . . . . .            5b
           6     Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                6
           7     Net short-term capital gain (loss) (attach Schedule D (Form 1120-S)) . . . . . . . . . . . . . . . . .             7
           8a Net long-term capital gain (loss) (attach Schedule D (Form 1120-S)). . . . . . . . . . . . . . . . . .               8a
             b Collectibles (28%) gain (loss) . . . . . . . . . . . . . . . . . . . . . .              8b
             c Unrecaptured section 1250 gain (attach statement) . . . . . . . . . . .                 8c
           9     Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . .              9
          10     Other income (loss) (see instructions) . . . . . . . Type:                                                        10
          11     Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               11
     Deductions




          12a Cash charitable contributions          . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12a
             b Noncash charitable contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                12b
             c Investment interest expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 12c
             d Section 59(e)(2) expenditures . . . . . . . . . . Type:                                                             12d
             e Other deductions (see instructions) . . . . . . . . Type:                                                           12e
          13a Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               13a
             b Low-income housing credit (other) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 13b
             c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable). . . . . . . . .       13c
     Credits




             d Other rental real estate credits (see instructions) . . Type:                                                       13d
             e Other rental credits (see instructions) . . . . . . . Type:                                                         13e
             f Biofuel producer credit (attach Form 6478) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                13f
             g Other credits (see instructions) . . . . . . . . . . Type:                                                          13g
                              Qualified for exception to filing Schedule K-2
  national
   Inter-




                       14    Attach Schedule K-2 (Form 1120-S), Shareholders' Pro Rata Share Items - International, and
                             check this box to indicate you are reporting items of international tax relevance . . . . . . . . . .
                       15a   Post-1986 depreciation adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      15a
Minimum Tax




                         b   Adjusted gain or loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    15b
(AMT) Items
 Alternative




                         c   Depletion (other than oil and gas) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   15c
                         d   Oil, gas, and geothermal properties - gross income . . . . . . . . . . . . . . . . . . . . . . . . .     15d
                         e   Oil, gas, and geothermal properties - deductions . . . . . . . . . . . . . . . . . . . . . . . . . .     15e
                         f   Other AMT items (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     15f
                       16a   Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       16a
   Shareholder Basis
    Items Affecting




                         b   Other tax-exempt income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      16b
                         c   Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       16c
                         d   Distributions (attach statement if required) (see instructions)   ....................                   16d
                         e   Repayment of loans from shareholders . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       16e
                         f   Foreign taxes paid or accrued . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      16f
EEA                                                                                                                                         Form 1120-S (2024)
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Form 1120-S (2024) JMD COASTAL ENTERTAINMENT                                                                         XX-XXXXXXX                      Page 4
Schedule K                Shareholders' Pro Rata Share Items (continued)                                                              Total amount
                17a   Investment income       ........................................                                          17a
  Information

                                                .......................................
     Other



                  b   Investment expenses                                                                                       17b
                  c   Dividend distributions paid from accumulated earnings and profits . . . . . . . . . . . . . . . . . . .   17c
                  d   Other items and amounts (attach statement)                                    Statement #18
  ciliation
  Recon-




                18
                Income (loss) reconciliation. Combine the total amounts on lines 1 through 10. From the result,
                subtract the sum of the amounts on lines 11 through 12e and 16f     ..................                  18          (132,981)
 Schedule L          Balance Sheets per Books                           Beginning of tax year                     End of tax year
                                Assets                                  (a)                   (b)               (c)                   (d)
  1   Cash . . . . . . . . . . . . . . . . . . . . . .
  2a Trade notes and accounts receivable . . . . . . .
    b Less allowance for bad debts . . . . . . . . . . . (                         )                    (                   )
  3   Inventories . . . . . . . . . . . . . . . . . . .
  4   U.S. government obligations . . . . . . . . . . .
  5   Tax-exempt securities (see instructions) . . . . . .
  6   Other current assets (attach statement) . . . . . .
  7   Loans to shareholders . . . . . . . . . . . . . .
  8   Mortgage and real estate loans . . . . . . . . . .
  9   Other investments (attach statement) . . . . . . .
 10a Buildings and other depreciable assets . . . . . .
    b Less accumulated depreciation . . . . . . . . . . (                          )                    (                   )
 11a Depletable assets . . . . . . . . . . . . . . . .
    b Less accumulated depletion . . . . . . . . . . . (                           )                    (                   )
 12   Land (net of any amortization) . . . . . . . . . .
 13a Intangible assets (amortizable only) . . . . . . .
    b Less accumulated amortization . . . . . . . . . (                            )                    (                   )
 14   Other assets (attach statement) . . . . . . . . .
 15   Total assets . . . . . . . . . . . . . . . . . . .
           Liabilities and Shareholders' Equity
 16   Accounts payable . . . . . . . . . . . . . . . .
 17   Mortgages, notes, bonds payable in less than 1 year . . .
 18   Other current liabilities (attach statement) . . . . .
 19   Loans from shareholders         ............
 20   Mortgages, notes, bonds payable in 1 year or more . . .
 21   Other liabilities (attach statement) . . . . . . . .
 22   Capital stock . . . . . . . . . . . . . . . . . .
 23   Additional paid-in capital . . . . . . . . . . . . .
 24   Retained earnings . . . . . . . . . . . . . . . .
 25   Adjustments to shareholders' equity (attach statement) . .
 26   Less cost of treasury stock . . . . . . . . . . . .                            (                )                       (                 )
 27   Total liabilities and shareholders' equity . . . . . .
EEA                                                                                                                             Form 1120-S (2024)
              Case 1:25-cv-00193-LG-BWR                         Document 1-3                     Filed 06/17/25                   Page 127 of 158
Form 1120-S (2024)        JMD COASTAL ENTERTAINMENT                                                                                 XX-XXXXXXX                            Page 5
Schedule M-1                Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                         Note: The corporation may be required to file Schedule M-3. See instructions.
1     Net income (loss) per books . . . . . . . . .                           5 Income recorded on books this year not included
2     Income included on Schedule K, lines 1, 2, 3c, 4,                                on Schedule K, lines 1 through 10 (itemize):
      5a, 6, 7, 8a, 9, and 10, not recorded on books this                           a Tax-exempt interest $
      year (itemize):


3  Expenses recorded on books this year not                                        6 Deductions included on Schedule K,
   included on Schedule K, lines 1 through 12e,                                       lines 1 through 12e, and 16f, not charged
   and 16f (itemize):                                                                 against book income this year (itemize):
 a Depreciation $                                                                   a Depreciation $
 b Travel and entertainment $


                                                                                   7 Add lines 5 and 6 . . . . . . . . . . . . .
4     Add lines 1 through 3     ............                                       8 Income (loss) (Schedule K, line 18). Subtract line 7 from line 4
Schedule M-2                Analysis of Accumulated Adjustments Account, Shareholders' Undistributed Taxable Income
                            Previously Taxed, Accumulated Earnings and Profits, and Other Adjustments Account
                            (see instructions)
                                                                      (a) Accumulated            (b) Shareholders'             (c) Accumulated              (d) Other adjustments
                                                                     adjustments account         undistributed taxable        earnings and profits                  account
                                                                                               income previously taxed

1     Balance at beginning of tax year . . . . . . . . . . .               (409,706)
2     Ordinary income from page 1, line 22 . . . . . . . . .
3     Other additions . . . . . . . . . . . . . . . . . . .
4     Loss from page 1, line 22 . . . . . . . . . . . . . .      (           132,981 )
5     Other reductions    ..................                     (                         )                                                            (                           )
6     Combine lines 1 through 5 . . . . . . . . . . . . . .                (542,687)
7     Distributions . . . . . . . . . . . . . . . . . . . . .
8     Balance at end of tax year. Subtract line 7 from
      line 6 . . . . . . . . . . . . . . . . . . . . . . . .               (542,687)
EEA                                                                                                                                                          Form 1120-S (2024)
            Case 1:25-cv-00193-LG-BWR                      Document 1-3             Filed 06/17/25           Page 128 of 158

Form     1125-A                                          Cost of Goods Sold
(Rev. November 2024)                                                                                                            OMB No. 1545-0123
                                              Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury
Internal Revenue Service                    Go to www.irs.gov/Form1125A for the latest information.
Name                                                                                                               Employer identification number

JMD COASTAL ENTERTAINMENT                                                                                           XX-XXXXXXX
 1     Inventory at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        1         6,700
 2     Purchases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           2        75,017
 3     Cost of labor . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         3         7,214
 4     Additional section 263A costs (attach schedule)      .................................                                    4
 5     Other costs (attach schedule) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         5
 6     Total. Add lines 1 through 5        ..........................................                                            6        88,931
 7     Inventory at end of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        7
 8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2, or the appropriate
       line of your tax return. See instructions    .....................................                                        8        88,931
 9a    Check all methods used for valuing closing inventory. See instructions.
         (i) X Cost
        (ii)    Lower of cost or market
       (iii)    Other (specify method used and attach explanation)
       For certain small business taxpayers, alternative methods of accounting for inventories:
       (iv)     Non-incidental materials and supplies method
        (v)     AFS method
       (vi)     Non-AFS method
  b    Check if there was a writedown of subnormal goods . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  c    Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)          .............
  d    (i) If the LIFO inventory method was used for this tax year, enter amount of closing inventory figured under LIFO . .    9d(i)
       (ii) If the LIFO inventory method was used for this tax year, enter amount of the closing LIFO Reserve . . . . . . . 9d(ii)
  e    If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions  ......     Yes   X No
  f    Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If "Yes,"
       attach explanation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       Yes     No




For Paperwork Reduction Act Notice, see instructions.                                                               Form 1125-A (Rev. 11-2024)
EEA
                            Case 1:25-cv-00193-LG-BWR                                 Document 1-3                   Filed 06/17/25                    Page 129 of 158
                                                                                                                                                                      671124
                                                                                                              X    Final K-1                  Amended K-1                    OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2024                Part III
                                                                                                                               Shareholder's Share of Current Year Income,
                                                                                                                               Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2024, or tax year    1       Ordinary business income (loss)        13    Credits
Internal Revenue Service
                                                                                                                                     (53,193)
                          beginning     01-01 2024                  ending      12-31-2024                2       Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3       Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4       Interest income
             Part I            Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                         14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                                  checked . . . . . . .

                    MARTINI'S                                                                             6       Royalties                              15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7       Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    Ogden
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9       Net section 1231 gain (loss)           16    Items affecting shareholder basis
             Part II           Information About the Shareholder
   E                Shareholder's identifying number                                                     10       Other income (loss)
                    CONFIDENTIAL
                    XXX-XX-XXXX
  F1 Shareholder's name, address, city, state, and ZIP code
                    STEVEN M STAFFORD

                    2200 DAUPHIN STREET
                    Mobile                                               AL     36606

  F2 If the shareholder is a disregarded entity, a trust, an estate, or a nominee or                                                                     17    Other information
     similar person, enter the individual or entity responsible for reporting:
                                                                                                                                                         AC                        62,995
                    TIN                         Name                                                     11       Section 179 deduction
  F3 What type of entity is this shareholder?                   Individual
                                                                                                         12       Other deductions


   G                Current year allocation percentage                             40.00000 %
                                                         ......

   H                Shareholder's number of shares
                      Beginning of tax year
                                          .........                                             40
                      End of tax year   ...........                                             40

   I                Loans from shareholder
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
                                                                                                                                                         V*           STMT
 For IRS Use Only




                                                                                                         18          More than one activity for at-risk purposes*
                                                                                                         19          More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                      Schedule K-1 (Form 1120-S) 2024
EEA
               Case 1:25-cv-00193-LG-BWR   Document 1-3   Filed 06/17/25   Page 130 of 158


                              Schedule K-1 Supplemental Information          2024
     Shareholder's name                                                     Shareholder's ID Number

     STEVEN M STAFFORD                                                       CONFIDENTIAL
                                                                             XXX-XX-XXXX
     Name of S Corporation                                                  S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                               XX-XXXXXXX


                                 Form 1120S Schedule K-1 Codes

     Line 17, Code AC - Gross receipts for section 448(c)
                          [See K-1 instructions, page 17 (Form 8990)]
     Line 17, Code V - Section 199A information
                          [Form 8995 or Form 8995-A]




1120SK_1.LD2
                              Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 131 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2024
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 STEVEN M STAFFORD                                                                                                                                 CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                               (53,193)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                       2,886
 Unadjusted Basis
 Immediately After
 Acquisition
 Section 199A
 (REIT) Dividends




K1_QBIS~.LD
       Case 1:25-cv-00193-LG-BWR
Shareholder's Basis Worksheet Prepared Document   1-3 Filed 06/17/25
                                       from the S Corporation Records                                                                                 Page 132 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                       2024
 Shareholder Number:                              CONFIDENTIAL
                                             TIN: XXX-XX-XXXX                                                          Tax year ending:   12-31-2024      Ownership %:   40.000000
 Shareholder Name:                STEVEN M STAFFORD
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                               EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1    181,150
 2        Additional Capital Contributions of Stock Purchased                                                                                   2     20,000
 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                                 4      201,150
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                     5

 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                    6      201,150
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                               7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                    8      201,150
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a            53,193
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n      53,193
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                                 9          53,193
     10 Less: net increase applied to debt basis                                                                                                                  10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                           11      147,957
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                       17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                             18      147,957
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                53,193
     21        Less:    Applied this year                                                             53,193
     22        End of year (Not less than zero)                                                            0                                                               WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 133 of 158
                                                                                         Allocation of Losses and Deductions                                                            2024
                                                                                                      Keep for your records.

  Shareholder Number:                                                                        TIN:                                       Year Ended:                   Ownership %:
                                                                                                 CONFIDENTIAL
                                                                                                XXX-XX-XXXX                               12-31-2024                        40.000000
  Shareholder Name:

        STEVEN M STAFFORD
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                          XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                   (a)                  (b)                          (c)                  (d)             (e)                 (f)
                                                                              Beginning of          Current Year               Total Losses                %          Allocable          Dissallowed
                                                                                 Year               Losses and                      and                              Losses and          Losses and
                                                                              Losses and             Deductions                 Deductions                          Deductions in         Deductions
                                                                               Deductions                                                                           Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business           (Sch K, Line 1)                                     53,193                     53,193             100.000000           53,193
 b Net losses from rental real estate activities    (Sch K, Line 2)

 c Net losses from other rental activities          (Sch K, Line 3c)

 d Net short-term capital losses                    (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                           (Sch K, Line 10a)

 f Net losses under Section 1231                    (Sch K, Line 9)

 g Other losses                                     (Sch K, Line 10e)

 h Charitable contributions                         (Sch K, Line 12a-g)

 i Section 179 expense deduction                    (Sch K, Line 11)

 j Portfolio income expenses                        (Sch K, Line 12l)

 k Other deductions                                 (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts             (Sch K, Line 12h)

 m Foreign taxes paid or accrued                    (Sch K, Line 16f)

 n Section 59(e) expenditures                       (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                               53,193                     53,193                                  53,193
7a Nondeductible expenses & credit adj              (Sch K, Line 16c & 13)

 b Oil and gas depletion                            (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                               53,193                     53,193                                  53,193
 WK_SBAS~.LD2
              Case 1:25-cv-00193-LG-BWR                            Document 1-3               Filed 06/17/25             Page 134 of 158


                                           Schedule K-1 Supplemental Information                                           2024
     Shareholder's name                                                                                                   Shareholder's ID Number

    STEVEN M STAFFORD                                                                                                      CONFIDENTIAL
                                                                                                                           XXX-XX-XXXX
    Name of S Corporation                                                                                                 S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                              XX-XXXXXXX
                                                        Schedule K-3 Notification
       The corporation has met the following criteria for tax year 2024, presently exempting it from filing Schedule K-3 (Form 1120-S), Shareholder's
       Share of Income, Deductions, Credits, etc. - International:


                   Criteria 1 - Corporation had no or limited foreign activity
                   Criteria 2 - Each of the shareholders was a U.S. citizen, resident alien, or certain domestic trust


       With respect to the corporation meeting criteria 1 and 2, shareholders are hereby notified they will not be receiving a Schedule K-3 from
       the corporation unless the shareholder specifically requests the schedule.


       A request for a Schedule K-3 is time sensitive and should be made as soon as possible.




K3EX STM.LD
                            Case 1:25-cv-00193-LG-BWR                                 Document 1-3                   Filed 06/17/25                    Page 135 of 158
                                                                                                                                                                      671124
                                                                                                              X    Final K-1                  Amended K-1                    OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2024                Part III
                                                                                                                               Shareholder's Share of Current Year Income,
                                                                                                                               Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2024, or tax year    1       Ordinary business income (loss)        13    Credits
Internal Revenue Service
                                                                                                                                     (19,947)
                          beginning     01-01 2024                  ending      12-31-2024                2       Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3       Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4       Interest income
             Part I            Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                         14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                                  checked . . . . . . .

                    MARTINI'S                                                                             6       Royalties                              15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7       Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    Ogden
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9       Net section 1231 gain (loss)           16    Items affecting shareholder basis
             Part II           Information About the Shareholder
   E                Shareholder's identifying number                                                     10       Other income (loss)
                    CONFIDENTIAL
                    XXX-XX-XXXX
  F1 Shareholder's name, address, city, state, and ZIP code
                    DON MANGEN

                    PO BOX 8702
                    Gulfport                                             MS     39506

  F2 If the shareholder is a disregarded entity, a trust, an estate, or a nominee or                                                                     17    Other information
     similar person, enter the individual or entity responsible for reporting:
                                                                                                                                                         AC                        23,622
                    TIN                         Name                                                     11       Section 179 deduction
  F3 What type of entity is this shareholder?                   Individual
                                                                                                         12       Other deductions


   G                Current year allocation percentage                             15.00000 %
                                                         ......

   H                Shareholder's number of shares
                      Beginning of tax year
                                          .........                                             15
                      End of tax year   ...........                                             15

   I                Loans from shareholder
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
                                                                                                                                                         V*           STMT
 For IRS Use Only




                                                                                                         18          More than one activity for at-risk purposes*
                                                                                                         19          More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                      Schedule K-1 (Form 1120-S) 2024
EEA
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                              Schedule K-1 Supplemental Information          2024
     Shareholder's name                                                     Shareholder's ID Number

     DON MANGEN                                                              XXX-XX-XXXX
                                                                             CONFIDENTIAL
     Name of S Corporation                                                  S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                               XX-XXXXXXX


                                 Form 1120S Schedule K-1 Codes

     Line 17, Code AC - Gross receipts for section 448(c)
                          [See K-1 instructions, page 17 (Form 8990)]
     Line 17, Code V - Section 199A information
                          [Form 8995 or Form 8995-A]




1120SK_1.LD2
                              Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 137 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2024
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 DON MANGEN                                                                                                                                        CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                               (19,947)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                       1,082
 Unadjusted Basis
 Immediately After
 Acquisition
 Section 199A
 (REIT) Dividends




K1_QBIS~.LD
       Case 1:25-cv-00193-LG-BWR
Shareholder's Basis Worksheet Prepared Document   1-3 Filed 06/17/25
                                       from the S Corporation Records                                                                                Page 138 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                      2024
 Shareholder Number:                         TIN: XXX-XX-XXXX
                                                  CONFIDENTIAL                                                         Tax year ending:   12-31-2024     Ownership %:   15.000000
 Shareholder Name:                DON MANGEN
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                              EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1    70,946
 2        Additional Capital Contributions of Stock Purchased                                                                                   2     7,500
 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                                4          78,446
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                    5

 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                   6          78,446
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                              7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                   8          78,446
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a            19,947
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n     19,947
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                                9          19,947
     10 Less: net increase applied to debt basis                                                                                                                 10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                          11          58,499
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                      17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                            18          58,499
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                19,947
     21        Less:    Applied this year                                                             19,947
     22        End of year (Not less than zero)                                                            0                                                              WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 139 of 158
                                                                                         Allocation of Losses and Deductions                                                            2024
                                                                                                      Keep for your records.

  Shareholder Number:                                                                        TIN:                                       Year Ended:                   Ownership %:
                                                                                                CONFIDENTIAL
                                                                                                XXX-XX-XXXX                               12-31-2024                        15.000000
  Shareholder Name:

        DON MANGEN
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                          XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                   (a)                  (b)                          (c)                  (d)             (e)                 (f)
                                                                              Beginning of          Current Year               Total Losses                %          Allocable          Dissallowed
                                                                                 Year               Losses and                      and                              Losses and          Losses and
                                                                              Losses and             Deductions                 Deductions                          Deductions in         Deductions
                                                                               Deductions                                                                           Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business           (Sch K, Line 1)                                     19,947                     19,947             100.000000           19,947
 b Net losses from rental real estate activities    (Sch K, Line 2)

 c Net losses from other rental activities          (Sch K, Line 3c)

 d Net short-term capital losses                    (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                           (Sch K, Line 10a)

 f Net losses under Section 1231                    (Sch K, Line 9)

 g Other losses                                     (Sch K, Line 10e)

 h Charitable contributions                         (Sch K, Line 12a-g)

 i Section 179 expense deduction                    (Sch K, Line 11)

 j Portfolio income expenses                        (Sch K, Line 12l)

 k Other deductions                                 (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts             (Sch K, Line 12h)

 m Foreign taxes paid or accrued                    (Sch K, Line 16f)

 n Section 59(e) expenditures                       (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                               19,947                     19,947                                  19,947
7a Nondeductible expenses & credit adj              (Sch K, Line 16c & 13)

 b Oil and gas depletion                            (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                               19,947                     19,947                                  19,947
 WK_SBAS~.LD2
              Case 1:25-cv-00193-LG-BWR                            Document 1-3               Filed 06/17/25             Page 140 of 158


                                           Schedule K-1 Supplemental Information                                           2024
     Shareholder's name                                                                                                   Shareholder's ID Number

    DON MANGEN                                                                                                             CONFIDENTIAL
                                                                                                                           XXX-XX-XXXX
    Name of S Corporation                                                                                                 S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                              XX-XXXXXXX
                                                        Schedule K-3 Notification
       The corporation has met the following criteria for tax year 2024, presently exempting it from filing Schedule K-3 (Form 1120-S), Shareholder's
       Share of Income, Deductions, Credits, etc. - International:


                   Criteria 1 - Corporation had no or limited foreign activity
                   Criteria 2 - Each of the shareholders was a U.S. citizen, resident alien, or certain domestic trust


       With respect to the corporation meeting criteria 1 and 2, shareholders are hereby notified they will not be receiving a Schedule K-3 from
       the corporation unless the shareholder specifically requests the schedule.


       A request for a Schedule K-3 is time sensitive and should be made as soon as possible.




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                            Case 1:25-cv-00193-LG-BWR                                 Document 1-3                   Filed 06/17/25                    Page 141 of 158
                                                                                                                                                                      671124
                                                                                                              X    Final K-1                  Amended K-1                    OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2024                Part III
                                                                                                                               Shareholder's Share of Current Year Income,
                                                                                                                               Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2024, or tax year    1       Ordinary business income (loss)        13    Credits
Internal Revenue Service
                                                                                                                                     (19,947)
                          beginning     01-01 2024                  ending      12-31-2024                2       Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3       Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4       Interest income
             Part I            Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                         14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                                  checked . . . . . . .

                    MARTINI'S                                                                             6       Royalties                              15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7       Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    Ogden
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9       Net section 1231 gain (loss)           16    Items affecting shareholder basis
             Part II           Information About the Shareholder
   E                Shareholder's identifying number                                                     10       Other income (loss)

                    CONFIDENTIAL
                    XXX-XX-XXXX
  F1 Shareholder's name, address, city, state, and ZIP code
                    BLAKE WHITSON

                    6274 KIMBROUGH BLVD
                    Biloxi                                               MS     39532

  F2 If the shareholder is a disregarded entity, a trust, an estate, or a nominee or                                                                     17    Other information
     similar person, enter the individual or entity responsible for reporting:
                                                                                                                                                         AC                        23,622
                    TIN                         Name                                                     11       Section 179 deduction
  F3 What type of entity is this shareholder?                   Individual
                                                                                                         12       Other deductions


   G                Current year allocation percentage                             15.00000 %
                                                         ......

   H                Shareholder's number of shares
                      Beginning of tax year
                                          .........                                             15
                      End of tax year   ...........                                             15

   I                Loans from shareholder
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
                                                                                                                                                         V*           STMT
 For IRS Use Only




                                                                                                         18          More than one activity for at-risk purposes*
                                                                                                         19          More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                      Schedule K-1 (Form 1120-S) 2024
EEA
               Case 1:25-cv-00193-LG-BWR   Document 1-3   Filed 06/17/25   Page 142 of 158


                              Schedule K-1 Supplemental Information          2024
     Shareholder's name                                                     Shareholder's ID Number

     BLAKE WHITSON                                                           CONFIDENTIAL
                                                                             XXX-XX-XXXX
     Name of S Corporation                                                  S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                               XX-XXXXXXX


                                 Form 1120S Schedule K-1 Codes

     Line 17, Code AC - Gross receipts for section 448(c)
                          [See K-1 instructions, page 17 (Form 8990)]
     Line 17, Code V - Section 199A information
                          [Form 8995 or Form 8995-A]




1120SK_1.LD2
                              Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 143 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2024
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 BLAKE WHITSON                                                                                                                                     CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                               (19,947)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                       1,082
 Unadjusted Basis
 Immediately After
 Acquisition
 Section 199A
 (REIT) Dividends




K1_QBIS~.LD
       Case 1:25-cv-00193-LG-BWR
Shareholder's Basis Worksheet Prepared Document   1-3 Filed 06/17/25
                                       from the S Corporation Records                                                                                Page 144 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                      2024
 Shareholder Number:                         TIN: CONFIDENTIAL
                                                  XXX-XX-XXXX                                                          Tax year ending:   12-31-2024     Ownership %:   15.000000
 Shareholder Name:                BLAKE WHITSON
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                              EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1    70,946
 2        Additional Capital Contributions of Stock Purchased                                                                                   2     7,500
 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                                4          78,446
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                    5

 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                   6          78,446
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                              7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                   8          78,446
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a            19,947
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n     19,947
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                                9          19,947
     10 Less: net increase applied to debt basis                                                                                                                 10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                          11          58,499
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                      17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                            18          58,499
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                19,947
     21        Less:    Applied this year                                                             19,947
     22        End of year (Not less than zero)                                                            0                                                              WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 145 of 158
                                                                                         Allocation of Losses and Deductions                                                            2024
                                                                                                      Keep for your records.

  Shareholder Number:                                                                        TIN:                                       Year Ended:                   Ownership %:
                                                                                                CONFIDENTIAL
                                                                                                XXX-XX-XXXX                               12-31-2024                        15.000000
  Shareholder Name:

        BLAKE WHITSON
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                          XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                   (a)                  (b)                          (c)                  (d)             (e)                 (f)
                                                                              Beginning of          Current Year               Total Losses                %          Allocable          Dissallowed
                                                                                 Year               Losses and                      and                              Losses and          Losses and
                                                                              Losses and             Deductions                 Deductions                          Deductions in         Deductions
                                                                               Deductions                                                                           Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business           (Sch K, Line 1)                                     19,947                     19,947             100.000000           19,947
 b Net losses from rental real estate activities    (Sch K, Line 2)

 c Net losses from other rental activities          (Sch K, Line 3c)

 d Net short-term capital losses                    (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                           (Sch K, Line 10a)

 f Net losses under Section 1231                    (Sch K, Line 9)

 g Other losses                                     (Sch K, Line 10e)

 h Charitable contributions                         (Sch K, Line 12a-g)

 i Section 179 expense deduction                    (Sch K, Line 11)

 j Portfolio income expenses                        (Sch K, Line 12l)

 k Other deductions                                 (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts             (Sch K, Line 12h)

 m Foreign taxes paid or accrued                    (Sch K, Line 16f)

 n Section 59(e) expenditures                       (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                               19,947                     19,947                                  19,947
7a Nondeductible expenses & credit adj              (Sch K, Line 16c & 13)

 b Oil and gas depletion                            (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                               19,947                     19,947                                  19,947
 WK_SBAS~.LD2
              Case 1:25-cv-00193-LG-BWR                            Document 1-3               Filed 06/17/25             Page 146 of 158


                                           Schedule K-1 Supplemental Information                                           2024
     Shareholder's name                                                                                                   Shareholder's ID Number

    BLAKE WHITSON                                                                                                          CONFIDENTIAL
                                                                                                                           XXX-XX-XXXX
    Name of S Corporation                                                                                                 S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                              XX-XXXXXXX
                                                        Schedule K-3 Notification
       The corporation has met the following criteria for tax year 2024, presently exempting it from filing Schedule K-3 (Form 1120-S), Shareholder's
       Share of Income, Deductions, Credits, etc. - International:


                   Criteria 1 - Corporation had no or limited foreign activity
                   Criteria 2 - Each of the shareholders was a U.S. citizen, resident alien, or certain domestic trust


       With respect to the corporation meeting criteria 1 and 2, shareholders are hereby notified they will not be receiving a Schedule K-3 from
       the corporation unless the shareholder specifically requests the schedule.


       A request for a Schedule K-3 is time sensitive and should be made as soon as possible.




K3EX STM.LD
                            Case 1:25-cv-00193-LG-BWR                                 Document 1-3                   Filed 06/17/25                    Page 147 of 158
                                                                                                                                                                      671124
                                                                                                              X    Final K-1                  Amended K-1                    OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2024                Part III
                                                                                                                               Shareholder's Share of Current Year Income,
                                                                                                                               Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2024, or tax year    1       Ordinary business income (loss)        13    Credits
Internal Revenue Service
                                                                                                                                     (19,947)
                          beginning     01-01 2024                  ending      12-31-2024                2       Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3       Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4       Interest income
             Part I            Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                         14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                                  checked . . . . . . .

                    MARTINI'S                                                                             6       Royalties                              15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7       Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    Ogden
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9       Net section 1231 gain (loss)           16    Items affecting shareholder basis
             Part II           Information About the Shareholder
   E                Shareholder's identifying number                                                     10       Other income (loss)

                    CONFIDENTIAL
                    XXX-XX-XXXX
  F1 Shareholder's name, address, city, state, and ZIP code
                    JASON WHITE

                    107 ROYAL CRESCENT DR
                    Belle Chasse                                         LA     70037

  F2 If the shareholder is a disregarded entity, a trust, an estate, or a nominee or                                                                     17    Other information
     similar person, enter the individual or entity responsible for reporting:
                                                                                                                                                         AC                        23,622
                    TIN                         Name                                                     11       Section 179 deduction
  F3 What type of entity is this shareholder?                   Individual
                                                                                                         12       Other deductions


   G                Current year allocation percentage                             15.00000 %
                                                         ......

   H                Shareholder's number of shares
                      Beginning of tax year
                                          .........                                             15
                      End of tax year   ...........                                             15

   I                Loans from shareholder
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
                                                                                                                                                         V*           STMT
 For IRS Use Only




                                                                                                         18          More than one activity for at-risk purposes*
                                                                                                         19          More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                      Schedule K-1 (Form 1120-S) 2024
EEA
               Case 1:25-cv-00193-LG-BWR   Document 1-3   Filed 06/17/25   Page 148 of 158


                              Schedule K-1 Supplemental Information          2024
     Shareholder's name                                                     Shareholder's ID Number

     JASON WHITE                                                             CONFIDENTIAL
                                                                             XXX-XX-XXXX
     Name of S Corporation                                                  S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                               XX-XXXXXXX


                                 Form 1120S Schedule K-1 Codes

     Line 17, Code AC - Gross receipts for section 448(c)
                          [See K-1 instructions, page 17 (Form 8990)]
     Line 17, Code V - Section 199A information
                          [Form 8995 or Form 8995-A]




1120SK_1.LD2
                              Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 149 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2024
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 JASON WHITE                                                                                                                                       CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                               (19,947)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                       1,082
 Unadjusted Basis
 Immediately After
 Acquisition
 Section 199A
 (REIT) Dividends




K1_QBIS~.LD
       Case 1:25-cv-00193-LG-BWR
Shareholder's Basis Worksheet Prepared Document   1-3 Filed 06/17/25
                                       from the S Corporation Records                                                                                Page 150 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                      2024
 Shareholder Number:                              CONFIDENTIAL
                                             TIN: XXX-XX-XXXX                                                          Tax year ending:   12-31-2024     Ownership %:   15.000000
 Shareholder Name:                JASON WHITE
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                              EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1    71,073
 2        Additional Capital Contributions of Stock Purchased                                                                                   2     7,500
 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                                4          78,573
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                    5

 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                   6          78,573
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                              7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                   8          78,573
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a            19,947
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n     19,947
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                                9          19,947
     10 Less: net increase applied to debt basis                                                                                                                 10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                          11          58,626
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                      17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                            18          58,626
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                19,947
     21        Less:    Applied this year                                                             19,947
     22        End of year (Not less than zero)                                                            0                                                              WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 151 of 158
                                                                                         Allocation of Losses and Deductions                                                            2024
                                                                                                      Keep for your records.

  Shareholder Number:                                                                        TIN:                                       Year Ended:                   Ownership %:

                                                                                               XXX-XX-XXXX
                                                                                               CONFIDENTIAL                               12-31-2024                        15.000000
  Shareholder Name:

        JASON WHITE
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                          XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                   (a)                  (b)                          (c)                  (d)             (e)                 (f)
                                                                              Beginning of          Current Year               Total Losses                %          Allocable          Dissallowed
                                                                                 Year               Losses and                      and                              Losses and          Losses and
                                                                              Losses and             Deductions                 Deductions                          Deductions in         Deductions
                                                                               Deductions                                                                           Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business           (Sch K, Line 1)                                     19,947                     19,947             100.000000           19,947
 b Net losses from rental real estate activities    (Sch K, Line 2)

 c Net losses from other rental activities          (Sch K, Line 3c)

 d Net short-term capital losses                    (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                           (Sch K, Line 10a)

 f Net losses under Section 1231                    (Sch K, Line 9)

 g Other losses                                     (Sch K, Line 10e)

 h Charitable contributions                         (Sch K, Line 12a-g)

 i Section 179 expense deduction                    (Sch K, Line 11)

 j Portfolio income expenses                        (Sch K, Line 12l)

 k Other deductions                                 (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts             (Sch K, Line 12h)

 m Foreign taxes paid or accrued                    (Sch K, Line 16f)

 n Section 59(e) expenditures                       (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                               19,947                     19,947                                  19,947
7a Nondeductible expenses & credit adj              (Sch K, Line 16c & 13)

 b Oil and gas depletion                            (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                               19,947                     19,947                                  19,947
 WK_SBAS~.LD2
              Case 1:25-cv-00193-LG-BWR                            Document 1-3               Filed 06/17/25             Page 152 of 158


                                           Schedule K-1 Supplemental Information                                           2024
     Shareholder's name                                                                                                   Shareholder's ID Number

    JASON WHITE                                                                                                            CONFIDENTIAL
                                                                                                                           XXX-XX-XXXX
    Name of S Corporation                                                                                                 S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                              XX-XXXXXXX
                                                        Schedule K-3 Notification
       The corporation has met the following criteria for tax year 2024, presently exempting it from filing Schedule K-3 (Form 1120-S), Shareholder's
       Share of Income, Deductions, Credits, etc. - International:


                   Criteria 1 - Corporation had no or limited foreign activity
                   Criteria 2 - Each of the shareholders was a U.S. citizen, resident alien, or certain domestic trust


       With respect to the corporation meeting criteria 1 and 2, shareholders are hereby notified they will not be receiving a Schedule K-3 from
       the corporation unless the shareholder specifically requests the schedule.


       A request for a Schedule K-3 is time sensitive and should be made as soon as possible.




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                            Case 1:25-cv-00193-LG-BWR                                 Document 1-3                   Filed 06/17/25                    Page 153 of 158
                                                                                                                                                                      671124
                                                                                                              X    Final K-1                  Amended K-1                    OMB No. 1545-0123
Schedule K-1
(Form 1120-S)
                                                                                      2024                Part III
                                                                                                                               Shareholder's Share of Current Year Income,
                                                                                                                               Deductions, Credits, and Other Items
Department of the Treasury                                         For calendar year 2024, or tax year    1       Ordinary business income (loss)        13    Credits
Internal Revenue Service
                                                                                                                                     (19,947)
                          beginning     01-01 2024                  ending      12-31-2024                2       Net rental real estate income (loss)


Shareholder's Share of Income, Deductions,                                                                3       Other net rental income (loss)
Credits, etc.              See separate instructions.
                                                                                                          4       Interest income
             Part I            Information About the Corporation
   A                Corporation's employer identification number                                          5a Ordinary dividends
                    XX-XXXXXXX
   B                Corporation's name, address, city, state, and ZIP code                                5b Qualified dividends                         14    Schedule K-3 is attached if
                    JMD COASTAL ENTERTAINMENT                                                                                                                  checked . . . . . . .

                    MARTINI'S                                                                             6       Royalties                              15    Alternative minimum tax (AMT) items

                    PO BOX 8702
                                                                                                          7       Net short-term capital gain (loss)
                    Gulfport                                             MS     39506
   C                IRS Center where corporation filed return                                             8a Net long-term capital gain (loss)
                    Ogden
   D                Corporation's total number of shares                                                  8b Collectibles (28%) gain (loss)

                      Beginning of tax year........                                           100
                                                                                              100         8c Unrecaptured section 1250 gain
                      End of tax year   ...........

                                                                                                          9       Net section 1231 gain (loss)           16    Items affecting shareholder basis
             Part II           Information About the Shareholder
   E                Shareholder's identifying number                                                     10       Other income (loss)
                    CONFIDENTIAL
                    XXX-XX-XXXX
  F1 Shareholder's name, address, city, state, and ZIP code
                    OSCAR BREWER JR

                    13234 CARIAGE CIRCLE
                    Gulfport                                             MS     39503

  F2 If the shareholder is a disregarded entity, a trust, an estate, or a nominee or                                                                     17    Other information
     similar person, enter the individual or entity responsible for reporting:
                                                                                                                                                         AC                        23,622
                    TIN                         Name                                                     11       Section 179 deduction
  F3 What type of entity is this shareholder?                   Individual
                                                                                                         12       Other deductions


   G                Current year allocation percentage                             15.00000 %
                                                         ......

   H                Shareholder's number of shares
                      Beginning of tax year
                                          .........                                             15
                      End of tax year   ...........                                             15

   I                Loans from shareholder
                      Beginning of tax year   ......... $
                      End of tax year . . . . . . . . . . . . $
                                                                                                                                                         V*           STMT
 For IRS Use Only




                                                                                                         18          More than one activity for at-risk purposes*
                                                                                                         19          More than one activity for passive activity purposes*


                                                                                                                  * See attached statement for additional information.

For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                          www.irs.gov/Form1120S                                      Schedule K-1 (Form 1120-S) 2024
EEA
               Case 1:25-cv-00193-LG-BWR   Document 1-3   Filed 06/17/25   Page 154 of 158


                              Schedule K-1 Supplemental Information          2024
     Shareholder's name                                                     Shareholder's ID Number

     OSCAR BREWER JR                                                         CONFIDENTIAL
                                                                             XXX-XX-XXXX
     Name of S Corporation                                                  S Corporation's EIN

     JMD COASTAL ENTERTAINMENT                                               XX-XXXXXXX


                                 Form 1120S Schedule K-1 Codes

     Line 17, Code AC - Gross receipts for section 448(c)
                          [See K-1 instructions, page 17 (Form 8990)]
     Line 17, Code V - Section 199A information
                          [Form 8995 or Form 8995-A]




1120SK_1.LD2
                              Case 1:25-cv-00193-LG-BWR                Document 1-3                  Filed 06/17/25           Page 155 of 158
                                         STATEMENT A - QBI Pass-through Entity Reporting
                                                  Information Reported in Accordance with Section 199A-6
                                                                  Schedule K-1, Line 17, Code V
                                                  (This page is e-filed with the return. Include it if paper-filing.)                                2024
Name(s) as shown on return                                                                                                                         Tax ID Number
 JMD COASTAL ENTERTAINMENT                                                                                                                         XX-XXXXXXX
Name(s) as shown on K1                                                                                                                             Tax ID Number
 OSCAR BREWER JR                                                                                                                                   CONFIDENTIAL
                                                                                                                                                   XXX-XX-XXXX
                                                                                                                         Taxpayer Identification
   Line No.    Description of Trade or Business                                                                                Number                 PTP      Aggregated   SSTB
     1         JMD COASTAL ENTERTAINMENT                                                                                XX-XXXXXXX                                          No




  LINE NUMBER                   NO. 1               NO.                           NO.                             NO.                        NO.                      NO.

 Ordinary Business
 Income (Loss)
                               (19,947)

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Other Deductions


 W-2 Wages                       1,082
 Unadjusted Basis
 Immediately After
 Acquisition
 Section 199A
 (REIT) Dividends




K1_QBIS~.LD
       Case 1:25-cv-00193-LG-BWR
Shareholder's Basis Worksheet Prepared Document   1-3 Filed 06/17/25
                                       from the S Corporation Records                                                                                Page 156 of 158
Basis is reported on Form 7203 and must be determined at the shareholder level. Consult your tax advisor.
                                                                                                                                                                      2024
 Shareholder Number:                              CONFIDENTIAL
                                             TIN: XXX-XX-XXXX                                                          Tax year ending:   12-31-2024     Ownership %:   15.000000
 Shareholder Name:                OSCAR BREWER JR
 Corporation Name:                JMD COASTAL ENTERTAINMENT                                                                                              EIN    XX-XXXXXXX
                            Stock basis
 1        Stock basis, beginning of year (Not less than zero)                                                                                   1    71,073
 2        Additional Capital Contributions of Stock Purchased                                                                                   2     7,500
 3        Increases for income and gain items:

           a     Ordinary Income                                           (Sch K-1, Line 1)                   a

           b     Real Estate Rental Income                                 (Sch K-1, Line 2)                   b

           c     Other Rental Income                                       (Sch K-1, Line 3c)                  c

           d     Interest, Dividends & Royalties                           (Sch K-1, Lines 4, 5 & 6)           d

           e     Capital Gain                                              (Sch K-1, Lines 7 & 8a)             e

           f     Other Portfolio Income                                    (Sch K-1, Line 10a)                 f

           g     Section 1231 Gain                                         (Sch K-1, Line 9)                   g

           h     Other Income                                              (Sch K-1, Line 10)                  h

                 Total Income and Gain Items                               (Total lines 3a-3h)                                               3a-h

           i     Increase for Non-Taxable Income                           (Sch K-1, Lines 16a & b)                                            3i

           j     Increase for Excess Depletion Adjustment                                                                                      3j

           k     Increase from Recapture of Business Credits (See IRC § 49(a), 50(a), 50(c)(2) & 1371(d))                                      3k

           l     Gain from 179 asset disposition                                                                                               3l
 4        Stock Basis Before Distributions                                 (Add lines 1 through 3)                                                                4          78,573
 5        Reduction for Non-Taxable Distributions                          (Sch K-1, Line 16d)                                                                    5

 6        Stock Basis Before Non-Ded. Expense & Depletion                  (Cannot be negative)                                                                   6          78,573
7a        Decrease for Non-Deductible Expense/Credit Adj                   (Sch K-1. Line 16c & 13)                a

 b        Decrease for Depletion                                           (Sch K-1, Line 17r)                     b                                              7

 8        Stock Basis Before Allowable Losses & Deductions                 (Cannot be negative)                                                                   8          78,573
 9        Decreases for Loss and Deduction items

           a     Ordinary Loss                                             (Page 2, Col e, Line 9a)            a            19,947
           b     Real Estate Rental Loss                                   (Page 2, Col e, Line 9b)            b

           c     Other Rental Loss                                         (Page 2, Col e, Line 9c)            c

           d     Capital Loss                                              (Page 2, Col e, Line 9d)            d

           e     Other Portfolio Loss                                      (Page 2, Col e, Line 9e)            e

           f     Section 1231 Loss                                         (Page 2, Col e, Line 9f)            f

           g     Other Loss                                                (Page 2, Col e, Line 9g)            g

           h     Charitable Contributions                                  (Page 2, Col e, Line 9h)            h

           i     Section 179 Expense                                       (Page 2, Col e, Line 9i)            i

           j     Portfolio Income Expenses                                 (Page 2, Col e, Line 9j)            j

           k     Other Deductions                                          (Page 2, Col e, Line 9k)            k

           l     Interest Expense on Investment Debt                       (Page 2, Col e, Line 9l)            l
           m Total Foreign Taxes Paid/Accrued                              (Page 2, Col e, Line 9m)            m

           n     Section 59(e) Expenditures                                (Page 2, Col e, Line 9n)            n

                 Total Loss and Deduction Items                            (Total Lines 9a-9n)                                               9a-n     19,947
           o     Other decreases                                           (Page 2, Col e, Line 9o)                                            9o

           p     Loss from 179 asset disposition                           (Page 2, Col e, Line 9n)                                            9p

                 Total Decrease for Loss and Deductions Items and Business Credits                                                                                9          19,947
     10 Less: net increase applied to debt basis                                                                                                                 10

     11 Stock Basis at End of Year (Cannot be negative)                                                                                                          11          58,626
                            Debt Basis
     12        Debt basis at beginning of year (not less than zero)                                                                             12

     13        New loans to corporation during year                                                                                             13

     14        Restoration of Debt Basis (Line 10)                                                                                              14

     15        Less: Loans repaid by corporation during the year                                                                                15

     16        Less: Applied against excess loss and deductions / non-deductible items                                                          16

     17        Debt basis at the end of tax year (combine lines 12-16) (not less than zero)                                                                      17

     18        Shareholder's total basis at end of tax year (combine lines 11 and 17)                                                                            18          58,626
                            Carryover                                                                Total                     Debt Basis Applied
                                                                                                  Disallowed                    Against Excess
                                                                                                    Losses                   Losses and Deductions

     19        Total Beginning of year

     20        Add:    Losses and deductions this year                                                19,947
     21        Less:    Applied this year                                                             19,947
     22        End of year (Not less than zero)                                                            0                                                              WK_SBAS.LD
                                                   Case 1:25-cv-00193-LG-BWR                        Document 1-3                 Filed 06/17/25          Page 157 of 158
                                                                                         Allocation of Losses and Deductions                                                            2024
                                                                                                      Keep for your records.

  Shareholder Number:                                                                        TIN:                                       Year Ended:                   Ownership %:

                                                                                                CONFIDENTIAL
                                                                                                XXX-XX-XXXX                               12-31-2024                        15.000000
  Shareholder Name:

        OSCAR BREWER JR
  Corporation Name:                                                                                                                                                   EIN

        JMD COASTAL ENTERTAINMENT                                                                                                                                          XX-XXXXXXX
  IMPORTANT: Loss limitations are applied at the individual shareholder level. This worksheet is informational only and may not match actual losses and deductions reported on Form 7203.


                                                                                   (a)                  (b)                          (c)                  (d)             (e)                 (f)
                                                                              Beginning of          Current Year               Total Losses                %          Allocable          Dissallowed
                                                                                 Year               Losses and                      and                              Losses and          Losses and
                                                                              Losses and             Deductions                 Deductions                          Deductions in         Deductions
                                                                               Deductions                                                                           Current Year        (Carryover to
                                                                                                                                                                                           Next Year)


9a Ordinary losses from trade or business           (Sch K, Line 1)                                     19,947                     19,947             100.000000           19,947
 b Net losses from rental real estate activities    (Sch K, Line 2)

 c Net losses from other rental activities          (Sch K, Line 3c)

 d Net short-term capital losses                    (Sch K, Lines 7 & 8a)

 d Net long-term capital losses

 e Other portfolio losses                           (Sch K, Line 10a)

 f Net losses under Section 1231                    (Sch K, Line 9)

 g Other losses                                     (Sch K, Line 10e)

 h Charitable contributions                         (Sch K, Line 12a-g)

 i Section 179 expense deduction                    (Sch K, Line 11)

 j Portfolio income expenses                        (Sch K, Line 12l)

 k Other deductions                                 (Sch K, Ln 12, i,m-o,s)

 l Interest expense on investment debts             (Sch K, Line 12h)

 m Foreign taxes paid or accrued                    (Sch K, Line 16f)

 n Section 59(e) expenditures                       (Sch K, Line 12j)

 o Other decreases

 p Loss from 179 asset

   Total deductible losses and deductions                                                               19,947                     19,947                                  19,947
7a Nondeductible expenses & credit adj              (Sch K, Line 16c & 13)

 b Oil and gas depletion                            (Sch K, Line 17r)
   Total nondeductible losses and deductions



   Totals                                                                                               19,947                     19,947                                  19,947
 WK_SBAS~.LD2
              Case 1:25-cv-00193-LG-BWR                            Document 1-3               Filed 06/17/25             Page 158 of 158


                                           Schedule K-1 Supplemental Information                                           2024
     Shareholder's name                                                                                                   Shareholder's ID Number

    OSCAR BREWER JR                                                                                                        CONFIDENTIAL
                                                                                                                           XXX-XX-XXXX
    Name of S Corporation                                                                                                 S Corporation's EIN

    JMD COASTAL ENTERTAINMENT                                                                                              XX-XXXXXXX
                                                        Schedule K-3 Notification
       The corporation has met the following criteria for tax year 2024, presently exempting it from filing Schedule K-3 (Form 1120-S), Shareholder's
       Share of Income, Deductions, Credits, etc. - International:


                   Criteria 1 - Corporation had no or limited foreign activity
                   Criteria 2 - Each of the shareholders was a U.S. citizen, resident alien, or certain domestic trust


       With respect to the corporation meeting criteria 1 and 2, shareholders are hereby notified they will not be receiving a Schedule K-3 from
       the corporation unless the shareholder specifically requests the schedule.


       A request for a Schedule K-3 is time sensitive and should be made as soon as possible.




K3EX STM.LD
